Paul Hruz, MD, PhD Expert Declaration in Kadel v Folwell                                      1



                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                             Case No.: 1:19-cv-272-LCB-LPA

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MAXWELL KADEL, et al.,                         )
                                               )
               Plaintiffs;                     )
v.                                             )
                                               )
DALE FOLWELL, in his official                  )
capacity as State Treasurer of North           )
Carolina, et al,                               )
                                               )
      Defendants.                              )
—————————————————-



                             EXPERT WITNESS DECLARATION of

                                    PAUL W. HRUZ, M.D., Ph.D.



      1.    RETAINED AS EXPERT WITNESS - VITAE: I have been retained by counsel for

Defendants as an expert witness in connection with the above-captioned litigation. I have actual

knowledge of the matters stated in this declaration. My professional background, experience, and

publications are detailed in my curriculum vitae. A true and accurate copy of my CV is attached

as Exhibit A to this declaration.

      2.    EDUCATION - ACADEMIC APPOINTMENTS:                     I received my Doctor of

Philosophy degree from the Medical College of Wisconsin in 1993. I received my Medical Degree

from the Medical College of Wisconsin in 1994. I am an Associate Professor of Pediatrics in the

Division of Pediatric Endocrinology and Diabetes at Washington University School of Medicine.

I also have a secondary appointment as Associate Professor of Cellular Biology and Physiology in




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the Division of Biology and Biological Sciences at Washington University School of Medicine. I

served as chief of the Division of Pediatric Endocrinology and Diabetes at Washington University

from 2012-2017. I served as the Director of the Pediatric Endocrinology Fellowship Program at

Washington University from 2008-2016.

      3.     HISTORY OF BOARD CERTIFICATIONS: I am board certified in Pediatrics and

Pediatric Endocrinology. I have been licensed to practice medicine in Missouri since 2000. I also

have a temporary license to practice telemedicine in Illinois during the COVID-19 pandemic. My

professional memberships include the American Diabetes Association, the Pediatric Endocrine

Society, and the Endocrine Society.

      4.     SCIENTIFIC PUBLICATIONS IN PEER REVIEWED JOURNALS:                          I have

published 60 scholarly articles over my academic career spanning over two decades. This includes

peer-reviewed publications in the leading journals in the fields of metabolism, cardiology, HIV,

and ethics including the Gastroenterology, Circulation, Diabetes, Science Signaling, the Journal

of Biological Chemistry and FASEB Journal. See, my current Curriculum Vitae attached as

Exhibit A.

      5.     EDITORIAL DUTIES - RESEARCH GRANTS: I have served as a Reviewer for a

number of leading science journals in relevant fields including the Journal of Clinical

Endocrinology and Metabolism, the Journal of Biological Chemistry, Diabetes, Scientific Reports

and PlosOne. I have received over 4.6 million dollars in governmental and non-governmental

funding for scientific research including grants from the National Institutes of Health, the

American Diabetes Association, The American Heart Association, the March of Dimes, and the

Harrington Discovery Institute. I am a member of the Alpha Omega Alpha Medical Honor Society

and have received the Armond J Quick Award for Excellence in Biochemistry, the Eli Lilly Award




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for Outstanding Contribution to Drug Discovery, and the Julio V Santiago Distinguished Scholar

in Pediatrics Award.

      6.    CLINICAL EXPERIENCE: During the more than 20 years that I have been in clinical

practice, I have participated in the care of hundreds of infants and children, including adolescents,

with disorders of sexual development. I was a founding member of the multidisciplinary Disorders

of Sexual Development (DSD) program at Washington University. I continue to contribute to the

discussion of complex cases and the advancement of research priorities in this field. In the care of

these patients, I have acquired expertise in the understanding and management of associated

difficulties in gender identification and gender transitioning treatment issues. I have trained and/or

supervised hundreds of medical students, residents and clinical fellows in the practice of medicine.

      7.    CONSULTS-DISCUSSIONS REGARDING THE RELEVANT SCIENCE and

CLINICAL ISSUES:         In my role as a scientist and as the director of the Division of Pediatric

Endocrinology at Washington University, I extensively studied the existing scientific research

literature related to the incidence, potential etiology, and treatment of gender dysphoria as efforts

were made to develop a Transgender Medicine Clinic at Saint Louis Children’s Hospital. I have

participated in local and national meetings where the endocrine care of children with gender

dysphoria has been discussed in detail and debated in depth. I have met individually and consulted

with several pediatric endocrinologists (including Dr. Norman Spack) and other professionals

specializing in sexual health (including Eli Coleman) who have developed and led transgender

programs in the United States. I have also consulted with, met with, and had detailed discussions

with dozens of parents of children with gender dysphoria to understand the unique difficulties

experienced by this patient population. I continue to evaluate the ongoing experimental




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investigation of this condition. I am frequently consulted by other medical professionals to help

them understand the complex medical and ethical issues related to this emerging field of medicine.

      8.    IN MY OPINION, A LACK OF SCIENTIFIC SUPPORT and THE ETHICAL

PRINCIPLE OF INFORMED CONSENT CURRENTLY PROHIBIT MY PARTICIPATION IN

HORMONAL           “AFFIRMATION-TRANSITION”                TREATMENTS           FOR      GENDER

DYSPHORIA IN CHILDREN: Pediatric patients referred to our practice for the evaluation and

treatment of gender dysphoria are cared for by an interdisciplinary team of providers that includes

a psychologist and pediatric endocrinologist who have been specifically chosen for this role based

upon a special interest and professional knowledge and training in this rare patient population.

Due to the documented, important, ethical concerns regarding the safety, efficacy, and scientific

validity of controversial, unproven, and experimental treatment paradigms, I have not personally

engaged in the delivery of gender affirming medical interventions to children with gender

dysphoria. Given the unproven long-term benefits and the well-documented risks and harms of

“transitioning” children, I decline to participate in such experimental treatments until the science

has proven that the relative risks and benefits of this approach warrant such procedures. My

decision is strengthened by the knowledge that the vast majority of children who report gender

dysphoria will, if left untreated, grow out of the problem — a natural coping-developmental

process — and willingly accept their biological sex.       Despite differences in country, culture,

decade, follow-up length and method, multiple studies have come to a remarkably similar

conclusion: Very few gender dysphoric children still want to transition by the time they reach

adulthood. Many turn out to have been struggling with sexual orientation issues rather than Gender

Discordant “transgender” identity. The exact number of children who experience realignment of

gender identity with biological sex by early adult life varies by study. Estimates within the peer




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reviewed published literature range from 50-98%, with most reporting desistance in approximately

85% of children prior to the widespread adoption of the “gender affirmation only” approach. Thus,

desistance (i.e., the child accepting their natal, biological sex identity and declining “transitioning”

treatments) is the outcome for the vast majority of affected children who are not actively

encouraged to proceed with sex-discordant gender affirmation. Since there are no reliable

assessment methods for identifying the small percentage of children with persisting sex-gender

identity discordance from the vast majority who will accept their biological sex, and since puberty

blocking treatments, hormone transition treatments, and surgical transition treatments are all

known to have potentially life-long devastating, negative effects on patients, I and many colleagues

view it as unethical to treat children with an unknown future by using experimental, aggressive,

and intrusive gender affirming medical interventions. See, J. Cantor, Ph.D. summary of multiple

research studies at http://www.sexologytoday.org/2016/01/do-trans-kids-stay-trans-when-they-

grow_99.html, and other publications reviewed in detail below).

      9.    PEER-REVIEWED, PUBLISHED RESEARCH IN CREDIBLE SCIENCE-

MEDICAL JOURNALS:             My opinions as detailed in this declaration are based upon my

knowledge and direct professional experience in the subject matters discussed. The materials that

I have relied upon are the same types of materials that other experts in my field of clinical practice

rely upon when forming opinions on the subject including hundreds of published, peer reviewed

scientific research (and clinical) articles. A list of the most relevant articles is attached as Exhibit

B to this declaration and many are cited and discussed in this report.

      10.    PREVIOUS LEGAL CASES AS AN EXPERT WITNESS: Over my career, I have

provided expert medical record review and testified at deposition in less than a dozen cases.

Related to the litigation of issues of sex and gender, I have been designated as an expert witness




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in Joaquín Carcaño et al v. Patrick McCrory, Jane Doe v. Board of Education of the Highland

School District, Ashton Whitaker v. Kenosha Unified School District, Terri Bruce v. State of

South Dakota, and Cause DF-15-09887-SD of the 255th Judicial Circuit of Dallas County, TX

regarding the dispute between J.A. D.Y. and J.U. D.Y., Children. Only in the last case did I testify

at trial. I have also served as a science consultant or subjected written testimony for court cases in

Canada (B.C. Supreme Court File No. E190334) and Great Britain (Bell v Tavistock).

      11.   COMPENSATION: I am being compensated at an hourly rate for actual time devoted,

at the rate of $400 per hour including report drafting, travel, testimony, and consultation. My

compensation does not depend on the outcome of this litigation, the opinions I express, or the

testimony I provide. I am paid in advance for all written opinions or testimony to avoid potential

conflicts of interest.

      12.   BASES FOR OPINIONS - My opinions documented in this report are based on my 1)

knowledge, training, and clinical experience in caring for thousands of patients over many years;

(2) detailed methodological reviews of hundreds of relevant peer-reviewed science publications;

(3) consults, discussions, and team analyses with colleagues and other experts in the field,

including attendance and participation in various professional conferences, and 4) analysis of

evidence in this case including medical records, Plaintiffs’ expert reports, the NC State Health

Plan, legal documents (i.e. complaint, response, etc.). My investigation in this case is ongoing and

I will supplement, amend or update this report as additional information becomes available for

review including discovery, experts, and observations of witnesses. The materials I have relied

upon in preparing this report are the same types of materials that experts in my field of study

regularly rely upon when forming opinions on these subjects.




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      Evidence Reviewed: My investigation is continuing and additional evidence will be

reviewed as it becomes available.

      12A. Peer Reviewed Published Research Articles and related materials, etc. (See citations

below and also attached Exhibit B).

      12B. Relevant case documents — legal complaint, response, disclosures, North Carolina

Health Plan, Plaintiffs’ medical records, all expert witness declarations, and other evidence as it

becomes available.

      13.   OPINIONS regarding Plaintiffs’ Expert Witness Disclosures:

      A.    The Plaintiffs’ Expert Disclosures Failed to Accurately Report, Review, or Properly

Disclose to the Court the Dangerous Methodological Limitations, Flaws, Errors, and Defects in

the Gender Transition Industry’s Research Base including the Well-Known, Well-Documented

International Controversies regarding the Relevant Science and Interventions (sometimes mis-

labeled as “treatments”). I have reviewed the expert declarations in this case from Plaintiffs’

experts Drs Brown, Green, and Schechter. In my opinion, these appear to be political-ideological-

advocate-activist opinions in support of the Gender Affirmation Medical Enterprise’s

(“transgender”) movement and not competent, appropriate, scientific, methodological opinions.

All three of Plaintiffs’ experts improperly support the use of experimental, highly intrusive, and

potentially harmful medical procedures despite the lack of credible, reliable, and valid scientific

support for such treatments. In my opinion, their reports all failed to include a cogent, detailed,

methodological discussion of the serious, ongoing, scientific, medical, and societal controversies

regarding the etiology, treatment, and long-term outcomes of “gender affirmation” ( sometimes

mis-labeled as “transitioning” ) theories, methods, practices, procedures, and treatments. This

omission in all three reports is quite remarkable as the scientific errors, omissions, failures, and




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defective methodologies of the field of transgender medicine have produced heated controversy

and garnered worldwide attention in 2020 and 2021. In the analysis that follows, I cite published

analyses of Gender Transition Industry research noting significant and internationally recognized

errors and defects such as low quality study designs, selective “cherry-picking” of data, and the

improper misreporting of key study findings.

      B.     Specifically, the Plaintiffs’ Expert Disclosures Failed to Accurately Report the Serious

Methodological Limitations, Flaws, and Defects in the Gender Transition Industry’s Methods for

the Diagnostic-Labelling of “Gender Dysphoria”:            The Plaintiffs’ expert disclosures offer

misleading opinions about diagnostic systems. For example, the DSM (Diagnostic and Statistical

Manual of the American Psychiatric Association) involves an often controversial consensus

seeking, (not scientific evidence seeking), political-voting process that began historically as an

attempt to construct a reliable dictionary for psychiatry. The DSM has historically included

unreliable, since debunked, diagnoses such as “multiple personality disorder” that fueled a harmful

“craze” damaging vulnerable patients until scientists, legal professionals, juries, and licensing

boards put a stop to it. (See the detailed discussion below). It is important for legal professionals

to understand that the DSM was created using a consensual, political process of committees and

voting and does not depend upon an evidence-based, uniformly valid and reliable scientific

process. Small groups of professionals, often with ideological agendas, can form committees and

create “diagnoses” to be voted into the DSM. Much of DSM content is decided by the “voting”

of small committees of advocates and activist practitioners whose judgment may suffer from

significant financial conflicts of interest — as appears to be the case with the plaintiffs’ experts in

this case.




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      C. The Plaintiffs’ Expert Disclosures Failed to Accurately Disclose and Discuss the Well-

Documented Methodological Limitations, Flaws, and Defects in Gender Identity (“transgender”)

Subjective Clinical Assessments: The clinical assessment methodology in Sex Discordant Gender

medicine is currently limited to self-report information from patients without objective scientific

markers, medical tests, or scientific assessment tools. There are no reliable radiological, genetic,

physical, hormonal, or biomarker tests that can establish gender identity or reliably predict

treatment outcomes. A few hours of conversation with often poorly trained social workers often

provides the only gatekeeping process to severe and irreversible iatrogenic surgical and hormonal

injuries. Most importantly, the long-term effects of “transitioning” have never been scientifically

validated. No valid-reliable methodology for such assessments has been accepted by the relevant

scientific community and it appears that no known error rates for such assessments have ever been

published. A more detailed discussion of the foundational science documenting the limitations

and methodological defects in this field is offered below.

      D.    The Plaintiffs’ Expert Disclosures Fail to Accurately Report Essential Methodological

Problems in the Gender Transition Industry. Foundational Research including Sampling Errors,

the Misreporting of Findings, the Misreporting of Relevant History, misquoting of research

studies, “low quality” research designs, failures to complete randomized clinical trials, and

widespread Confirmation Bias including the failure to properly explore Alternative Hypotheses

(e.g., Social Contagion, Mental Illness, Complex Developmental Processes, Family Dynamics,

etc.), and Other Failures of Basic Scientific Methodology: The plaintiffs’ expert disclosures failed

to properly discuss and disclose alternative theories/hypotheses for the rapid and nearly

exponential increase of transgender cases — such as social contagion, mental illness, and/or

complex developmental processes—especially as reportedly driven by news media, social media




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“YouTube “influencers” (who reportedly sell “transitioning” to vulnerable youth on social

media), educational systems (that reportedly pressure 1st graders to “identify as non-binary”), as

well as political-activist “pro-transition” health care workers (too few of whom seem to have

carefully reviewed and understood the relevant scientific history and ongoing controversies in this

field).

          E. The Plaintiffs ’Expert Disclosures Failed to Accurately Report Methodological and

Other Problems in the Plaintiffs’ Medical Records: I have also reviewed the Plaintiffs’ medical

records in this case. These records demonstrate many of the scientific errors, limitations,

methodological errors, and informed consent errors discussed in detail below. "This includes

confirmation bias, reliance on unverified patient reports, failure to consider alternative

hypotheses, and failure to provide patients with the information necessary for truly informed

consent."

      14.     TERMINOLOGY - BIOLOGICAL SEX:                Biological sex is a term that specifically

refers to a member of a species in relation to the member’s capacity to either donate (male) or

receive (female) genetic material for the purpose of reproduction. Sex thus cannot be “assigned at

birth” because it is permanently determined by biology at conception. This remains the standard

definition that has been accepted by the relevant scientific community and used worldwide by

scientists, medical personnel, and society in general for decades. The scientific and clinical

measurement of sex is done with highly reliable and valid objective methodologies. Visual

medical examination of the appearance of the external genitalia is the primary methodology used

by clinicians to recognize sex. In cases where genital ambiguity is present, additional testing

modalities including chromosomal analysis, measurement of hormone levels, radiographic

imaging of internal sexual anatomy and biological response to provocative testing are utilized.




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The measurement and assessment of biological sex has been documented by valid-reliable research

published in credible journals, and is accepted by the relevant scientific community. The error

rate for the measurement and assessment of biological sex is very low, below 1%.

      15.   TERMINOLOGY - GENDER: Gender, a term that had traditionally been reserved for

grammatical purposes, is currently used to describe the psychological and cultural characteristics

of a person in relation to biological sex. Gender in such new definitions would therefore exist only

in reference to subjective personal perceptions and feelings and societal expectations, but not

biology. The term “gender” is currently used in a variety of ways and has thus become a

controversial and unreliable term that means different things to different observers often varying

according to political and ideological positions. The only definition of gender accepted by the

worldwide, relevant scientific (biology, genetics, neonatology, zoology, medicine, etc.)

community retains the historic biological connection to reproductive purpose with other definitions

mired in controversy. The reliability and validity of various usages of the term “gender” is

currently quite controversial and the relevant scientific community has accepted no use other than

in relation to biological sex, which includes participate in activities related to reproduction. The

serious dangers of incorrectly using the term “gender” is acknowledged by the Endocrine Society

(Bhargava, A., Arnold, A. P., Bangasser, D. A., Denton, K. M., Gupta, A., Hilliard Krause, L. M.,

Mayer, E. A., McCarthy, M., Miller, W. L., Raznahan, A., & Verma, R. (2021). Considering Sex

as a Biological Variable in Basic and Clinical Studies: An Endocrine Society Scientific Statement.

Endocrine          reviews,          bnaa034.          Advance          online         publication.

https://doi.org/10.1210/endrev/bnaa034) In addition, the error rate for multiple uses of the term

“gender” outside of the accepted biologically related use is unknown, untested, and unpublished.

The measurement and assessment of biological sex and gender has been documented by valid-




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reliable research published in credible journals, and is accepted by the relevant scientific

community. The error rate for the measurement and assessment of biological sex and gender is

very low, below 1%.

      16.   TERMINOLOGY - GENDER IDENTITY: Gender identity refers to a person’s

individual experience and perception and unverified verbal patient reports of how they experience

being male or female or a combination of these or other categories. The term “gender identity” is

currently controversial. It is a term that means very different things to different observers often

varying according to political, ideological, religious, and other factors. There is no current

worldwide definition of “gender identity” accepted by the relevant scientific (cf. clinical)

community. The reliability and validity of the term “gender identity” is controversial and not

accepted by the relevant scientific community. The measurement error rate for non-biological

“gender identity” is unknown, untested, and unpublished and could be very high.

      17.   TERMINOLOGY - SEXUAL ORIENTATION: Sexual orientation refers to a person’s

enduring pattern of arousal and desire for intimacy with males, females, or both.

      18.   TERMINOLOGY - DNA and CHROMOSOMES: Sex is genetically encoded at the

moment of conception due to the presence of specific DNA sequences (i.e. genes) that direct the

production of signals that influence the formation of the bipotential gonad to develop into either a

testis or ovary. This genetic information is normally present on X and Y chromosomes.

Chromosomal sex refers to the normal complement of X and Y chromosomes (i.e. normal human

males have one X and one Y chromosome whereas normal human females have two X

chromosomes). Genetic signals are mediated through the activation or deactivation of other genes

and through programmed signaling of hormones and cellular transcription factors. The default




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pattern of development in the absence of external signaling is female. The development of the male

appearance (phenotype) depends upon active signaling processes.

      19.   BIOLOGICAL SEX IS BINARY — NOT A CONTINUUM — FOR 99%+ of

MAMMALS INCLUDING HUMANS:                    For members of the human species (and virtually all

mammals), sex is normatively aligned in a binary fashion (i.e., either male or female) in relation

to biologic purpose. The presence of individuals with disorders of sexual development (along the

range of the established Prader scale) does not alter this fundamental reality. Medical recognition

of an individual as male or female is correctly made at birth in nearly 99.98% of cases according

to external phenotypic expression of primary sexual traits (i.e., the presence of a penis for males

and presence of labia and vagina for females). The recognition of an individual as male or female

made at birth according to biological features has been documented by valid-reliable research

published in credible journals, and is generally accepted by the relevant scientific community. The

error rate for the measurement and assessment of an individual as male or female made at birth

according to biological features is very low indeed, certainly below 1%.

      20.   THE GENITAL-BIOLOGICAL FUNCTION OF REPRODUCTION: Due to genetic

and hormonal variation in the developing fetus, normative development of the external genitalia

in any individual differs with respect to size and appearance while maintaining an ability to

function with respect to biologic purpose (i.e. reproduction). Internal structures (e.g. gonad, uterus,

vas deferens) normatively align in more than 99.9%+ of mammals with external genitalia,

including humans.      In my opinion, this view is generally accepted by the relevant scientific

communities in endocrinology, neonatology, developmental biology, genetics, and other relevant

fields.   In my opinion, all relevant sciences agree that the development of genital structures is

intrinsically oriented to biological reproduction.




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      21.   BIOLOGICAL ASSESSMENT OF SEX:                     Reliance upon external phenotypic

expression of primary sexual traits is a highly accurate, reliable and valid means to assign biologic

sex. In over 99.9% of cases, this designation will correlate with internal sexual traits and capacity

for normal biologic sexual function. Sex is therefore not “assigned at birth” but is rather

recognized at birth. In my opinion, this view is generally accepted by the relevant scientific

communities in endocrinology, psychiatry, neonatology, biology, genetics, gynecology, and other

fields.

      22.   DISORDERS OF SEXUAL DEVELOPMENT ARE VERY RARE:                               Due to the

complexity of the biological processes that are involved in normal sexual development, it is not

surprising that a very small number of individuals are born with defects in this process (1 in 5,000

births). Defects can occur through either inherited or de novo mutations in genes that are involved

in sexual determination or through environmental insults during critical states of sexual

development. Persons who are born with such abnormalities are considered to have a disorder of

sexual development (DSD). Most often, this is first detected as ambiguity in the appearance of the

external genitalia. Such detection measurements are reliable and valid and accepted by the relevant

scientific community. In my opinion, this view is generally accepted by the relevant scientific

communities in endocrinology, neonatology, gynecology, psychiatry, biology, genetics, and other

fields. See, Leonard Sax (2002) How common is lntersex? A response to Anne Fausto‐Sterling,

The Journal of Sex Research, 39:3, 174-178, DOI: 10.1080/00224490209552139

      23.   DISORDERS OF SEXUAL DEVELOPMENT ARE NOT A THIRD SEX: Normal

variation in external genital appearance (e.g. phallic size) does not alter the basic biologic nature

of sex as a binary trait. “Intersex” conditions represent disorders of normal development, not a

third sex. In my opinion, this view is generally accepted by the relevant scientific communities in




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endocrinology, urology, surgery, neonatology, gynecology, psychiatry, biology, genetics, and

other fields.

      24.   DISORDERS OF SEXUAL DEVELOPMENT REQUIRE ASSESSMENTS OF

OBJECTIVE EVIDENCE: The medical care of persons with disorders of sexual development

(DSDs) is primarily directed toward identification of the etiology of the defect and treatment of

any associated complications. Similar to other diseases, diagnostic tools such as the Prader scale

are used to assess, measure, and assign a “stage” to the severity of the deviation from normal (e.g.

assessments of objective, reliable evidence). In children with DSDs, characterization based upon

phenotype alone does not reliably predict chromosomal sex nor does it necessarily correlate with

potential for biological sexual function. Decisions on initial sex assignment in these very rare

cases require detailed assessment of objective, reliable medical evidence by a team of expert

medical providers. In my opinion, this view is generally accepted by the relevant scientific

communities in endocrinology, urology, surgery, neonatology, gynecology, psychiatry, biology,

genetics, and other fields.

      25.   INTERSEX          CONDITIONS       REQUIRE        PROPER       CONSIDERATION           OF

ALTERNATIVE HYPOTHESES AND TREATMENT PLANS: Standard medical practice in the

treatment of persons with DSDs has evolved with growing understanding of the physical,

psychological, and psychiatric needs and outcomes for affected individuals. Previously, it was felt

that a definitive sex assignment was necessary shortly after birth with the belief that this would

allow patients with a disorder of sexual development to best conform to the assigned sex and so

parents-caregivers could help socialize the child to the assigned sex. Current practice is to defer

sex assignment until the etiology of the disorder is determined and, if possible, a reliable prediction

can be made on likely biologic and psychologic outcomes. When this cannot be done with




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confidence, a presumptive sex assignment is made. Factors used in making such decisions include

chromosomal sex, phenotypic appearance of the external genitalia, and parental desires. The

availability of new information can, in rare circumstances, lead to sex reassignment. Decisions on

whether to surgically alter the external genitalia to align with sex are generally deferred until the

patient is able to provide consent. See, Lee, P. A. et al. Global Disorders of Sex Development

Update since 2006: Perceptions, Approach and Care. Horm Res Paediatr 85, 158-180,

doi:10.1159/000442975 (2016)).          In my opinion, this view is generally accepted by the relevant

scientific communities in endocrinology, urology, surgery, neonatology, gynecology, psychiatry,

biology, genetics, and other fields.

      26.     METHODOLOGICAL DEFECTS of the GENDER TRANSTION INDUSTRY -

WHY IS THE TRANSGENDER MEDICINE FIELD STILL SO CONTROVERSIAL AFTER

DECADES OF RESEARCH? :

      A. The field of transgender medicine has long ignored basic, substantive, foundational

            science methodologies and ethics requirements (e.g. unverified patient reports are not a

            reliable basis for sterilizing vulnerable patients, unverified human memory reports are

            subject to contamination and misreporting, poorly designed-misreported treatment

            studies that show more damage than benefits are not a suitable basis for sterilizing

            vulnerable patients, etc.

      B. Despite several highly defective research efforts, the Gender Transition Industry has

            failed to prove long term benefits that outweigh the reported harms, dangers, and serious

            injuries of “gender affirmation” interventions -- including inability to reach orgasm,

            vaginal atrophy, compromised cognitive function, lifelong reliance on medication and

            repeated surgical intervention to deal with the cumulative effects of these iatrogenic




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          harms, stunted growth, damage to social support systems, increased risk of serious

          suicide attempts, etc.   In my opinion, the relevant scientific community agrees that

          Transgender Transition treatments are controversial, unproven, untested, and

          experimental – and thus not medically necessary – given the current state of scientific

          knowledge that exists.

      C. The Gender Transition Industry has repeatedly presented false, deceptive, and

          misleading information to the public and to patients regarding the known risks, dangers,

          injuries and benefits of “affirmation treatments”. (E.g. the Branstrom, Turban, and

          related research errors of omission and misreporting.)


      D. Without competent, valid, peer reviewed published research support; the Gender

          Transition Industry relies upon support from “professional associations”. Yet such

          associations are engaged in consensus-seeking-political voting methodologies and not

          evidence-based, peer reviewed science. Such political-professional associations have

          made similar, disastrous mistakes in the past. For example, the American Medical

          Association supported racist, “junk” science eugenics “treatments” in the 1930s and the

          American Psychiatric Association did not act to prevent or halt the harms of the

          repressed-memory/multiple personality industry of the 1990s.

      E. As a result of these many defects of methodology and ethics, the Gender Transition

          Industry and its “treatments” are not generally accepted by the relevant scientific

          community.

      F. As a result of these many defects of methodology and ethics, the Gender Transition

          Industry’s assessments and “treatments” have no known nor published error rate.




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      G. A key investigative hypothesis is whether the Gender Transition Industry is simply the

            latest harmful “junk science” fad and consumer fraud in the medical-psychiatric industry

            following the misadventures of lobotomies, recovered memory therapy, multiple

            personality disorder, rebirthing therapy, and others.

      H. National science reviews in England, Sweden, Finland and by the Cochrane Review have

            all uncovered serious methodological and ethical failures in the Gender Transition

            Industry – thus supporting the alternative investigative hypothesis that the Gender

            Transition Industry is engaged in a form of hazardous consumer fraud resulting in harm

            to many vulnerable patients. (E.g., In Expósito-Campos P. A Typology of Gender

            Detransition and Its Implications for Healthcare Providers. J Sex Marital Ther.

            2021;47(3):270-280. doi: 10.1080/0092623X.2020.1869126. Epub 2021 Jan 10.

            PMID: 33427094, the authors claim to have identified 60,000 case reports of

            detransitioners world-wide on the Internet.)

      27.     METHODOLOGICAL DEFECTS of the GENDER TRANSITION INDUSTRY--

LIMITATIONS and HAZARDS OF RELYING ON UNVERIFIED PATIENT SELF-REPORT

DATA WITH NO OBJECTIVE EVIDENCE: IN CONTRAST TO DISORDERS OF SEXUAL

DEVELOPMENT, GENDER DYSPHORIA CANNOT BE RELIABLY, OBJECTIVELY

ASSESSED AS IT IS BASED ON PATIENT SELF-REPORTS (no blood tests, no x-rays, no lab

results, no objective data) : Individuals who verbally report experiencing significant distress due

to perceived discordance between gender identity and sex cannot currently be reliably, validly, and

objectively assessed as experiencing “gender dysphoria”.              (See, American Psychiatric

Association. Diagnostic and statistical manual of mental disorders. 5th ed, (2013).       Although

gender perceptions, feelings, and “identity” usually align with biological sex, some individuals




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report experiencing discordance in these distinct traits. Specifically, for example, biologic females

may report experiencing that they identify as males and biologic males may report experiencing

that they identify as females. As gender by definition is distinct from biological sex, one’s gender

identity does not change a person’s biological sex. There is currently no known reliable and valid

methodology for assessing the accuracy or nature of unverified, verbal reports of discordant

“identity”.   There is thus no known “error rate” for relying upon such reports to engage in

hormonal and surgical treatments that might result in lasting, irreversible damages to normal,

healthy organs and the destruction of normal biological functions (e.g. sterility) as the current

research documents. In my opinion, my view is generally accepted by the relevant scientific

communities in endocrinology, urology, surgery, neonatology, gynecology, psychiatry, biology,

genetics, and other fields.



      28.     METHODOLOGICAL DEFECTS of the GENDER TRANSITION INDUSTRY

include the KNOWN LIMITATIONS OF RELYING ON UNVERIFIED, PATIENT SELF-

REPORT DATA UNRELIABLY ASSESSED BY HEALTH CARE PROFESSIONALS -- THE

RELEVANT SCIENCE DOCUMENTS THAT MENTAL HEALTH CARE PROFESSIONALS

ARE UNRELIABLE HUMAN “LIE DETECTORS” (“often no better than flipping a coin”):

Currently, there is no known methodology for reliably discerning true from false patient reports

without corroborating evidence such as radiology, lab tests, or other objective evidence. The

Gender Transition Industry’s sole reliance upon patient self-report data carries unknown risks of

errors, misinformation, deception and lasting harm to patients from treatments that deliberately

damage healthy organs and destroy essential normal bodily processes thus often producing

sterility. Assessment of gender dysphoria currently depends almost entirely upon unverified, self-




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reported evidence provided by patients. A patient’s spoken or written reports of alleged

“memories” of symptoms and behaviors are the only source of evidence for the diagnosis in many

cases. This is a source of potentially profound unreliability in patient care as the relevant science

documents that physicians are poor “lie detectors” — often no more reliable in discerning false

reports than flipping a coin — and sometimes much worse. The relevant research also documents

that even though humans (including therapists) are poor “lie detectors” many poorly trained

physicians and mental health professionals personally – and falsely -- believe they are “experts”

at this complex and difficult task. See, e.g., Vrij, Aldert, Granhag, P. and Porter, S. (2010) Pitfalls

and opportunities in nonverbal and verbal lie detection. Psychological Science In The Public

Interest, 11 (3). pp. 89-121. ISSN 1529-1006 10.1177/1529100610390861. “ The final error that

I will highlight is that professional lie catchers tend to overestimate their ability to detect deceit.

Research has consistently shown that when professional lie catchers and laypersons are compared,

“professionals are more confident in their veracity judgments but are NO more

accurate”. Emphasis added. See also, Rosen, G. M. and Phillips, W.R., A Cautionary Lesson

from Simulated Patients, Journal of the American Academy of Psychiatry and Law, 32, 132-133,

(2004).

      29.   METHODOLOGICAL DEFECTS of the GENDER TRANSITION INDUSTRY

include the KNOWN LIMITATIONS OF RELYING ON UNVERIFIED, PATIENT SELF-

REPORT DATA UNRELIABLY ASSESSED BY HEALTH CARE PROFESSIONALS --

SOCIAL MEDIA “INFLUENCERS” ARE REPORTEDLY TRAINING                                   PATIENTS TO

FABRICATE         SYMPTOMS          TO     GAIN      RAPID      ACCESS       TO     “TRANSITION”

INTERVENTIONS. Because Mental Health Professionals and Physicians are not capable of

reliably discerning true from false patient reports, nobody knows how many Gender Dysphoria




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patients have been coached-trained to deceive providers to gain easier and more rapid access to

hormones/surgery:      An important methodological error of the gender transition industry is the

reliance on patient self-reports alone — and the lack of objective corroborative evidence (no x-

rays, no blood tests, no genetic tests, no MRI’s, etc) — to engage in experimental “treatments”

causing sterility and other long-term harms. One potential hazard of this limited, unreliable self-

report methodology can be seen in the recently reported increase of “rapid onset gender dysphoria”

ROGD in adolescent females. For decades, the large majority of GD patients were early onset

males. In contrast, in just the past 5 years, the majority of new GD patients are female patients

with no long-term GD history. Many of the “rapid onset” adolescent patients’ parents have

reported a very rapid onset of GD symptoms linked to peer or school pressures or YouTube

“training” —thus coming out as “trans” in groups of friends or following school “gender training”

programs. At the same time, there have been reports of YouTube “Trans Influencers” whose

“video blogs” are watched by millions as they provide detailed coaching to their adolescent girl

followers on how to “lie to medical providers to obtain easier access to TG hormone and surgical

treatments rapidly”.     The reliance upon unverified self-report data –an unreliable diagnostic

methodology -- may well be one source of the ongoing and internationally reported failure of

research on Gender Transition Industry interventions (sometimes mislabeled as “treatments) to

provide consistent, reliable and valid evidence of long term benefits that would offset the well-

documented long-term harms, injuries, and damages (e.g. sterility, stunted growth, bone loss, etc)

produced by this burgeoning medical industry.

      30.    METHODOLOGICAL DEFECTS of the GENDER TRANSITION INDUSTRY

include the KNOWN LIMITATIONS OF RELYING ON UNVERIFIED, PATIENT SELF-

REPORT DATA UNRELIABLY ASSESSED BY MENTAL HEALTH PROFESSIONALS --




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THE SCIENCE OF MEMORY SHOWS THAT UNVERIFIED PATIENT “MEMORY”

REPORTS COULD BE QUITE INACCURATE THUS PRODUCING ADDITIONAL RISKS

OF UNRELIABLE DIAGNOSIS AND HARMFUL INTERVENTIONS: Decades of scientific

research studies have shown that human memory reports — often the sole source of evidence for

providers to engage a Gender Dysphoria patient in hazardous, experimental “gender transition”

treatments — are subject to manipulation, implantation, contamination by post-event sources,

source amnesia, and other errors. As world memory expert Prof. Elizabeth Loftus has noted,

“False memories, once created — either through misinformation or though suggestive processes

— can be experienced with a great deal of emotion, a great deal of confidence and a lot of detail,

even though they’re false.” See Loftus, E. F. (2002) Memory Faults and Fixes. Issues in Science

& Technology, National Academies of Science, 18, # 4, pp 41-50 See, also, e.g., Loftus, E. F.

(2005) Planting misinformation in the human mind: A 30-year investigation of the malleability of

memory. Learning and Memory, 12, 361-366.

      31.    METHODOLOGICAL DEFECTS of the GENDER TRANSITION INDUSTRY

include the reliance upon often science-illiterate mental health professionals to assess unverified

patient reports -- ALTHOUGH MUCH OF MEDICINE BECAME SCIENCE-BASED IN THE

20th CENTURY — THE MENTAL HEALTH FIELDS REPORTEDLY CONTINUES TO LAG

BEHIND:

      The Gender Transition Industry often involves social workers or other mental health

professionals “assessing” patients reporting Gender Dysphoria to determine if they will benefit

from “affirmation” medical interventions.          Given the extraordinary lack of competent,

methodologically sound research (See, reviews by England, Sweden, Finland, the Cochrane review

and others below) justifying the use of gender affirmation “treatments” there is no method for




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mental health professionals to reliably determine who might benefit from experimental

interventions. Such unreliable assessment protocols risk harm to patients as they depend upon the

widespread unreliable method of having psychotherapists depend upon “clinical judgment”

methodologies to make life-changing decisions and offer “professional” opinions with little or no

scientific validity. See, e.g., Mischel, W. Connecting Clinical Practice to Scientific Progress,

Psychological Science in the Public Interest, November 2008, vol 9, no 2 i-ii. The past President

of the Association for Psychological Science, Prof. Walter Mischel, stated “the current disconnect

between psychological science and clinical practice is an unconscionable embarrassment”. See,

Mischel, W. Connecting Clinical Practice to Scientific Progress, Psychological Science in the

Public Interest, Vol 9, No 2, 2009.

      Over the past century many components of the health care system — surgery, radiology,

laboratory testing, internal medicine, pharmacological systems, etc. — became science-driven and

far more effective and reliable. Courts are often unaware that this transformation — moving from

widespread use of unreliable methodologies (“junk science”) to the widespread use of reliable

science-based methodologies — has, in many ways, not yet occurred in the mental health system.

See, e.g., West, Catherine, ‘An Unconscionable Embarrassment’, Association for Psychological

Science,                      Observer,                    October           2009,           See,

http://www.psychologicalscience.org/index.php/publications/observer/2009/october-09/an-

unconscionable-embarrassment.html ; See, also Baker, T., McFall, R. & Shoham, V., Current

Status and Future Prospects of Clinical Psychology: Toward a Scientifically Principled Approach

to Mental and Behavioral Health Care, Psychological Science in the Public Interest, Vol. 9, No. 2

(2009); see also, Harrington, A., Mind Fixers: Psychiatry's Troubled Search for the Biology of

Mental Illness, W. W. Norton & Company; 1st edition, April 16, 2019 ; See also, Dawes, R.M.,




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House of cards: Psychology and psychotherapy built on myth, New York: Free Press (1997); See

also, Garb, H. N., & Boyle, P. A (2003). Understanding why some (mental health) clinicians use

pseudoscientific methods: Findings from research on clinical judgment. In S. O. Lilienfeld, S. J.

Lynn, &. J. M. Lohr (Eds.), Science and pseudo-science in clinical psychology (pp. 17–38). New.

York, NY: Guilford Press.

      32.   METHODOLOGICAL DEFECTS of the GENDER TRANSITION INDUSTRY

include the KNOWN LIMITATIONS OF RELYING ON UNVERIFIED, PATIENT SELF-

REPORT DATA ASSESSED BY MENTAL HEALTH PROFESSIONALS: DYSPHORIC

REPORTS ARE COMMON FROM CHILDREN WITH A RANGE OF ILLNESSES: Reports of

feelings of anxiety, depression, isolation, frustration, and embarrassment are not unique to children

with gender dysphoria, but rather are common to children who differ physically or psychologically

from their peers. Difficulties are accentuated as children progress through the normal stages of

neuro-cognitive and social development. In my clinical practice of pediatric endocrinology, this

is most commonly seen in children with diabetes. Attempts to deny or conceal the presence of

disease rather than openly acknowledge and address specific needs can have devastating

consequences including death. With proper acknowledgment of the similarity and differences

between children with gender dysphoria and other developmental challenges, prior medical

experience in treating a range of reported troubles can guide the development of effective

approaches to both alleviate suffering and minimize harm to school aged and adolescent children

experiencing gender dysphoria.

      33.   METHODOLOGICAL DEFECTS of the GENDER TRANSITION INDUSTRY

include the KNOWN LIMITATIONS OF RELYING ON UNVERIFIED, PATIENT SELF-

REPORT DATA ASSESED BY MENTAL HEALTH PROFESSIONALS -- COURTS SHOULD




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BE AWARE THAT CLINICAL EXPERIENCE IN THE MENTAL HEALTH FIELDS - WHERE

CLINICIANS OFTEN LACK ACCURATE FEEDBACK — IS OFTEN OF LIMITED VALUE

:

      As the Gender Transition Industry routinely permits poorly qualified social workers or other

mental health professionals to subjectively make life changing decisions in Gender Dysphoria

cases — such mental health professionals often unreliably overestimate their ability to offer such

“crystal ball” assessments and predictions. Few of these professionals seem aware of the research

showing the grave limitations on the experience, judgment, and methodologies of mental health

professionals. See, e.g., Tracey, T.J., Wampold, B.E., Lichtenberg, J.W., Goodyear, R. K., (2014)

Expertise in Psychotherapy: An Elusive Goal, American Psychologist, Vol. 69, No. 3, 218-229.

“In a review of expertise across professions, Shanteau (1992) identified several professions in

which practitioners develop expertise, which he defined as increased quality of performance that

is gained with additional experience. These professions, which demonstrate there can be a relation

between experience and skill, include astronomers, test pilots, chess masters, mathematicians,

accountants, and insurance analysts. Shanteau also identified several professions for which

experiential expertise was not demonstrated, including [mental health professionals]. He attributed

the differences between the two types of professions to the predictability of their outcomes and

the unavailability of quality feedback.” For example, airline pilots, or even more clearly Navy

fighter pilots who land on aircraft carriers practice their professions in full view of hundreds of

people. If they err, people die. If they are, off course, unstable, or inaccurate in their performance,

immediate consequences, retraining or loss of profession is the immediate outcome. In contrast, a

social worker, psychologist, or psychiatrist, sitting alone in a room with a troubled patient can

make erroneous statements, use unreliable methodologies (e.g., naively believing whatever




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patients tell them or believing that they are “professional human lie detectors”), believe false and

misleading notions about human memory, demonstrate ignorance of the serious defects in

transgender treatment research, and fail to properly inform patients of the risks and benefits of

treatments, etc. Mental health professionals can make such egregious errors for decades without

receiving timely, accurate feedback. Without accurate feedback there is a failure of the learning

process and improvements are difficult or not possible. Such limiting processes can continue for

many years of practice. This is why mental health professions have been listed as doing the type

of work that often does not lead to improvements in “clinical experience”— even over many years

of practice. Gender discordant (“transgender”) patients are rarely, if ever, informed of these

limitations on mental health professionals’ knowledge, training, or experience nor the limitations

of mental health “assessments” based on unverified self-reported “memory” data.

      34.   HISTORICALLY, THE MEDICAL and SOCIAL SCIENCES HAVE AT TIMES

BEEN IMPROPERLY TAINTED BY POLITICAL IDEOLOGIES. IT IS IMPORTANT FOR

LEGAL PROFESSIONALS — ESPECIALLY JUDGES —TO UNDERSTAND THE

ESSENTIAL        DIFFERENCES          BETWEEN         METHODOLOGICALLY              COMPETENT,

TESTABLE-TESTED-RELIABLE-VALID PEER REVIEWED SCIENCE v. the CONSENSUS-

SEEKING, VOTING PROCESSES OF POLITICAL-PROFESSIONAL ASSOCIATIONS and

RELATED ORGANIZATIONS:

      Professional Association voting processes are not a reliable nor valid scientific methodology.

Professional, political, or other association consensus-seeking voting processes and procedures are

neither reliable nor valid, nor tested and proven scientific methodologies. They are votes taken by

committees - too often small committees of activists and ideologues with inadequate

methodological training. Such non-scientific voting processes and procedures have never been




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accepted as reliable and valid scientific methods by the relevant scientific community. Such voting

processes and procedures have no known error rate.           Historically, it should be noted that

“professional associations” have a tainted history of supporting unproven, controversial notions

that were later proven to be improper, unreliable, and/or unethical.

      A. The American Medical Association (AMA): As an example of professional association

support of controversial ideologies, AMA supported eugenic proposals to “improve the quality of

the human stock” by coercive sterilization of “defective and undesirable Americans” and selective

breeding. During the 1890’s the renowned surgeon Albert Ochsner was invited to speak about his

vasectomy procedure to the meetings of the American Medical Association. Dr. Ochsner

recommended surgical vasectomies to prevent the reproduction of “criminals, chronic inebriates,

imbeciles, perverts, and paupers.” (See, Oshsner, AJ, Surgical treatment of habitual criminals.

JAMA, 1899:32:867-868).

      The controversial support of the AMA for such racist, eugenics ideologically-tainted

pseudoscientific notion was a political and not a scientific process. Similarly, the American

Breeders Association founded an Eugenics Record Office with an advisory board that included a

Harvard physiologist, a Princeton psychiatrist, a University of Chicago economist, and Alexis

Carrel of the Rockefeller Institute for Medical Research, a recipient of the Nobel Prize in Medicine.

This movement was focused on “terminating the bloodlines” of the “submerged lower ten percent

of the population with ‘defective germ-plasm’”. (See, Black, E. War Against the Weak, New

York, NY, 2003).

      With the support of professional associations like the AMA, a Model Eugenics Sterilization

Law was proposed to authorize sterilization of the “socially inadequate”, that is, those supported

in institutions or maintained at public expense. The model law encompassed the “feebleminded,




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insane, criminalistic, epileptic, inebriate, diseased, blind, deaf, deformed, and dependent” —

including “orphans, ne’er-do-wells, tramps, the homeless and paupers”. Eighteen states passed

laws based on the 1922 model legislation and sixty-four thousand people were forcibly sterilized.

Supporters included Margaret Sanger who in her 1932 essay “My Way to Peace” proposed that

“the whole dysgenic population would have its choice of segregation or sterilization” (Sanger, M.,

My Way To Peace, Birth Control Review, Jan 17, 1932; Singleton, M.M. The ‘Science ’of

Eugenics: America’s Moral Detour, Journal of American Physicians and Surgeons, Vol 19, No 4,

Winter 2014.)

      A key lesson from this tragic era is that the non-scientific, consensus-seeking voting

processes of “associations” can produce danger to the public and patients. Although directed by

persons who know or should know how to conduct proper scientific methods, association voting

methods are politically-ideologically tainted processes — and not based upon valid-reliable,

methodologically-competent science.        Again, such professional “associations” operate via

consensus-seeking and ideology and not evidence-seeking scientific methodologies. Such

professional organizations make decisions by voting and not by conducting ethical, scientifically

valid, methodologically reliable, peer reviewed and published science with known error rates.

      B. The World Professional Association for Transgender Health (WPATH), The Amercican

Academy of Pediatrics (AAP), and the Endocrine Society: This methodological critique and

history of association errors and misadventures is quite informative when assessing the

“professional association” consensus seeking methodologies including voting and political

activities such as those of WPATH, the AAP, the American Endocrine Society and similar groups

as they adopt support for the “politically correct” but scientifically defective, ideologically driven

Gender Transition Industry. Consensus seeking (voting) methods are not scientific evidence-based




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methodologies. Courts should take case not to be deceived by the “positions” of Associations –

no matter how large or vocal. The net effect of many the Gender Transition Industry’s methods

and procedures is the sterilization of tens of thousands of children, adolescents, and adults. This is

a sobering reminder of previous, now infamous, medical misadventures. (See, Hruz, PW, Mayer,

LS, and McHugh, PR, "Growing Pains: Problems with Puberty Suppression in Treating Gender

Dysphoria," The New Atlantis, Number 52, Spring 2017 pp. 3 -36 ; See also, McHugh, P.,

Psychiatric Misadventures, The American Scholar, Vol. 62, No. 2 (Spring 1993), pp. 316-320 ;

      C. The Diagnostic and Statistical Manual of the American Psychiatric Association (DSM):

A final example of the methodological limitations of relying upon “association voting” methods

is the Diagnostic and Statistical Manual of the American Psychiatric Association. The DSM (and

also the International Classification of Diseases- ICD) system(s) have confused some courts in the

past. Simply put, reliability data, validity methodological analyses, and error rates are not supplied

nor supported by the Diagnostic and Statistical Manual of the American Psychiatric Association

(DSM).

      Today’s American Psychiatric Association’s Diagnostic and Statistical Manual of Mental

Disorders (Version 5) employs the term “Gender Dysphoria” and defines it with separate sets of

criteria for adolescents and adults on the one hand, and children on the other. It is important to

reiterate that the DSM is not a reliable-valid scientific journal publication. The DSM began as an

attempt to create a dictionary for psychiatry. The process by which DSM classifications are

created involves voting by committee — this is not a reliable-valid scientific process. The

committees’ recommendations are approved or rejected by superordinate committees. DSM

content is largely decided by consensus-seeking methodologies — such as “voting” by small

committees of advocates and activist practitioners whose judgment may suffer from significant




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financial conflicts of interest — as appears to be the case with all three of the Plaintiffs’ experts in

this case. The limitations of the DSM methodology are well known in the relevant scientific

community. In my opinion, these views are generally accepted by the relevant scientific

community.

      The DSM has become increasingly controversial in recent years – including being “dumped”

by the National Institute of Mental Health as a key basis for research funding. See, Lee, C., The

NIMH Withdraws Support for DSM-5: The latest development is a humiliating blow to the APA.

Psychology      Today      News      Blog     at    https://www.psychologytoday.com/us/blog/side-

effects/201305/the-nimh-withdraws-support-dsm-5 [“Just two weeks before DSM-5 is due to

appear, the National Institute of Mental Health, the world's largest funding agency for research

into mental health, has indicated that it is withdrawing support for the APA’s manual. In a

humiliating blow to the American Psychiatric Association, Thomas R. Insel, M.D., Director of the

NIMH, made clear the agency … would be “re-orienting its research away from DSM categories.”]

See     also,    https://www.nimh.nih.gov/about/directors/thomas-insel/blog/2013/transforming-

diagnosis.shtml “Unlike our definitions of ischemic heart disease, lymphoma, or AIDS, the DSM

diagnoses are based on a consensus about clusters of clinical symptoms, not any objective

laboratory measure. In the rest of medicine, this would be equivalent to creating diagnostic systems

based on the nature of chest pain or the quality of fever. Indeed, symptom-based diagnosis, once

common in other areas of medicine, has been largely replaced in the past half century as we have

understood that symptoms alone rarely indicate the best choice of treatment. Patients with mental

disorders deserve better. NIMH has launched the Research Domain Criteria (RDoC) project to

transform diagnosis by incorporating genetics, imaging, cognitive science, and other levels of

information to lay the foundation for a new classification system.”]




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      In sum, professional association “positions” are not based upon competent, credible, reliable

and valid scientific methodologies. Professional association “positions” on gender affirmation

assessments and treatments remain very socially, medically, and scientifically controversial – and

increasingly so.   The association “positions”—since they are produced by voting and not

methodologically reliable-valid evidence -- have not been generally accepted by the relevant

scientific community and they have no known, nor published, error rates.

      35.   MEDICINE and SOCIAL SCIENCE HAVE AT TIMES BEEN TRAGICALLY

TAINTED AND THOUSANDS OF PATIENTS DAMAGED BY RELIANCE ON

METHODOLOGICALLY DEFECTIVE PATIENT SELF-REPORTS and ANECDOTAL

EVIDENCE:

      Case histories, case reports, and verbal patient reports-statements and medical records of

individual patients are all helpful sources of information and at times essential to the proper

treatment of individual patients. Such information has often proven helpful in generating testable

hypotheses for scientific research.    Such self-report and anecdotal information, however, can

contain errors, distorted memories, misinterpretations, delusions, confusions, manipulations, and

other kinds of errors. In sum, case histories, case reports, and the statements and medical records

of individual patients are anecdotal case histories or patient reports (stories of often unknown

reliability). Such evidence is not sufficient for reliable, valid, tested, proven, peer reviewed

scientific methodologies. Case histories, case reports, and the statements and medical records of

individual patients have never been accepted by the relevant scientific community as reliable,

valid, peer-reviewed published scientific research. Such case histories, case reports, and the

statements and medical records of individual patients have no known error rates with some care




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reports being highly accurate documentation of objective evidence and others being filled with

highly subjective, uncorroborated, unverified verbal reports of patient emotional states.

      An example of disastrous medical misdirection from anecdotal patient reports is the

Repressed Memory Therapy (RMT) movement of the late 1980s and 1990s. This explosive

epidemic of “recovered memories” and “multiple personality disorder” (MPD) patients led to the

rapid creation of “specialty clinics” and hospital units throughout the nation as tens of thousands

of new RMT and MPD patients accused parents of horrific crimes.

      The intense furor resulted in the FBI investigating hundreds of anecdotal crime reports from

psychotherapy patients. After years of investigations, Kenneth Lanning, the Director of the FBI

Behavioral Unit, reported the lack of corroborative evidence for the patient allegations following

“recovered memory therapy”. He suggested that “therapists needed to explain” why so many

therapy patients came to adopt, fervently believe in, and report radically transformed, terrifying

alterations to their own biographies including “new memories” of torture at the hands of “satanic

international cults” engaged in the rape, murder, and cannibalism of children. Social psychologist

Richard Ofshe called the belief in satanic ritual abuse the “Achilles' heel” of the recovered memory

movement, since the newly “remembered” reports of murder, cannibalism, and fetuses aborted in

“rituals” not only sounded extreme and incredible but were not linked to corroborating evidence

(e.g. many patients claiming “memories” of being ritually cut open for “sacrificial birth” had zero

scars and upon OB-GYN exam had never given birth). Despite the lack of validating evidence as

documented by the FBI’s intensive, nation-wide investigation, in a national survey published in

1994, conducted by Gail Goodman and her colleagues, 13 percent of 7,000 therapists surveyed

reported that they had “elicited recovered memories of ritual abuse”, and these respondents

“overwhelmingly believed” the “memories” were real. Two additional major studies—one




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American, one British—came to the same conclusion as the FBI’s Lanning in 1994. Funded with

$750,000 from the federal government, Gail Goodman and her team examined many thousands of

patient’s anecdotal stories of satanic ritual abuse and failed to find any corroborative evidence for

the stereotypical, rote, detailed patient reports of multi-generational cults that sexually abused,

killed, and/or ate children.   (See, Ofshe, R. and Watters, E. (1996) Making Monsters: False

Memories, Psychotherapy, and Sexual hysteria. 2nd Edition. University of California Press; See

also, Pendergrast, M. (2017). The repressed memory epidemic: How it happened and what we

need to learn from it. New York, NY: Springer.). Thus, prior to WPATH and prior to the

ideological fervor of the Gender Affirmation Medical Enterprise, the Recovered Memory Therapy

Industry had shown how “politically correct” ideological fervor can overcome a lack of credible

scientific evidence and engage in unrproven, experimental “treatments” on tens of thousands of

unsuspecting, vulnerable patients.

        Subsequent research and many dozens of malpractice lawsuits and licensing revocations
documented that the very similar to identical self-reported “memories” provided by “recovered
memory” patients to law enforcement and the media were actually the result of memory
contamination by unethical, pseudoscientific psychotherapy methods and media-therapist fueled
social contagion fears of a criminally abusive “patriarchy”. The patients’ new, horrific pseudo-
memories
were shown to be the result of ideologically driven pseudoscientific “treatments” including

hypnosis, “age regression”, dream interpretation, guided imagery, use of family photographs to

stimulate “recovered memories”, interpretation of physical symptoms as so-called “body

memories”, and coercive group therapy sessions similar to Maoist indoctrination groups. See,

Ofshe, R. and Watters, E. (1996) Making Monsters: False Memories, Psychotherapy, and Sexual

hysteria. 2nd Edition. University of California Press; See also, Pendergrast, M. (2017). The

repressed memory epidemic: How it happened and what we need to learn from it. New York, NY:

Springer.).




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      Hundreds of lawsuits and media exposes shut down many of the Repressed Memory Therapy

– Multiple Personality Disorder (RMT-MPD) clinics. State licensing boards then proceeded to

revoke or restrict the licenses of multiple leaders of the RMT-MPD movement. See, e.g., Belluck,

P. Memory Therapy Leads to a Lawsuit and Big Settlement [$10.6 Million], The New York Times,

Page 1, Column 1, Nov. 6, 1997; See also, Barden RC: Reforming the Mental Health System:

Coordinated, Multidisciplinary Actions Ended “Recovered Memory” Treatments and Brought

Informed Consent to Psychotherapy. Psychiatric Times. 2014;31(6): June 6, 2014.

      It is important to note that the relevant professional associations including the American

Medical Association, the American Psychiatric Association, the American Psychological

Association and others (social worker and therapist associations, etc.) were not protective of the

public and did little or nothing to expose the dangerous, pseudoscience fads and frauds of the

RMT-MPD movement.           In contrast, these political-professional associations protected the

lucrative RMT-MPD industry that created tens of thousands of new patients requiring years of

expensive treatments. The exposure of the dangers and damages of the RMT-MPD industry was

done by a small number of civil attorneys, scientists, juries, and science-literate journalists. This

example should give pause to those attempting to rush to fund and rapidly expand the experimental

Gender Transition Industry.

      In sum, some of the most tragic misadventures in the history of medicine involved the science

illiterate reliance upon uncorroborated patient “stories”— self-reported evidence — as the sole

basis for proceeding with controversial, experimental treatments on vulnerable patients (e.g.

Lobotomies, Rolfing, Primal Screaming, Recovered Repressed Memories, Multiple Personality

Disorder, Rebirthing Therapy, Coercive Holding Therapy, Reparenting, etc.). Understanding the

important distinctions between scientifically valid-reliable, methodologically sound research




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versus unreliable, anecdotal evidence and unverified patient “memories” is essential to efforts to

protect the integrity of the scientific process as well as the quality and safety of medical care. Sex

discordant gender (“transgender”) assessments are currently made almost solely on unverified,

uncorroborated “memory” reports of vulnerable patients.

       36. PATIENTS‘ RIGHTS TO TESTED, PROVEN TREATMENTS and INFORMED

CONSENT HAVE BEEN VIOLATED IN THE PAST BY ETHICAL FAILURES IN THE

MEDICAL and MENTAL HEALTH SYSTEMS. USING EXPERIMENTAL PROCEDURES

and UNPROVEN “TREATMENTS” ON UNINFORMED, VULNERABLE PATIENTS IS

UNETHICAL and IMPROPER. Some of the most tragic chapters in the history of medicine

include violations of informed consent and improper experimentation on patients using methods

and procedures that have not been tested and validated by methodologically sound science — such

is the case with the Gender Transition Industry. The history of the infamous Tuskegee studies,

the Nazi and Imperial Japanese wartime experiments, lobotomies (e.g., Dr. Egas Moniz received

the 1949 Nobel Prize in Medicine for inventing lobotomies as a “treatment” for schizophrenia!

See,   https://www.nobelprize.org/prizes/medicine/1949/moniz/article/),        recovered     memory

therapy-multiple personality disorders, rebirthing therapy (see, e.g. See, Janofsky, M. Girl's Death

Brings Ban on Kind of 'Therapy'. New York Times. April 18, 2001, See, also Peggy Lowe,

Rebirthing team convicted: Two therapists face mandatory terms of 16 to 48 years in jail, Rocky

Mountain News, April 21, 2001, coercive holding therapy (See, Hyde, J. “Holding therapy appears

finished, State orders the last practitioner of holding therapy to end controversial method” Deseret

News, Feb 13, 2005), and other tragic examples should serve as a stark warning to medical

providers to properly protect the rights of patients and their families to a proper informed consent

process and to not be subjected to experimental, unproven interventions such as gender transition




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“treatments”. It is now universally agreed that medical and psychotherapy patients have a right to

proper informed consent. Professional ethics codes, licensing rules and regulations, hospital rules

and regulations, state and federal laws, and biomedical conventions and declarations all protect

patients’ right to informed consent discussions of the risks and benefits of proposed treatments and

alternative treatments including no treatment. See, Jonson AR, Siegler M, Winslade, WJ: Clinical

Ethics, New York: McGraw Hill, 1998, [ “Informed consent is defined as the willing acceptance

of a medical intervention by a patient after adequate disclosure by the physician of the nature of

the intervention, its risks, and benefits, as well as of alternatives with their risks and benefits”].

See, also, Katz, A., Webb, S., and Committee on Bioethics, Informed Consent in Decision-Making

in     Pediatric    Practice,          Pediatrics,     August       2016, 138 (2) e20161485; DOI:

https://doi.org/10.1542/peds.2016-1485                                                              at

https://pediatrics.aappublications.org/content/138/2/e20161485

       Tragically, however, as I will discuss in detail below, we now have much evidence

supporting increasing concerns that the true risks and benefits of Sex Discordant Gender

(“transgender”) transition “treatments” are NOT being properly and ethically presented to

patients by providers (surgeons, endocrinologists, therapists, etc). Similarly, many of the published

“pro-transition” research studies reviewed in this declaration have misrepresented to the public the

actual risks and benefits of gender affirming medical interventions. The Gender Transition

Industry has produced research claiming evidence supporting the use of controversial “treatments”

when, in fact, their own study data more likely support the alternative hypothesis that so-called

“transition” intervention procedures might produce higher risks of anxiety and more serious

suicide attempts requiring hospitalization. (See detailed discussions below). Expert witnesses in

cases involving issues related to Sex Discordant Gender Transition interventions are duty bound




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and required by licensing rules to truthfully and fully disclose to courts and legal professionals the

well-documented risks, international controversies, and published misrepresentations involving

the still unproven Gender Transition methods and procedures.

      37.   METHODOLOGICAL ERRORS - ONE OF THE MOST SERIOUS OF ALL

METHODOLOGICAL ERRORS, CONFIRMATION BIAS, PLAGUES THE RESEARCH OF

THE GENDER TRANSITION INDUSTRY:

      Confirmation bias is one of the most serious and potentially dangerous errors in the

assessment-diagnosis-treatment process of medicine. One of the key methodologies in science

and in proper investigations-assessments of all kinds — including expert witness review and

testimony— is the generation and testing of multiple alternative investigative hypotheses. From

US Public Junior High Schools (typically first taught to 8th Graders) through competent MA,

MSW, and all Ph.D. and M.D. graduate programs, students and professionals at all levels are taught

that the central methodology for science and for a proper assessment-diagnosis-treatment or expert

witness report involves the generation and testing of alternative investigative hypotheses.

Investigative hypotheses, once generated, should be rationally, properly, and fairly explored to see

if actual, factual evidence supports or refutes the hypotheses. A common and serious error in

improper assessments-diagnoses-treatments is “confirmation bias,” the failure to generate and then

explore alternative investigative-assessment-diagnostic hypotheses. In confirmation bias the

science-naïve physician, investigator, expert, or therapist applies a narrow “tunnel vision” process

to support a single, favorite, biased, pre-conceived hypothesis in a case. [See, Garb, H. N.,

& Boyle, P. A (2003). Understanding why some clinicians use pseudoscientific methods:

Findings from research on clinical judgment. In S. O. Lilienfeld, S. J. Lynn, &. J. M. Lohr (Eds.),

Science and pseudoscience in clinical psychology (pp. 17–38). New. York, NY: Guilford Press.;




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See also, See, Plous, Scott (1993). The Psychology of Judgment and Decision Making. p. 233;

Nickerson, Raymond S. (June 1998). "Confirmation Bias: A Ubiquitous Phenomenon in Many

Guises". Review of General Psychology 2 (2): 175–220. doi:10.1037/1089-2680.2.2.17 ; See,

Joshua Klayman and Young-Won Ha, Confirmation, Disconfirmation, and Information in

Hypothesis Testing, Psychological Review, 1987, Vol.94, No. 2, 211-228.] Currently, too many

Gender Transition Industry advocate-activist-providers appear to violate the requirement to

properly generate, explore, and disclose alternative hypotheses for assessments-diagnoses and

treatments.    In my opinion such failures, including the activist-ideologue demand that all

alternative hypotheses and treatments be banned as forms of “conversion” therapy, risk

institutionalizing confirmation bias —a dangerous form of negligent practice. See, Smith, T.

Summary of AMA Journal of Ethics article on cognitive biases, Four widespread cognitive biases

and how doctors can overcome them (e.g., confirmation bias, anchoring bias, affect heuristic, and

outcomes      bias) at   https://www.ama-assn.org/delivering-care/ethics/4-widespread-cognitive-

biases-and-how-doctors-can-overcome-them. (“Physicians are human and, therefore, constantly

vulnerable to cognitive bias. But this imperfection is not just theoretical. It can have huge effects

on patient care.”)

      38. METHODOLOGICAL ERRORS of the GENDER t INDUSTRY- CONFIRMATION

BIAS CAN PREVENT COMPLEX, COMPREHENSIVE DIAGNOSIS AND TREATMENT

EXPLORING ALTERNATIVE HYPOTHESES:

      By demanding the immediate and un-investigated “affirmation” of a Sex Discordant Gender

Identity (“transgender”) patient’s requests for so-called“ transitioning” — without conducting a

detailed, proper, medical assessment of alternative hypotheses — the Gender Transition Industry

is attempting to enforce and institutionalize the methodological failure of “confirmation bias”. By




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labelling all forms of psychotherapy, coping and resilience training, cognitive behavioral therapy

for depression-anxiety, or other options as “conversion therapy”, the Gender Transition Industry

is failing to treat individual patients according to the basic requirements and principles of

competent medical assessment, diagnosis, and treatment. As I will discuss in detail in the

methodological analyses below, the current scientific evidence does not support the current

treatments nor methods endorsed and aggressively marketed and demanded by the Gender

Transition Industry. The Gender Transition Industry’s general refusal to properly investigate or

even consider alternative hypotheses, alternative diagnoses, and alternative treatments is, in my

view, unethical misconduct. For example, many peer reviewed, properly conducted, published

research reports demonstrate that cognitive-behavioral therapy is a very low-risk, safe, and highly

effective treatment for depression and anxiety disorders. See, e.g., Mor N, Haran D. Cognitive-

behavioral therapy for depression. J Psychiatry Relat Sci. 2009;46(4):269-73. PMID: 20635774,

https://pubmed.ncbi.nlm.nih.gov/20635774/ ; [A review of “Twenty-nine Random Control Trials

were included in three separate meta-analyses. Results showed multi-modal CBT was more

effective than no primary care treatment (d =0.59), and primary care treatment-as-usual (TAU) (d

= 0.48) for anxiety and depression symptoms.”] See, e.g., Twomey, C., O’Reilly, G. and Byrne,

M. Effectiveness of cognitive behavioural therapy for anxiety and depression in primary care: a

meta-analysis, Family Practice, Volume 32, Issue 1, February 2015, Pages 3–15,

https://doi.org/10.1093/fampra/cmu060.      The political taint is so strong that some activist-

providers reportedly fail to offer and engage in CBT therapy with depressed-anxious Gender

Dysphoric patients for fear of being attacked as engaging in “conversion” therapy. Again, the

institutionalization of medical negligence (e.g., confirmation bias) harms vulnerable patients.




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      39.     PROPER INVESTIGATIONS OF DECEPTIVE MISCONDUCT - Ideological

Overreach can Lead to Unethical Misconduct and Licensing Violations.               Misrepresenting

medical-scientific research, deceptively hiding methodological errors, or failing to honestly report

ongoing international controversies to courts, patients, or guardians should be properly

investigated as misconduct. Licensing boards and professional associations produce and should

properly enforce ethics rules and requirements governing the conduct of health care professionals

to protect the rights of patients and parents.

      40.   PROPER INVESTIGATIONS OF DECEPTIVE MISCONDUCT - Plaintiffs’

EXPERT DR BROWN’s METHODOLOGICAL FAILURES SHOULD BE INVESTIGATED:

In my opinion, Plaintiffs’ expert Dr. Brown, appears to have engaged in misconduct by his signed

opinion in this case stating “Nor is there any uncertainty or dispute in the medical field regarding

the medical necessity of this care.”       As the detailed methodological analysis below amply

documents, Dr. Brown’s expert declaration in this case appears to document an example of unusual

ignorance or potentially, a deceptive failure to properly report on, and inform the court of, the

ongoing international controversies and debates regarding Gender Transition           interventions

(“treatments”) (e.g. See the relevant multiple, national science reviews cited below from Great

Britain, Sweden, and Finland, as well as the Cochrane Review all exposing the serious

methodological defects, controversies, and methodological failings of Gender Transition research

as documented below).

      41.   THE ACTUAL PREVALENCE OF GENDER DYSPHORIA and PATIENTS THAT

IDENTIFY AS GENDER DISCORDANT (“transgender”) IS UNKNOWN BUT IT APPEARS

TO BE INCREASING AT A RAPIDLY ACCELERATING RATE THUS SUPPORTING AN

ALTERNATIVE HYPOTHESIS OF SOCIAL CONTAGION: Estimates reported in in the DSM-




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V (a diagnostic manual that functions via voting and more as a dictionary than a valid scientific

methodology) were between 0.005% to 0.014% for adult males and 0.002% to 0.003% for adult

females. Thus, gender dysphoria was, until just a few years ago, a very rare condition. It is currently

unknown whether these DSM estimates were falsely low due to under-reporting or:

      — whether changing societal acceptance of transgendered identity and the growing number

of medical centers providing interventions for gender dysphoria has led to increased reporting of

persons who identify as transgender

      - or whether the reported educational programs aggressively promoting “non-binary”

identification to elementary to high school students to college students have greatly increased the

numbers of youth adopting a transgender identity

      - or whether the reported wave of “trans You Tube influencers” watched by millions each

day as they aggressively “sell” the transgender lifestyle has added to a social contagion effect with

vulnerable lonely, depression, anxious, or autistic youth.

      — or other causal process.

      A key unanswered research question is whether a social contagion process is leading to vast

and rapid increases in the numbers of patients identifying as gender discordant (“transgender”).

How many of the new waves of thousands of cases are ‘false reports’ that will dissipate with time

and normal development over time? For example, the Gender Identity Development Service in

the United Kingdom, which treats only children under the age of 18, reported that it received 94

referrals of children in 2009/2010 and 1,986 referrals of children in 2016/2017 a relative increase

of 2,000%. See, "GIDS referrals figures for 2016/17," Gender Identity Development Service,

GIDS. NHS.uk (undated), http://gids.nhs.uk / sites / default / files /content_uploads

/referralfigures-2016- 17.pdf.




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      Reportedly, similar social contagion processes led to tens of thousands of patients and

families being harmed by controversial diagnoses such as multiple personality disorder” (MPD

and controversial interventions including “recovered memory therapy (RMT). RMT and MPD

patients, once considered extremely rare (some 300 MPD patients reported worldwide prior to the

1980s-1990s social contagion epidemic) erupted into a flood of tens of thousands of patients and

affected families in the 1990s. These very controversial disorders and treatments were greatly

reduced by dozens of civil lawsuits against RMT-MPD therapists, international news exposure of

scientific evidence debunking these notions, and international news reporting of the civil litigation,

licensing prosecutions, and licensing revocations of well-known RMT-MPD practitioners. (See,

e.g., Belluck, P. Memory Therapy Leads to a Lawsuit and Big Settlement [$10.6 Million], The

New York Times, Page 1, Column 1, Nov. 6, 1997; Pendergrast, M. (2017). The repressed

memory epidemic: How it happened and what we need to learn from it. New York, NY: Springer).

       Recent data indicates that the number of people seeking care for gender dysphoria is rapidly

increasing with some estimates as high as 20-fold and more. See, Chen, M., Fuqua, J. & Eugster,

E. A. Characteristics of Referrals for Gender Dysphoria Over a 13-Year Period. Journal of

Adolescent Health 58, 369-371, doi:https://doi.org/10.1016/j.jadohealth.2015.11.010 (2016) ; 4.

“GIDS referrals figures for 2016/17,” Gender Identity Development Service, GIDS.NHS.uk

(undated), http://gids.nhs.uk/sites/default/files/content_uploads/referral-figures-2016-17.pdf. )

See, Zucker K. J. (2017). Epidemiology of gender dysphoria and transgender identity. Sexual

health, 14(5), 404–411. https://doi.org/10.1071/SH17067. Data from England show increases of

4,000% for female to male patients and in America data show increases of 20,000% for young

women (e.g. from .01 to 2%). Estimates vary considerably in relation to how sex-gender identity

discordance is defined. See, Zhang, Q., Goodman, M., Adams, N., Corneil, T., Hashemi, L.,




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Kreukels, B., Motmans, J., Snyder, R., & Coleman, E. (2020). Epidemiological considerations in

transgender health: A systematic review with focus on higher quality data. International journal

of transgender health, 21(2), 125–137. https://doi.org/10.1080; Poteat, T., Rachlin, K., Lare, S.,

Janssen, A. & Devor, A. in Transgender Medicine: A Multidisciplinary Approach (eds Leonid

Poretsky & Wylie C. Hembree) 1-24 (Springer International Publishing, 2019); Flores AR,

Herman JL, Gates, GJ, Brown TNT. How Many Adults Identify as Transgender in the United

States? Los Angeles, CA: The Williams Institute; 2016. https://williamsinstitute.law.ucla.edu/wp-

content/uploads/Trans-Adults-US-Aug-2016.pdf. Accessed April 28, 2021.

      42.   EVIDENCE SUPPORTS THE HYPOTHESIS THAT GENDER IDENTITY IS NOT

GENETICALLY NOR BIOLOGICALLY DETERMINED:                            There is strong disconfirming

evidence (e.g., Popperian falsifiability) against the theory that gender identity is determined at or

before birth and is unchangeable. This comes from A) identical twin studies where siblings share

genetic complements and prenatal environmental exposure but have differing gender identities.

See, Heylens, G. et al. Gender identity disorder in twins: a review of the case report literature. J

Sex Med 9, 751-757, doi:10.1111/j.1743-6109.2011.02567.x (2012) and B) the very recent and

massive increase in the numbers of GD patients over a very short time span. This argues against

a biological-genetic hypothesis. See Leinung MC, Joseph J. Changing Demographics in

Transgender Individuals Seeking Hormonal Therapy: Are Trans Women More Common Than

Trans Men? Transgend Health. 2020 Dec 11;5(4):241-245. doi: 10.1089/trgh.2019.0070. PMID:

33644314; PMCID: PMC7906237.

      43.   REPLICATED RESEARCH EVIDENCE SUPPORTS THE HYPOTHESIS THAT

GENDER IDENTITY IS NOT IMMUTABLE: Further evidence that gender identity is not fixed

and immutable comes from established peer reviewed literature demonstrating that the vast




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majority (80-95%) of children who express gender dysphoria revert to a gender identity concordant

with their biological sex by late adolescence. This natural developmental “cure” of gender

dysphoria requires no direct “treatment” and prevents the hormonal and surgical destruction of

normal, healthy organs and bodily processes (e.g. prevents sterilization of the child). See Singh

D, Bradley SJ, Zucker KJ. A Follow-Up Study of Boys With Gender Identity Disorder. Front

Psychiatry. 2021 Mar 29;12:632784. doi: 10.3389/fpsyt.2021.632784. PMID: 33854450; PMCID:

PMC8039393. It is not currently known whether individuals with gender dysphoria persistence

have differing etiologies or severity of precipitating factors compared to desisting individuals. See,

Drummond, K. D., Bradley, S. J., Peterson-Badali, M. & Zucker, K. J. A follow-up study of girls

with gender identity disorder. Dev Psychol 44, 34-45, doi:10.1037/0012-1649.44.1.34 (2008);

Steensma, T. D., McGuire, J. K., Kreukels, B. P., Beekman, A. J. & Cohen-Kettenis, P. T. Factors

associated with desistence and persistence of childhood gender dysphoria: a quantitative follow-

up study. J Am Acad Child Adolesc Psychiatry 52, 582-590, doi:10.1016/j.jaac.2013.03.016

(2013).

      44.   VIRTUALLY ALL TRANSGENDER PATIENTS ARE BORN WITH HEALTHY

NORMAL SEX ORGANS AND NO KNOWN BRAIN OR GENETIC ABNORMALITIES:

Most people with gender dysphoria, do not have a disorder of sexual development. As documented

in their medical record, such patients typically have normally formed sexual organs. The presence

of normal, functional sex organs prior to the initiation of hormone administration or surgical

“transition” operations is typical in transgender patients.    I note that hormonal treatments and

surgery to remove healthy, normal organs (the genitals of GD patients) both destroy the function

of healthy organs (e.g., producing the life-long sterilization of GD patients).       Such so-called

apparently injurious “treatments” are very controversial and occur nowhere else in medicine that




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I am aware of with the exception of requests for the amputation of healthy limbs in patients

suffering from the very controversial “body integrity identity disorder”. See, Elliott, T., Body

Dysmorphic Disorder, Radical Surgery and the Limits of Consent, Medical Law Review, Volume

17, Issue 2, Summer 2009, Pages 149–182, https://doi.org/10.1093/medlaw/fwp001 [In 2000

there was a media furor, when it was disclosed that a Scottish surgeon had operated upon two adult

male patients reportedly suffering from a rare form of a psychological condition known as body

integrity identity disorder, in each case amputating a healthy leg. Since then, the question of

whether such surgery is ethically or legally permissible has been a matter of debate. The subject

raises issues as to the extent to which it is proper to treat adults with psychiatric or psychological

disorders with radical surgery, particularly where the appropriate diagnosis and treatment of the

underlying disorder is uncertain or disputed]. Similarly, Gender Transition interventions also

involve treating patients “with psychiatric or psychological disorders with radical surgery, where

the appropriate diagnosis and treatment of the underlying disorder is uncertain or disputed.”

      The primary use of psychotherapy as a means to treat body dysmorphic disorder contrasts

with the approaches used by the Gender Transition Industry. See, Hadley, S. J., Greenberg, J., &

Hollander, E. (2002). Diagnosis and treatment of body dysmorphic disorder in adolescents.

Current psychiatry reports, 4(2), 108–113. https://doi.org/10.1007/s11920-002-0043-4; Allen, A.,

& Hollander, E. (2000). Body dysmorphic disorder. The Psychiatric clinics of North America,

23(3), 617–628. https://doi.org/10.1016/s0193-953x(05)70184-2

      45.   THE ETIOLOGY (CAUSE) OF GENDER DYSPHORIA IS CURRENTLY

UNKNOWN and the “TREATMENTS“ are of UNCERTAIN EFFICACY - THUS THE

CURRENT        THEORIES         and    TREATMENTS           REMAIN        EXPERIMENTAL            and

CONTROVERSIAL: The etiology of gender dysphoria in individuals with sex-gender identity




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discordance remains unknown. Alternative hypotheses include some as yet unidentified biological

cause, prenatal hormone exposure, genetic variation, postnatal environmental influences, family

dynamics, other forms of mental illness, an abnormal detour from developmental identity

processes, social contagion effects on suggestible-vulnerable subjects, or a combination of

multiple factors. Based upon the available evidence, it is most likely that sex-gender identity

discordance is multifactorial with both genetic and environmental influences, differing in both

kind and degree in any affected individual. Importantly, these potential contributing factors are

hypothesized to be contributory, but not determinative of the condition. See, Saleem, Fatima, and

Syed W. Rizvi. "Transgender Associations and Possible Etiology: A Literature Review." Cureus

9, no. 12 (2017): e1984

      46.   THE     CONCEPT        OF    “NEUROLOGICAL         SEX”     IS   EXPERIMENTAL,

UNVERIFIED, HAS NO KNOWN ERROR RATE and is NOT ACCEPTED BY THE

RELEVANT SCIENTIFIC COMMUNITY: The recently coined concept of “neurological sex” as

a distinct entity or a basis for classifying individuals as male or female has no scientific

justification. Limited emerging data has suggested structural and functional differences between

brains from normal and transgender individuals. These data do not establish whether these

differences are innate and fixed or acquired and malleable. The remarkable neuronal plasticity of

the brain is well known, well documented, and has been studied extensively in gender-independent

contexts related to health and disease, learning, and behavior. See, Fatima Yousif Ismail, Ali

Fatemi, and Michael V. Johnston, "Cerebral Plasticity: Windows of Opportunity in the Developing

Brain," European Journal of Paediatric Neurology 21, no. 1 (2017).

      47.   GENDER IDENTITY IDEOLOGY IS A POLITICAL, NOT SCIENTIFIC THEORY:

A key alternative investigative hypothesis in efforts to understand the rise of reports of gender




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discordance and social-political-medical attempts to create a transgender movement is that such

ideas are not based upon sound scientific biological, genetic, or related principles and data but

rather are based upon ideology and driven by political advocacy. Although worldviews among

scientists and physicians differ widely, similar to society at large, science must remain firmly

grounded in testable, valid, and reliable assessments of physical reality — not ideologically tainted

perceptions and belief systems. The inherent link between human sexual biology and teleology

(e.g. human reproduction) is self-evident and fixed. Breithaupt H. The science of sex. EMBO Rep.

2012;13(5):394. Published 2012 May 1. doi:10.1038/embor.2012.45.               As an investigative

hypothesis, the historical foundation of gender identity ideology appears to be grounded in Critical

Theory, which may provide a basis to understand the level of extreme methodological confusion,

defects, and errors in the Gender Transition Industry. For example, “transgender” activists often

support clearly contradictory theories and arguments at the same time (e.g. the claim that Gender

Dysphoria (GD) and “trans identity” are“ immutable”, “genetic”, or based on “brain structures”

while simultaneously claiming GD is also “fluid” and thus capable of changing on a daily basis).

Association of critical theory with the Gender Transition Industry reflects a controversial

ideological foundation for the provision of hormonal and surgical interventions that have potential

to permanently damage essential bodily functions including the sterilization of vulnerable patients.

(See, e.g., Pluckrose, and Lindsay, J. , Cynical Theories: How Activist Scholarship Made

Everything about Race, Gender, and Identity―and Why This Harms Everybody, Pitchstone

Publishing, August 25, 2020).

      48.   GENDER IDENTITY IDEOLOGY and the GENDER TRANSITION INDUSTRY--

INCLUDING INTERVENTIONS -- HAVE NO RELIABLE-VALID SCIENTIFIC BASIS and

HAVE NEVER BEEN ACCEPTED BY THE RELEVANT SCIENTIFIC COMMUNITY and




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HAVE NO KNOWN NOR PUBLISHED ERROR RATE: The political-ideological claims of

proponents of transgenderism, which include opinions such as “Gender identity is the primary

factor determining a person’s sex” and “Gender is the only true determinant of sex” and individuals

have “sex assigned at birth” must be viewed in their proper philosophical context. There is no

scientific basis for redefining sex on the basis of a person’s subjective, psychological sense of

‘gender’.

      49.   IN   CONTRAST         TO SEX        DISCORDANT          GENDER        “TRANSGENDER”

IDEOLOGY, THE BIOLOGICAL BASIS OF SEX IS FIRMLY GROUNDED IN VALID-

RELIABLE SCIENCE, ACCEPTED BY THE RELEVANT SCIENTIFIC COMMUNITY AND

HAS A VERY LOW ERROR RATE: The prevailing, constant, tested, proven, and accurate

designation of sex as a biological trait grounded in the inherent purpose of male and female

anatomy and as manifested in the appearance of external genitalia at birth remains the proper

scientific and medical standard. Redefinition of the classification and meaning of sex based upon

pathologic variation is not established medical fact. See, e.g., Mittwoch, U. (2013), Sex

determination. EMBO reports, 14: 588-592. https://doi.org/10.1038/embor.2013.84

Potential Harm to Vulnerable Patients Resulting from Experimental Gender Dysphoria
Treatments

      50.   THE ETHICAL FOUNDATIONS of MEDICINE — FIRST DO NO HARM: The

fundamental purpose of the practice of medicine is to treat disease and alleviate

suffering. An essential tenet of medical practice is to avoid doing harm in the process. Efforts to

rely upon clear, valid, reliable, and definitive evidence on how to best accomplish treatment goals

is the essential ethical, professional, scientific, and clinical goals of physicians. The current Gender

Transition Industry violates this essential principle by using experimental treatments on vulnerable




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populations without properly informing them of the actual risks and limitations of the treatments.

See, Jonson AR, Siegler M, Winslade, WJ: Clinical Ethics, New York: McGraw Hill, 1998.

      51.   THE ETHICAL FOUNDATIONS of MEDICINE — REQUIRE US TO STRIVE TO

HELP THOSE IN DISTRESS WITH COMPASSION, KINDNESS, and EMPATHY AND TO

NOT VIOLATE PATIENTS’ and PARENTS’ RIGHTS BY ENGAGING IN EXPERIMENTAL,

UNPROVEN,          INTERVENTIONS (“TREATMENTS“)                    LEADING POTENTIAL TO

PERMANENT DAMAGE TO MANY PATIENTS – INCLUDING STERILIZATION: Persons

with gender dysphoria as defined in the DSM-V report experiencing significant psychological

distress related to their condition with elevated risk of depression, suicide, and other morbidities.

Thus, attempts to provide effective medical care to affected persons are clearly warranted. Efforts

to effectively treat persons with gender dysphoria require respect for the inherent dignity of those

affected, sensitivity to their suffering, and maintenance of objectivity in assessing etiologies and

long-term outcomes. In my opinion, the use of unproven, experimental treatments on vulnerable

patients and the publication of grossly methodologically defective research are violations of the

ethical foundations of medicine.

      52.   IN THE ETHICAL PRACTICE OF MEDICINE, VALID-RELIABLE SCIENCE

SHOULD PRECEDE INVASIVE, RISKY, DAMAGING TREATMENT PROTOCOLS -

THREE CURRENT APPROACHES: There is an urgent need for high quality controlled clinical

research trials to determine ways to develop supportive dignity affirming social environments that

maintain affirmation of the scientifically accepted biological reality. To date, three approaches

have been proposed for managing children with gender dysphoria. See, Zucker, K. J. On the

"natural history" of gender identity disorder in children. J Am Acad Child Adolesc Psychiatry 47,

1361-1363, doi:10.1097/CHI.0b013e31818960cf (2008).)           The first approach, often referred to




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as “conversion” or “reparative therapy”, is directed toward actively supporting and encouraging

children to identify with their biological sex. The second “neutral” or “watchful waiting”

approach, motivated by understanding of the natural history of transgender identification in

children, is to neither encourage nor discourage transgender identification, recognizing that the

vast majority of affected children if left alone are likely to eventually realign their reports of gender

identification with their sex. This approach may also include the use of scientifically validated

treatments (e.g. CBT) for the patient’s anxiety, depression, social skills deficits or other issues.

See, van Bentum, J. S., van Bronswijk, S. C., Sijbrandij, M., Lemmens, L., Peeters, F., Drukker,

M., & Huibers, M. (2021). Cognitive therapy and interpersonal psychotherapy reduce suicidal

ideation independent from their effect on depression. Depression and anxiety, 10.1002/da.23151.

Advance online publication. https://doi.org/10.1002/da.23151; Gallagher, M. W., Phillips, C. A.,

D'Souza, J., Richardson, A., Long, L. J., Boswell, J. F., Farchione, T. J., & Barlow, D. H. (2020).

Trajectories of change in well-being during cognitive behavioral therapies for anxiety disorders:

Quantifying the impact and covariation with improvements in anxiety. Psychotherapy (Chicago,

Ill.), 57(3), 379–390. https://doi.org/10.1037/pst0000283. The third “affirming” approach is to

actively encourage children to embrace transgender identity with social transitioning followed by

hormonal therapy leading to potential surgical interventions and life-long sterilization. See, Walch

A, Davidge-Pitts C, Safer JD, Lopez X, TangprichaV, Iwamoto SJ. Proper Care of Transgender

and Gender Diverse Persons in the Setting of Proposed Discrimination: A Policy Perspective.J

Clin Endocrinol Metab. 2021;106(2):305-308. doi:10.1210/clinem/dgaa816 .

      53.   ANOTHER CONTROVERSY — THE “WATCHFUL WAITING” TREATMENT

MODALITY INVOLVES NO MEDICAL TREATMENT AND IS CURRENTLY THE BEST

SCIENTIFICALLY SUPPORTED INTERVENTION FOR YOUNG CHILDREN REPORTING




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GENDER DYSPHORIA:              Desistance (i.e. realignment of expressed gender identity to be

concordant with sex) provides the greatest lifelong benefit and is the outcome in the vast majority

of patients and should be maintained as a desired goal. Any coerced, required, societally mandated,

scientifically untested, intervention that would or could unnecessarily interfere with the likelihood

of a normal, non-traumatic, developmental, resolution of gender dysphoria is unwarranted and

potentially harmful. The gender affirming approach, which includes use of a child’s preferred

pronouns, use of sex-segregated bathrooms, other intimate facilities and sleeping accommodations

corresponding to a child’s gender identity, has limited, “very weak”, “sparse” scientific support

for short-term alleviation of dysphoria and no long-term outcomes data demonstrating

superiority over the other approaches. (See, National reviews of England, Sweden, Finland, the

Cochrane review, the Griffin review, the Carmichael review and others). Claims that the other

approaches have been scientifically disproven are simply false.           In stark contrast to the

ideologically tainted, “voted in”, recommendations of Professional Associations, decades of peer-

reviewed, published scientific research, including the pioneering work of Dr. Kenneth Zucker,

have supported the efficacy of a more conservative “watchful waiting” approach for the majority

of patients experiencing gender dysphoria. See, Zucker, K. J. On the "natural history" of gender

identity disorder in children. J Am Acad Child Adolesc Psychiatry 47, 1361-1363,

doi:10.1097/CHI.0b013e31818960cf (2008); Bradley, S. J. & Zucker, K. J. Gender Identity

Disorder: A Review of the Past 10 Years. Journal of the American Academy of Child & Adolescent

Psychiatry 36, 872-880, doi:10.1097/00004583-199707000-00008.).             In sum, the treatment

protocols and recommendations of politically influenced, non-science associations (WPATH,

Pediatrics Assn, APA ) who engaged in “voting”, consensus-seeking methodologies (not science)




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are not accepted by the relevant scientific community, are not based upon competent-credible,

methodologically sound science, and have no known, nor published error rate.

      54.   HARMFUL EFFECTS OF AFFIRMATION TREATMENT — INCLUDING

EFFECTS OF PUBERTAL SUPPRESSION TREATMENTS ARE ESTABLISHED and

ACCEPTED BY THE RELEVANT SCIENTIFIC COMMUNITY:

      “To sum up how puberty suppression works, a thought experiment might be helpful. Imagine

two pairs of biologically and psychologically normal identical twins -a pair of boys and a pair of

girls -where one child from each pair undergoes puberty suppression and the other twin does not.

Doctors begin administering GnRH analogue treatments for the girl at, say, age 8, and for the boy

at age 9. Stopping the gonadal hormone pathway of puberty does not stop time, so the puberty-

suppressed twins will continue to age and grow -and because adrenal hormones associated with

puberty will not be affected, the twins receiving GnRH analogue will even undergo some of the

changes associated with puberty, such as the growth of pubic hair. However, there will be major,

obvious differences within each set of twins. The hormone suppressed twins' reproductive organs

will not mature: the testicles and penis of the boy undergoing puberty suppression will not mature,

and the girl undergoing puberty suppression will not menstruate. The boy undergoing puberty

suppression will have less muscle mass and narrower shoulders than his twin, while the breasts of

the girl undergoing puberty suppression will not develop. The boy and girl undergoing puberty

suppression will not have the same adolescent growth spurts as their twins. So all told, by the time

the untreated twins reach maturity, look like adults, and are biologically capable of having

children, the twins undergoing puberty suppression will be several inches shorter, will physically

look more androgynous and childlike, and will not be biologically capable of having children.

This is a thought experiment, but it illustrates some of the effects that puberty suppression would




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be expected to have on the development of a growing adolescent's body.” See, Hruz, PW, Mayer,

LS, and McHugh, PR, "Growing Pains: Problems with Puberty Suppression in Treating Gender

Dysphoria," The New Atlantis, Number 52, Spring 2017 pp. 3 -36.

       55.     METHODOLOGICAL FLAWS IN THE GENDER TRANSTION INDUSTRY—

THE ENDOCRINE SOCIETY HAS REPORTED THAT THE QUALITY OF EVIDENCE FOR

GENDER DYSPHORIA TREATMENTS IS CURRENTLY “LOW OR VERY LOW” (Key

Quote: “ANY estimate of effect is VERY uncertain”) — THUS THERE IS CLEARLY NO

GENERAL ACCEPTANCE IN THE RELEVANT SCIENTIFIC COMMUNITY AND THE

ERROR RATE IS UNKNOWN and COULD WELL BE VERY HIGH : The Endocrine Society

published 2009 clinical guidelines for the treatment of patients with persistent gender dysphoria.

See, Hembree, W. C. et al. Endocrine treatment of transsexual persons: an Endocrine Society

clinical practice guideline. J Clin Endocrinol Metab 94, 3132-3154, doi:10.1210/jc.2009-0345

(2009). The recommendations include temporary suppression of pubertal development of children

with GnRH agonists (hormone blockers normally used for children experiencing precocious

puberty) followed by hormonal treatments to induce the development of secondary sexual traits

consistent with one’s gender identity. In developing these guidelines, the authors assessed the

quality of evidence supporting the recommendations made with use of the GRADE

(Recommendations, Assessment, Development, and Evaluation) system for rating clinical

guidelines. As directly stated in the Endocrine Society publication, “the strength of

recommendations and the quality of evidence was low or very low.” According to the GRADE

system, low recommendations indicate “Further research is very likely to have an important impact

on our confidence in the estimate of effect and is likely to change the estimate.” Very low

recommendations mean that “any estimate of effect is very uncertain”. (See, Guyatt G H,




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Oxman A D, Vist G E, Kunz R, Falck-Ytter Y, Alonso-Coello P et al. GRADE: an emerging

consensus on rating quality of evidence and strength of recommendations BMJ 2008; 336 :924

doi:10.1136/bmj.39489.470347.AD).         An updated set of guidelines was published in September

of 2017. See, Hembree, W. C. et al. Endocrine Treatment of Gender-Dysphoric/Gender-

Incongruent Persons: An Endocrine Society Clinical Practice Guideline. J Clin Endocrinol Metab,

doi:10.1210/jc.2017-01658 (2017). The low quality of evidence presented in this document

persists to the current day as the controversy over these “treatments” is accelerating in recent

years.

56. METHODOLOGICAL FLAWS IN RESEARCH of the                             GENDER TRANSITION

INDUSTRY—THE WPATH GUIDELINES (7th version) NOTE SERIOUS LIMITATIONS OF

THE EXISTING SCIENTIFIC DATA:                Clinical Practice Guidelines published by the World

Professional Association for Transgender Health (WPATH) - (an advocacy-political, consensus-

seeking organization, whose positions are based on voting and not a scientific, evidence-based

process) which is currently in its 7th iteration, similarly, though less explicitly, acknowledge the

limitation of existing scientific data supporting their recommendations given and “the value of

harm-reduction approaches”.      Coleman, E., Bockting, W., Botzer, M., Cohen-Kettenis, P.,

DeCuypere, G., Feldman, J., Fraser, L., Green, J., Knudson, G., Meyer, W. J., Monstrey, S., Adler,

R. K., Brown, G. R., Devor, A. H., Ehrbar, R., Ettner, R., Eyler, E., Garofalo, R., Karasic, D. H.,

. . . Zucker, K. (2012). Standards of care for the health of transsexual, transgender, and gender-

nonconforming people, version 7. International Journal of Transgenderism, 13(4), 165–232.

https://doi.org/10.1080/15532739.2011.700873

57.      INTERVENTIONS (“TREATMENTS”) OF CHILDREN WITH POTENTIALLY

HARMFUL HORMONES TO INTERVENE IN THE LIFE OF A CHILD WHO IS HIGHLY




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LIKELY (80%+) TO RESOLVE THE GENDER DYSPHOTIA ISSUE NATURALLY — IS

RISKY, UNSCIENTIFIC and UNETHICAL. IATROGENIC DAMAGES TO PATIENTS —

INCLUDING LIFE-LONG STERILITY, STUNTED GROWTH, INCREASED HEART

ATTACK RISKS, ETC. — ARE OFTEN IRREVERSIBLE:                           Treatment of gender dysphoric

children who experience persistence of symptoms with hormones (pubertal suppression and cross-

hormone therapy) carries significant risk. It is generally accepted, even by advocates of

transgender hormone therapy, that hormonal treatment impairs fertility and often result in sterility,

which in many cases is irreversible. See, Nahata, L., Tishelman, A. C., Caltabellotta, N. M. &

Quinn, G. P. Low Fertility Preservation Utilization Among Transgender Youth. Journal of

Adolescent Health 61, 40-44, doi:https://doi.org/10.1016/j.jadohealth.2016.12.012 (2017)).

Emerging data also show that treated patients have lower bone density which may lead to increased

fracture risk later in life. See, Klink, D., Caris, M., Heijboer, A., van Trotsenburg, M. & Rotteveel,

J. Bone Mass in Young Adulthood Following Gonadotropin-Releasing Hormone Analog

Treatment and Cross-Sex Hormone Treatment in Adolescents With Gender Dysphoria. The

Journal of Clinical Endocrinology & Metabolism 100, E270-E275, doi:10.1210/jc.2014-2439

(2015)). Other potential adverse effects include disfiguring acne, high blood pressure, weight gain,

abnormal glucose tolerance, breast cancer, liver disease, thrombosis, and cardiovascular disease.

See, Seal, L. J. A review of the physical and metabolic effects of cross-sex hormonal therapy in

the   treatment   of   gender    dysphoria.   Annals       of   Clinical    Biochemistry   53,   10-20,

doi:10.1177/0004563215587763 (2016); Banks, K., Kyinn, M., Leemaqz, S. Y., Sarkodie, E.,

Goldstein, D., & Irwig, M. S. (2021). See also, Blood Pressure Effects of Gender-Affirming

Hormone Therapy in Transgender and Gender-Diverse Adults. Hypertension (Dallas, Tex.: 1979),

HYPERTENSIONAHA12016839.                         Advance                   online          publication.




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https://doi.org/10.1161/HYPERTENSIONAHA.120.16839; Getahun, D., Nash, R., Flanders, W.

D., Baird, T. C., Becerra-Culqui, T. A., Cromwell, L., Hunkeler, E., Lash, T. L., Millman, A.,

Quinn, V. P., Robinson, B., Roblin, D., Silverberg, M. J., Safer, J., Slovis, J., Tangpricha, V., &

Goodman, M. (2018). Cross-sex Hormones and Acute Cardiovascular Events in Transgender

Persons:    A    Cohort     Study.     Annals    of    internal   medicine,   169(4),    205–213.

https://doi.org/10.7326/M17-2785; Spyridoula Maraka, Naykky Singh Ospina, Rene Rodriguez-

Gutierrez, Caroline J Davidge-Pitts, Todd B Nippoldt, Larry J Prokop, M Hassan Murad, Sex

Steroids and Cardiovascular Outcomes in Transgender Individuals: A Systematic Review and

Meta-Analysis, The Journal of Clinical Endocrinology & Metabolism, Volume 102, Issue 11, 1

November 2017, Pages 3914–3923, https://doi.org/10.1210/jc.2017-01643.

      58.   LONG TERM EFFECTS OF THE CURRENT EXPERIMENTAL “GENDER

AFFIRMING” MEDICAL INTERVENTIONS — FOR CHILDREN and ADULTS — ARE

UNKNOWN and UNPROVEN – THIS HAS BEEN WELL KNOWN SINCE 2011 and

EARLIER. SUCH TREATMENTS ARE NOT GENERALLY ACCEPTED BY THE

RELEVANT SCIENTIFIC COMMUNITY and HAVE NO KNOWN NOR PUBLISHED

ERROR RATE. CURRENT GENDER TRANSITION INDUSTRY STUDIES OFTEN SUFFER

FROM SEVERE METHODOLOGICAL LIMITATIONS: Since strategies for the treatment of

transgendered children as summarized by the Endocrine Society guidelines are relatively new,

long-term outcomes are unknown. Evidence presented as support for short-term reductions in

psychological distress following social transition in a “gender affirming” environment remains

inconclusive. When considered apart from advocacy-based agendas, multiple potential

confounders are evident. The most notable deficiencies of existing research are the absence of

proper control subjects and lack of randomization in study design. See, Hruz, P. W. Deficiencies




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in Scientific Evidence for Medical Management of Gender Dysphoria. Linacre Q 87, 34-42,

doi:10.1177/0024363919873762 (2020).            Although appropriate caution is warranted in

extrapolating the outcomes observed from prior studies with current treatments, adults who have

undergone social transition with or without surgical modification of external genitalia continue to

have rates of depression, anxiety, substance abuse and suicide far above the background

population. See, Adams, N., Hitomi, M. & Moody, C. Varied Reports of Adult Transgender

Suicidality: Synthesizing and Describing the Peer-Reviewed and Gray Literature. Transgend

Health 2, 60-75, doi:10.1089/trgh.2016.0036 (2017); See also, Dhejne, C. et al. Long-term follow-

up of transsexual persons undergoing sex reassignment surgery: cohort study in Sweden. PLoS

One 6, e16885, doi:10.1371/journal.pone.0016885 (2011)).

      59.   MEDICAL TREATMENTS BASED ON PSEUDO-SCIENCE and POLITICAL

IDEOLOGIES CONTRARY TO THE RELEVANT-RELIABLE-VALID SCIENCE COULD

RESULT IN IRREVERSIBLE HARMS TO MANY PATIENTS WHO WOULD OTHERWISE

HAVE RECOVERED NATURALLY FROM GENDER DYSPHORIA: Of particular concern is

the likelihood that forced-coerced, or naively requested gender transition “treatments” and social

changes could interfere with known very high rates of natural-untreated resolution of sex-gender

discordance. Any activity that encourages or perpetuates transgender persistence for those who

would otherwise desist could cause significant harm, particularly in light of the current treatment

paradigm for persisting individuals. As noted, sterility can often be expected with hormonal or

surgical disruption of normal gonadal function. See, Cheng PJ, Pastuszak AW, Myers JB,

Goodwin IA, Hotaling JM. Fertility concerns of the transgender patient. Transl Androl Urol. 2019

Jun;8(3):209-218. doi: 10.21037/tau.2019.05.09. PMID: 31380227; PMCID: PMC6626312.




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      60.   YOUNG CHILDREN and PARENTS ARE OFTEN NOT PROPERLY INFORMED

or ARE NOT COMPETENT TO GIVE INFORMED CONSENT TO PROCEED WITH

EXPERIMENTAL, HAZARDOUS TREATMENTS THAT COULD POTENTIALLY RESULT

IN PERMANENT STERILITY: This is a particularly concerning issue given that children are

likely to be incapable of giving truly informed consent. See, Geier, C. F. Adolescent cognitive

control and reward processing: Implications for risk taking and substance use. Hormones and

Behavior 64, 333-342, doi:https://doi.org/10.1016/j.yhbeh.2013.02.008 (2013). This concern

remains valid when applied to hormonal or surgical treatments that will result in lifelong sterility.

In addition, parents are often manipulated and coerced by misinformed political activists or

providers who threaten them with dire warnings that the only two options are “treatment or

suicide”. These “threats” ignore data that challenge this biased assumption. See, D’Angelo, R.,

Syrulnik, E., Ayad, S. et al. One Size Does Not Fit All: In Support of Psychotherapy for Gender

Dysphoria. Arch Sex Behav 50, 7–16 (2021). https://doi.org/10.1007/s10508-020-01844-2

      61.   AN ALTERNATIVE HYPOTHESIS FOR THE RAPID INCREASE IN GENDER

DYSPHORIA — SOCIAL CONTAGION PROCESSES — HAS BEEN IMPROPERLY

IGNORED BY TRANSGENDER ACTIVISTS and PROVIDERS:                           Social and psychological

support with dignity for adolescents with gender dysphoria does not necessitate acceptance of a

unproven, experimental understanding of human sexuality in schools. Rather, policy requirements

including social contagion promoting educational processes that can increase the prevalence and

persistence of transgender identification have significant potential for inducing long-term harm to

affected children.

      62.   COMPETENT, METHODOLOGICALLY SOUND, LONG-TERM TREATMENT

OUTCOME RESEARCH ON GENDER DYSPHORIA INTERVENTIONS HAS NEVER BEEN




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DONE: There remains a significant and unmet need to improve our understand of the biological,

psychological, and environmental basis for the manifestation of patient reports of discordance of

gender identity and biological sex in affected individuals. (Olson-Kennedy, J. et al. Research

priorities for gender nonconforming/transgender youth: gender identity development and

biopsychosocial outcomes. Current Opinion in Endocrinology, Diabetes and Obesity 23, 172-179,

doi:10.1097/med.0000000000000236 (2016)).             In particular, there is a concerning lack of

randomized controlled trials comparing outcomes of youth with gender dysphoria who are

provided public encouragement for “affirming” social gender transition and how such

transitioning affects the usual and natural progression to resolution of gender dysphoria in most

affected children. Such studies can be ethically designed and executed with provisions for other

dignity affirming measures to both treatment groups. See Sugarman J. Ethics in the design and

conduct of clinical trials. Epidemiol Rev. 2002;24(1):54-8. doi: 10.1093/epirev/24.1.54. PMID:

12119856; And https://clinicalcenter.nih.gov/recruit/ethics.html

      63.    DUE TO THE LACK OF QUALITY, CREDIBLE SUPPORTIVE RESEARCH

GENDER AFFIRMING (“TRANSITION“) INTERVENTIONS REMAIN EXPERIMENTAL

and HIGHLY CONTROVERSIAL – “GENDER AFFIRMING“ USES OF THE RELEVANT

HORMONAL MEDICATIONS ARE NOT APPROVED BY THE FDA:                               Gender identity is

consolidated during puberty and adolescence as young people’s bodies become more sexually

differentiated and mature. How this normally happens is not well understood, so it is imperative

to be cautious about interfering with this complex natural process. Far from being cautious and

prudent in using puberty blockers to treat gender dysphoria, too many providers engaged in gender

affirming medical interventions are conducting an unethical and risky experiment that does not

come close to the ethical standards demanded in other areas of medicine. No one really knows all




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the potential consequences of puberty blocking as a treatment for gender dysphoria, but there are

some known effects of pubertal suppression on children who are physiologically normal, and these

carry long-term health risks. Children placed on puberty blockers have slower rates of growth in

height, and an elevated risk of low bone-mineral density. Another possible effect of blocking

normally timed puberty is alteration of normal adolescent brain maturation. (See, Arain, M.,

Haque, M., Johal, L., Mathur, P., Nel, W., Rais, A., Sandhu, R., & Sharma, S. (2013). Maturation

of    the   adolescent   brain.   Neuropsychiatric     disease   and    treatment,    9,   449–461.

https://doi.org/10.2147/NDT.S39776).        When followed by cross-sex hormones, known and

potential effects include disfiguring acne, high blood pressure, weight gain, abnormal glucose

tolerance, breast cancer, liver disease, thrombosis, and cardiovascular disease. Tragically, those

children who persist in their transgender identity and take puberty blockers and cross-sex

hormones are expected to become sterile. Given what we already know about puberty blocking

and how much remains unknown, it is not surprising that the use of GnRH analogues for puberty

suppression in children with gender dysphoria is not FDA-approved. The off-label prescription of

these drugs is legal but unethical outside the setting of a carefully controlled and supervised

clinical trial. See, Hruz, Mayer, and McHugh, “Growing Pains.” Trans activist professionals act

as if there is a firm scientific consensus that it is safe and effective to treat gender dysphoria by

using GnRH analogues to suppress normal puberty indefinitely. But this is far from the reality, as

I, together with Mayer and McHugh, have pointed out: “Whether puberty suppression is safe and

effective when used for gender dysphoria remains unclear and unsupported by rigorous

scientific evidence.” Thus, is not generally accepted by the relevant scientific community. Instead

of regarding puberty blocking as a “prudent and scientifically proven treatment option,” courts of

law, parents, and the medical community should view it as a “drastic and experimental measure.”




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(See, Hruz, Mayer, and McHugh, 2017) The use of any experimental medical treatment on

children calls for “especially intense scrutiny, since children cannot provide proper legal consent

to experimental medical treatments — especially treatments that may harm natural gender

processes and produce sterility. The rapid acceptance of puberty suppression as a treatment for

gender dysphoria with little scientific support or scrutiny should raise concerns about the welfare

of the children who receive such treatments. In particular, we should question the claim that it is

both physiologically and psychologically “reversible.” This includes the alteration of a temporally

dependent developmental process. After an extended period of pubertal suppression one cannot

“turn back the clock” and reverse changes in the normal coordinated pattern of adolescent

psychological development and puberty (See, Hruz, Mayer, and McHugh, “Growing Pains, The

New Atlantis: A Journal of Technology and Society, Spring 2017, pg 3-36. )               See, also

Vijayakumar N, Op de Macks Z, Shirtcliff EA, Pfeifer JH. Puberty and the human brain: Insights

into   adolescent   development.     Neurosci    Biobehav   Rev.   2018    Sep;92:417-436.     doi:

10.1016/j.neubiorev.2018.06.004. Epub 2018 Jul 1. PMID: 29972766; PMCID: PMC6234123. ;

See also, Choudhury S, Culturing the adolescent brain: what can neuroscience learn from

anthropology?, Social Cognitive and Affective Neuroscience, Volume 5, Issue 2-3, June/September

2010, Pages 159–167, https://doi.org/10.1093/scan/nsp030

       64. “CANCEL CULTURE” POLITICAL-ACTIVIST ATTEMPTS TO CONTROL THIS

DEBATE ARE HARMFUL TO SCIENCE: The controversies regarding the risks and potential

dangers of the transgender industry cannot be silenced by “cancel culture”. As Steven Levine,

MD of Case Western has noted, “Among psychiatrists and psychotherapists who practice in the

area, there are currently widely varying views concerning both the causes of, and appropriate

therapeutic responses to, gender dysphoria in children. Dr Levine went on to state, “Existing




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studies do not provide a basis for a scientific conclusion as to which therapeutic response results

in the best long-term outcomes for affected individuals.” Although political advocates have

asserted that the “affirmation therapy” model is accepted and agreed with by the overwhelming

majority of mental health professionals, many respected academics and providers in the field

strongly disagree. For example, J. Cantor, Ph.D. (McGill) published the following opinion in

2019,      “almost all clinics and professional associations in the world” do NOT use “gender

affirmation” for prepubescent children and instead “delay any transitions until after the onset of

puberty.” See, “J. Cantor (2019), Transgender and Gender Diverse Children and Adolescents:

Fact-Checking        of    AAP      Policy,    J.   of     Sex&     Marital    Therapy,     1,    DOI:

10.1080.0092623X.2019.1698481.

        65. “CANCEL CULTURE” POLITICAL-ACTIVIST ATTEMPTS TO CONTROL THIS

DEBATE ARE HARMFUL TO SCIENCE – NOTE THE ATTACKS ON DR RYAN’s BOOK:

        In the midst of this ongoing international, raging controversy, transgender and allied political

activists have attempted to silence open public debate on the risks and benefits of transgender

medical procedures and political ideologies. For example, Ryan Anderson, Ph.D. a policy analyst

wrote a book analyzing the scientific and policy issues involved in assessing the risks and benefits

of the current practices of the Transgender Treatment Industry. See, Anderson, R., When Harry

Became Sally: Responding to the Transgender Moment, Encounter Books. Despite widespread

scientific interest and positive reviews, the book was banned from sale by the Amazon

Corporation.      Too many lives are at stake for such blatant suppression of open scientific

discussion. Several positive reviews of Dr Ryan’s book were posted by notable members of the

relevant scientific-ethical community including: Paul McHugh, MD, University Distinguished

Professor of Psychiatry, Johns Hopkins University School of Medicine. (Dr McHugh was trained




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at Harvard College and Harvard Medical School. He served as the Chairman of Psychiatry at Johns

Hopkins Medical School for decades) and Melissa Moschella, PhD, who served at Columbia

University as Director of the Center for Biomedical Ethics in the Department of Medicine and

currently at The Catholic University of America. (Dr. Moschella was trained at Harvard College

and her PhD is from Princeton University) and Maureen Condic, Associate Professor of

Neurobiology and Adjunct Professor of Pediatrics, University of Utah Medical School. (Dr.

Condic’s training includes a B.A. from the University of Chicago, and a Ph.D. from the University

of California, Berkeley) and John Finnes, Ph.D., Professor of Law at Oxford University for 40

years, now Emeritus. (LL.B. from Adelaide University (Australia) and Ph.D. in 1965 from Oxford

University as a Rhodes Scholar at University College Oxford.)

      International experts from a variety of relevant science - legal - ethical fields consider the

issue of proper and harmful transgender treatments to be a serious controversy that must not be

silenced.   Other scholars in this contentious field have been threatened and/or silenced by the

political and ideological allies of the Gender Transition Industry. Consider, for example, the case

of Alan Josephson, MD, a distinguished psychiatrist. In the fall of 2017 Dr Josephson appeared

on an off campus panel symposium — not affiliated with his university — at the Heritage

Foundation and shared his scientific, professional opinions on the experimental medicalization of

gender dysphoric youth. The university responded by demoting him and then effectively firing

him. Professor Josephson has filed a federal lawsuit to protect this academic rights to free speech.

(See, Josephson v. Bendapudi, filed in the U.S. District Court for the Western District of

Kentucky). The ongoing attempts to ban books and aggressively silence academic debate or

“cancel” professionals with alternative views are clear demonstrations of the ongoing and intense

controversies surrounding the Gender Transition Industry. See, Kearns, M., Gender Dissenter Gets




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Fired, Jan 12, 2019.    “Allan M. Josephson is a distinguished psychiatrist who, since 2003, has

transformed the division of child and adolescent psychiatry and psychology at the University of

Louisville from a struggling department to a nationally acclaimed program. In the fall of 2017 he

appeared on a panel at the Heritage Foundation and shared his professional opinion on the

medicalization of gender-confused youth. The university responded by demoting him and then

effectively firing him.”. Theories in the midst of an international firestorm of controversy are

clearly not “generally accepted” by the relevant scientific community.

      66. “CANCEL CULTURE” POLITICAL-ACTIVIST ATTEMPTS TO CONTROL THIS

DEBATE ARE HARMFUL TO SCIENCE – E.G., ATTACKS ON DR LITTMAN’s

RESEARCH:

      Consider also the example of Dr. Lisa Littman at Brown University. Lisa Littman, M.D.,

MPA was a researcher at Brown University Medical School. Dr. Littman conducted extensive

surveys to assess the experiences of parents involved in an online community for parents of

transgender children or "gender skeptical" parents and children. There were 256 completed

surveys. Their children were mostly adolescents or young adults. The parents reported that about

80 percent of their (mostly adolescent) children announced their transgender identity "out of the

blue" without the long-term history generally associated with gender dysphoria. The parents also

reported that transgender identity was linked with mental health issues (an often repeated, reliable

finding in multiple studies from multiple nations). The parents also reported that their children’s

mental health worsened after they came out as transgender as did relationships with family

members. The parents also reported a decline in the children's social adjustment after the

announcement (e.g. more isolation, more distrust of non-transgender information sources, etc.).




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      The publication of the Littman paper was greeted by the outrage of trans activists who

denounced the paper and Dr. Littman, calling it “hate speech and transphobic”. Brown University

had initially produced a press release for the paper stating the Littman research provided bold new

insights into transgender issues. Once the political attacks began, the university, removed it from

their announcements. Fortunately, in this case, there was also a counter-outcry from scientists,

decrying Brown University and the political activists for threatening academic freedom and

censoring scientific research that might assist in the treatment of gender dysphoria.

      There was also reportedly an academic petition signed by members of the relevant scientific

community. For example, Lee Jussim, PhD., Chair of the Psychology Department at Rutgers

University wrote, “If the Littman study is wrong, let someone produce evidence that it is wrong.

Until that time, if the research p*sses some people off, who cares? Galileo and Darwin p*ssed

people off too. Brown University should be ashamed of itself for caving to sociopolitical pressure.

Science denial, anyone?”      Similarly, Richard B. Krueger, MD (a Harvard Medical School

graduate) of Columbia University College of Physicians and Surgeons, board certified psychiatrist

specializing in the treatment of sexual disorders wrote, “Brown University’s actions in its failure

to support Dr. Littman’s peer reviewed research are abhorrent”. Similarly, Nicholas Wolfinger,

PhD (UC Berkeley, UCLA), currently Professor of Family and Consumer Studies at the University

of Utah wrote: “The well-being of trans youth and other sexual minorities is best served by more

research, not less”.

       The onslaught of attacks resulted in the journal asking Dr. Littman to publish a “corrected”

version of the paper. After careful review, the paper was again published with additional

information but no methodological nor data corrections – as no such errors were found.        See,

https://www.psychologytoday.com/us/blog/rabble-rouser/201903/rapid-onset-gender-dysphoria.




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See also, Littman, L. , Correction: Parent reports of adolescents and young adults perceived to

show signs of a rapid onset of gender dysphoria, PLOS ONE March 19, 2019,

https://doi.org/10.1371/journal.pone.0214157. Dr. Littman’s paper was a key initial step in the

alternative investigative hypothesis that the very recent and enormous increase in teenage girls

seeking “gender transitioning” is due to a social contagion process at school, in peer groups, and

on the internet. This theory has yet to be tested in detail.

      67. UNDERLYING PATIENT BIOLOGY IS NOT CHANGED BY ALTERING BODILY

FEATURES TO “PASS” AS THE OPPOSITE SEX NOR DO SUCH ALTERATIONS CHANGE

BIOLOGICAL DISEASE VULNERABILITIES ASSOCIATED WITH GENETICALLY-

DEFINED SEX: Despite the increasing ability of hormones and various surgical procedures to

reconfigure some male bodies to visually pass as female, or vice versa, the biology of the person

remains as defined by genetic makeup, normatively by his (XY) or her (XX) chromosomes,

including cellular, anatomic, and physiologic characteristics and the particular disease

vulnerabilities associated with that chromosomally-defined sex. (See “Institute of Medicine (US)

Committee on Understanding the Biology of Sex and Gender Differences. Exploring the

Biological Contributions to Human Health: Does Sex Matter?” Wizemann TM, Pardue ML,

editors. Washington (DC): National Academies Press (US); 2001. PMID: 25057540.)                 For

instance, the XX (genetically female) individual who takes testosterone to stimulate certain male

secondary sex characteristics will nevertheless remain unable to produce sperm and father

children. Contrary to assertions and hopes that medicine and society can fulfill the aspiration of

the individual with sex-discordant gender identity to become “a complete man” or “a complete

woman,” this is not biologically attainable. It is possible for some adolescents and adults to pass

unnoticed as the opposite gender that they aspire to be—but with limitations, costs, and risks, as I




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detail later. See, S. Levine (2018), Informed Consent for Transgendered Patients, J. of Sex &

Marital Therapy, at 6, DOI: 10.1080/0092623X.2018.1518885 (“Informed Consent”); S. Levine

(2016), Reflections on the Legal Battles Over Prisoners with Gender Dysphoria, J. Am. Acad

Psychiatry Law 44, 236 at 238 (“Reflections”).

      68. INVESTIGATING ALTERNATIVE HYPOTHESES: THE SOCIAL CONTAGION

THEORY: ONE OF THE MOST CONTROVERSIAL AND CONTENTIOUS ISSUES IN

TRANSGENDER SCIENCE IS THE RECENT EPIDEMIC OF ADOLESCENT FEMALE TO

MALE GENDER DISCORDANT PATIENTS:

      How prevalent is the Sudden Onset Gender Dysphoria Epidemic in Teen Girls first described

by the research of Dr Littman at Brown University?

      In Great Britain, centralized medical care provides data to track health care phenomenon …

the number of adolescent girls seeking sex transitioning exploded over FOUR THOUSAND

4,000% in the last decade. Similarly, in America, where we lack the same kinds of centralized

health care data, it has been reported that in 2018 2% (2 in 100) of high school students identified

on surveys as “transgender” — this is 200 times greater response — a 20,000% increase — over

reports during past decades which showed a rate of only .01 percent (one in 10,000 people). See,

Johns MM, Lowry R, Andrzejewski J, et al. Transgender Identity and Experiences of Violence

Victimization, Substance Use, Suicide Risk, and Sexual Risk Behaviors Among High School

Students — 19 States and Large Urban School Districts, 2017. MMWR Morb Mortal Wkly Rep

2019;68:67–71.

      Along with this increase in transgender patients and identifiers, has come a radical and

recent transformation of the patient population from early onset males to rapid onset adolescent

girls. Thus currently the majority of new patients with sex-gender discordance are not males with




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a long, stable history of gender dysphoria since early childhood —as they were for decades — but

instead adolescent females with no documented long-term history of gender dysphoria — thus they

experienced “rapid onset” transgender identification. Whole groups of female friends in colleges,

high schools, and even middle schools across the country are reportedly coming out together in

peer group clusters as “transgender.” These are girls who — by detailed parental reports and self-

reports — had never experienced any discomfort in their biological sex until they heard a coming-

out story from a speaker at a school assembly or discovered the internet (YouTube) community of

trans “influencer video stars.”

      This extraordinary change in new patient demographics appears more consistent with a

theory of social contagion than of “immutable identification”, “brain structures”, “genetics”, or

other biological hypotheses. Many unsuspecting parents, whose children have never shown any

signs for gender discordant feelings or ideas, are awakening to find their daughters in thrall to hip

trans YouTube stars and “gender-affirming” educators and activist therapists who push life-

changing interventions on these young girls—including double mastectomies and hormonal

puberty blockers that can potentially cause permanent infertility. See, Littman L. Parent reports

of adolescents and young adults perceived to show signs of a rapid onset of gender dysphoria.

PLoS One. 2018 Aug 16;13(8):e0202330. doi: 10.1371/journal.pone.0202330. Erratum in: PLoS

One. 2019 Mar 19;14(3):e0214157. PMID: 30114286; PMCID: PMC6095578.

      69. EXPLORING ALTERNATIVE HYPOTHESES: WHY ARE WE SEEING A RAPID

RISE OF ADOLESCENT FEMALE TRANS IDENTITY PATIENTS… often in social clusters?

      Generating, Considering, and Testing Alternative Theories prevents the Methodological

Error of Confirmation Bias:




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      We should consider the genetics theory of transgender identity. But his theory cannot explain

the rapid expansion of new GD (an 4,000% to 20,000% increase?) cases as our genome is simply

not changing that fast.

      We should consider the “brain structures” theory of transgender identity. Yet there is only

weak medical evidence to support this theory and the theory cannot explain the rapid expansion of

new gender dysphoria cases as brain structures are not changing that fast.

      We should consider the theory that increased social acceptance of the transgender lifestyle

is leading many people who were transgender all along to come out. Yet this theory fails to explain

why males and older women are not coming out in the same huge numbers and not coming out in

“social peer group clusters” as adolescent females are reportedly doing.

      We should consider the “immutable gender identity” theory. Yet this theory fails to explain

the rapid expansion of patients. In addition, the “immutable” theory fails to explain the rapid

expansion of “Rapid Onset Gender Dysphoria” reports — newly “trans” adolescent girl patients

who reportedly showed no indication of gender dysphoria previously.

      Having considered alternative theories -- to avoid confirmation bias – it appears that another

alternative theory might well be the most applicable, rational theory to explain the extreme, recent

increases in the GD patient population. This is the Social Contagion hypothesis. Social contagion

effects are also reportedly responsible for the massive, rapid increase in “recovered repressed

memory” cases and also the extraordinary expansion of “multiple personality disorder” cases in

the 1990s. I also note the alternative investigative hypothesis that social contagion effects would

appear to be psychological/psychiatric problems and NOT physical medical problems requiring

hormonal or surgical “treatments”.




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      70. INVESTIGATING ALTERNATIVE HYPOTHESES: THE SOCIAL CONTAGION

THEORY:          ADOLESCENT FEMALE PSYCHOLOGY RESEARCH SHOWS WELL-

DOCUMENTED PEER INFLUENCES on ANOREXIA, BULIMIA, DRUG ABUSE, and now

GENDER DISCORDANT (“TRANSGENDER”) SYMPTOMS:

      The Social Contagion theory for the large increase in reported Rapid Onset Gender

Dysphoria in adolescent girls appears to be the most rational explanation for the reportedly

dramatic (rapid, media related, hundreds of times increase, YouTube influenced, Peer Group

influenced) explosion of Gender Discordant (“transgender”) patients among adolescent female

friend groups.

      Adolescent female social contagion effects in psychiatric illness are well-known and well

documented. Consider, for example, Bulimia and Anorexia — both of which spread rapidly in

adolescent female friend groups. See, Allison S, Warin M, Bastiampillai T. Anorexia nervosa and

social contagion: clinical implications. Aust N Z J Psychiatry. 2014 Feb;48(2):116-20. doi:

10.1177/0004867413502092. Epub 2013 Aug 22. PMID: 23969627.

      It has been known for decades that adolescent females are highly prone to social contagion

effects spreading psychiatric symptoms — e.g. Anorexia, Bulimia, Drug Abuse, etc) are well

known to be subject to “cluster” and “friendship” contagions as teens girls (and especially troubled

teen girls) co-ruminate and share feelings at very high rates and with emotional depth. See, e.g.,

Crandall CS. Social contagion of binge eating. J Pers Soc Psychol. 1988 Oct;55(4):588-98. doi:

10.1037//0022-3514.55.4.588. PMID: 3193348.

      For example, Prof. Amanda Rose at the University of Missouri has conducted research to

understand why adolescent girls show such susceptibility to social contagion with psychiatric

symptoms — “Teenage girls share symptoms via social contagions because their friendship




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processes involve “co-rumination”, that is, taking on the emotional pain and concerns of their

friends.” See, R. Schwatz-Mette and A. Rose,               Co-Rumination Mediates Contagion of

Internalizing Symptoms Within Youths ’Friendships, Developmental Psychology 48(5):1355-65,

February 2012, DOI: 10.1037/a0027484 Developmental Psychology, Vol. 48, No. 5, 1355–1365

0012-1649/12/$12.00 DOI: 10.1037/a0027484.          This could be one explanation for why we are

hearing increasing reports of“ clusters” and “friend groups” of teen girls who are adopting a

“transgender identity” and “transitioning” as friends together.

      71. INVESTIGATING ALTERNATIVE HYPOTHESES: THE SOCIAL CONTAGION

THEORY:        SCHOOL ENVIRONMENT SOCIAL CONTAGION:                            Observers including

journalists have reported that schools in America — 1st grade through College — during the past

few years have been aggressively teaching that a “non-binary” identity is the real “norm” and far

better than traditional gender roles. Such school programs present Male and Female roles in a very

rigid, highly stereotyped manner then teach children (even 1st graders) that if they do or feel

anything different than narrow binary sex roles (girls enjoying football, boys enjoying art) they

are surely “non-binary” and should receive much social support, reinforcement, and

encouragement for “transitioning”.

      The rapid and historic transformation of the Gender Transition Industry patient pool has been

widely noted by researchers, journalists, and providers.      This transformation from early onset,

chronically dysphoric male patients to rapid onset adolescent female patients has occurred in just

the last few years. The patient transformation from 3 to 1 males (for decades) to 7 to 1 females

(just in the last few years) is not easily explained by any of the Gender Transition Industry theories

such as “genetics” or “brain structures” or the mysterious and tautalogical “immutable

characteristics” theory. It has been reported that during this enormous increase in “Rapid Onset




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Gender Dysphoria” a growing set of YouTube Transgender “influencers” teach and entertain

millions of followers daily as they aggressively sell gender transitioning as a quick and effective

cure for Depression, Anxiety, Loneliness, and confusion about life.

      For example, journalist Abigail Shrier’s book, Irreversible Damage about the social

contagion theory of why patient demographics changed so very rapidly and expansively. Shrier’s

book was reportedly named a “Book of the Year” by The Economist and “one the Best Books of

2021” by The Times (of London) and The Sunday Times (of London). Many famed scientists of

various fields have praised Shrier’s work in highlighting A) the lack of competent scientific

research supporting “gender affirmation” interventions and B) the political contamination

including censorship and “cancel culture” attacks on academics that make gender affirmation

investigation (“transgender science”) such a controversial field. For example, several highly

credible and deeply respected members of the relevant scientific and public policy-ethics

communities have reportedly posted positive reviews of Shrier’s analysis on the Amazon

bookseller site including:

      “In Irreversible Damage, Abigail Shrier provides a thought-provoking examination of a

new clinical phenomenon mainly affecting adolescent females—what some have termed rapid-

onset gender dysphoria—that has, at lightning speed, swept across North America and parts of

Western Europe and Scandinavia. In so doing, Shrier does not shy away from the politics that

pervade the field of gender dysphoria. It is a book that will be of great interest to parents, the

general public, and mental health clinicians.”— Kenneth J. Zucker, Ph.D., adolescent and child

psychologist, multi-publication scientist in this field, and Chair of the American Psychiatric

Association DSM-5 Work Group on Sexual and Gender Identity Disorders.




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      Similarly, “Abigail Shrier’s book is thoroughly researched and beautifully written.” —Ray

Blanchard, Ph.D., head of Clinical Sexology Services at the Centre for Addiction and Mental

Health from 1995–2010.

      Similarly, “For no other topic have science and conventional wisdom changed—been thrown

away—more rapidly than for gender dysphoria. For a small but rapidly growing number of

adolescent girls and their families, consequences have been tragic. This urgently needed book is

fascinating, wrenching, and wise. Unlike so many of the currently woke, Abigail Shrier sees

clearly what is in front of our faces and is brave enough to name it. Irreversible Damage will be a

rallying point to reversing the damage being done.” —J. Michael Bailey, Ph.D. professor of

psychology at Northwestern University.         All quotes from the Amazon bookseller site at

https://www.amazon.com/Irreversible-Damage-Transgender-Seducing-

Daughters/dp/1684510317 These quotes are offered to demonstrate the breadth and depth and

international scope of the raging controversies regarding the Transgender Treatment Industry.

      72. THE SOCIAL CONTAGION HYPOTHESIS - IDENTITY POLITICAL IDEOLOGY

PROVIDES SOCIAL SUPPORT REWARDS FOR ADOLESCENTS TO ADOPT A GENDER

DISCORDANT IDENTIFY (“TRANSGENDER”): Journalists have reported, “In many high

schools, there is an “identity politics” victims sweepstakes where white middle and upper middle

class girls are simply left out of any coveted “oppressed victim” status groups — thus the decision

to become “transgender” brings instant social support and acclaim from teachers and coaches for

their courage in coming out.” Nobody questions such personal transformation, even if the teen is

deeply troubled, and even if the teen has no history of gender dysphoria. To even ask questions or

explore alternative explanations could get the teacher, counselor, therapist, or physician labelled

as a “conversion therapist” and cancelled.




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      73.   ALTERNATIVE INVESTIGATIONAL HYPOTHESES: “CANCEL CULTURE”

and IDEOLOGICAL-POLITICAL PRESSURE SEEKS TO                            INSTITUTIONALIZE THE

SYSTEMATIC NEGLIGENCE and METHODOLOGICAL ERROR OF CONFIRMATION

BIAS: Because of the efforts of apparently science illiterate and/or gullible legal and medical

professionals and the intense activity of political trans activists — health providers (in many

fields) are now NOT permitted to openly asks questions, properly investigate alternative

diagnoses, or explore alternative hypotheses for the symptoms of Gender Dysphoria patients. They

are compelled (sometimes under fear of employment termination or legal attacks) to adopt a

patient’s self-diagnosis and only support “transgender affirming” medical interventions. These

providers are thus being pressured and/or compelled to commit the scientific and medical

malpractice of Confirmation Bias.        (See, detailed discussion above on confirmation bias.)

Unexamined transgender affirming medical interventions — based on uncorroborated patient self-

reports, assessed by mental health professionals with no methodology for discerning true from

false patient reports, with no ability to decipher accurate from contaminated “memories”, with

no alternative treatments offered, and no alternative explanations (social contagion) explored —

may thus be viewed as engaged in medical, psychological, surgical, and endocrinological

negligence and a violation of the most basic, essential scientific and medical practices and methods

requiring the generation and testing of alternative hypotheses. In sum, such a politically tainted

system actually requires “confirmation bias” — one of the most serious of all methodological

diagnostic failures. See, e.g. Mendel, R. et. al., Confirmation bias: why psychiatrists stick to wrong

preliminary diagnoses, Psychological Medicine, Oxford University Press, 20 May 2011.

[“Diagnostic errors can have tremendous consequences because they can result in a fatal chain

of wrong decisions. Experts assume that physicians' desire to confirm a preliminary diagnosis




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while failing to seek contradictory evidence is an important reason for wrong diagnoses. This

tendency is called ‘confirmation bias’.]; See also, Doherty, T.S. and Carroll, A.E., Believing in

Overcoming     Cognitive     Biases,   American     Medical    Association    Journal   of   Ethics,

2020;22(9):E773-778. [“Like all humans, health professionals are subject to cognitive biases that

can render diagnoses and treatment decisions vulnerable to error. Learning effective debiasing

strategies and cultivating awareness of confirmation, anchoring, and outcomes biases and the

affect heuristic, among others, and their effects on clinical decision making should be prioritized

in all stages of medical education…. Confirmation bias is the selective gathering and

interpretation of evidence consistent with current beliefs and the neglect of evidence that

contradicts them…. ]; See also, Hershberger PJ, Part HM, Markert RJ, Cohen SM, Finger WW.

Teaching awareness of cognitive bias in medical decision making. Acad Med. 1995;70(8):661.

      74.   ALTERNATIVE INVESTIGATIONAL HYPOTHESES: GIVEN THE CURRENT

LACK OF RELIABLE-VALID RESEARCH SUPPORT, IT IS A RECKLESS and

EXPERIMENTAL INTERVENTION TO PERMIT CHILDREN TO ENGAGE IN SELF-

DIAGNOSIS WHEN THE RESULTING “TREATMENTS” WILL LIKELY PRODUCE LIFE-

LONG STERILIZATION and/or OTHER PERMANANT INJURIES TO NORMAL, HEALTHY

ORGANS : In some jurisdictions in America now child or adolescent patients can — without

parental permission or even parental notification -- receive hormones to begin the experimental

treatment of “transitioning” with no competent diagnostic investigation or professional assessment

of “Gender Dysphoria”        and no competent medical investigation-testing-consideration of

alternative hypotheses (there is no such reliable, objective assessment). Worst of all, providers can

be coerced by law, collegial pressures, or “cancel culture” ideology to comply with the troubled

child’s/teen's/patient's amateur (potentially YouTube influenced) self-diagnosis or be faced with




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potentially career ending allegations of “conversion therapy”. Politically tainted, pseudo-science,

experimental, unproven medical practices have caused grave harm to millions in the past (See the

discussion of lobotomies, repressed memory therapy, multiple personality therapy, rebirthing

therapy, etc above.) and unethical, politically driven, experimental medical errors should not be

repeated today.

      75.     EXPERIMENTATION on SEX-GENDER DISCORDANT PATIENTS IS

ESPECIALLY LIKELY TO CAUSE HARM TO MINORITY PATIENTS FROM

HISTORICALLY MARGINALIZED COMMUNITIES — The development of effective

strategies to impact long-term physical and psychological health in patients who experience sex-

discordant gender identity should be undertaken with recognition of the disproportionate burden

of this condition in a number of vulnerable minority populations of children. These include:

      -- children with a prior history of psychiatric illness (See, e.g. Kaltiala-Heino, R., Sumia, M.,

Työläjärvi, M., & Lindberg, N. (2015). Two years of gender identity service for minors:

overrepresentation of natal girls with severe problems in adolescent development. Child and

adolescent psychiatry and mental health, 9, 9. https://doi.org/10.1186/s13034-015-0042-y

      -- children of color (See, e.g., G. Rider et al. (2018), Health and Care Utilization of

Transgender/Gender Non-Conforming Youth: A Population Based Study, Pediatrics at 4, DOI:

10.1542/peds.2017-1683.

      -- children with mental developmental disabilities (See, e.g. Bedard, C., Zhang, H.L. &

Zucker, K.J. Gender Identity and Sexual Orientation in People with Developmental Disabilities.

Sex Disabil 28, 165–175 (2010). https://doi.org/10.1007/s11195-010-9155-7

      - children on the autistic spectrum (See, e.g., de Vries, A. L., Noens, I. L., Cohen-Kettenis,

P. T., van Berckelaer-Onnes, I. A. & Doreleijers, T. A. Autism spectrum disorders in gender




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dysphoric children and adolescents. J Autism Dev Disord 40, 930-936, doi:10.1007/s10803-010-

0935-9 (2010).

      -- children residing in foster care homes and adopted children (See, e.g. See e.g., D. Shumer

et al. (2017), Overrepresentation of Adopted Adolescents at a Hospital-Based Gender Dysphoria

Clinic, Transgender Health Vol. 2(1).

      76. GENDER DYSPHORIA IS A VERY RARE PSYCHIATRIC CONDITION – THAT

IS, RARE IN THAT IT IS TREATED WITH SURGERY THAT DAMAGES or DESTROYS

WELL-FUNCTIONING, HEALTHY BODILY ORGANS LEADING TO LOSS OF

ESSENTIAL BODILY FUNCTIONS (e.g. Medically Induced Sterilization): Despite the fact that

gender dysphoria represents a psychological condition (as catalogued in the DSM since the third

edition of this publication), some conceptualize the condition as a medical illness similar to cancer.

When considered from this viewpoint, the goal of “treatment” is to alter the appearance of the

body to conform to a patient’s perceived sexual identity, including the physical removal of

unwanted “diseased” sexual organs. Since undesired body parts are fully formed and functional

prior to hormonal or surgical intervention, the result of these “therapies” is injury to innate sexual

ability. In particular, loss or alteration of primary sexual organs leads directly to impairment of

reproductive potential. Recognition of this obvious consequence is the basis for the development

of new arenas of medical practice where there is an attempt to restore what has been intentionally

destroyed. See, e.g., Ainsworth AJ, Allyse M, Khan Z. Fertility Preservation for Transgender

Individuals:     A   Review.      Mayo     Clin     Proc.    2020     Apr;    95(4):784-792.     doi:

10.1016/j.mayocp.2019.10.040. Epub 2020 Feb 27. PMID: 32115195. As correctly noted by

Levine, gender dysphoria is unique in that it is “the only psychiatric condition to be treated by

surgery, even though no endocrine or surgical intervention package corrects any identified




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biological abnormality”. See, e.g., S. Levine (2016), Reflections on the Legal Battles Over

Prisoners with Gender Dysphoria, J. American Academy of Psychiatry and Law, 44, 236 at 238

(“Reflections”), at 240.)

      77. A MULTI-DISCIPLINARY, COMPLEX, DEVELOPMENTAL MODEL PROVIDES

ESSENTIAL       ALTERNATIVE          HYPOTHESES            TO   THE   SIMPLE,      UNEXAMINED

“AFFIRMATON” TRANSITIONING MODEL OF TRANS ACTIVIST PROFESSIONALS and

the GENDER TRANSTION INDUSTRY:                 The diagnosis of “gender dysphoria” encompasses a

diverse array of conditions. While the etiologic contributors to sex discordant gender identity

remain to be fully identified and characterized, differences both in kind and degree within

individuals and across varied populations creates challenges in establishing specific approaches

to alleviate associated suffering. For example, data from adults cannot be assumed to apply equally

to children. Nor can data from children who present with sex discordant gender pre-pubertally be

presumed to apply to the growing number of post-pubertal adolescent females presenting with this

condition.   Steven Levine, MD (Clinical Professor of Psychiatry at Case Western Reserve

University School of Medicine and Founder and Co-Director of the Case Western Reserve

University Gender Identity Clinic ) has described the developmental model — an alternative

hypothesis of gender dysphoria conceptualization and treatment that is more in keeping with the

known science and involves reduced costs and lowered risk of permanent physical harm (e.g.,

medically induced sterilization) to patients. Dr. Levine has written, “Gender dysphoria can be

alternatively conceptualized in developmental terms, as an adaptation to a psychological problem

that was first manifested as a failure to establish a comfortable conventional sense of self in early

childhood. This paradigm starts from the premise that all human lives are influenced by past

processes and events. Trans lives are not exceptions to this axiom. (See, e.g., S. Levine (2016),




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Reflections on the Legal Battles Over Prisoners with Gender Dysphoria, J. American Academy of

Psychiatry and Law 44, 236 at 238). Mental Health Professionals (MHPs) who think of gender

dysphoria through this paradigm may work both to identify and address causes of the basic

problem of the deeply uncomfortable self, and also to ameliorate suffering when the underlying

problem cannot be solved. They work with the patient and (ideally) family to inquire what forces

may have led to the trans person repudiating the gender associated with his sex. The developmental

paradigm is mindful of temperamental, parental bonding, psychological, sexual, and physical

trauma influences, and the fact that young children work out their psychological issues through

fantasy and play.” (See, Expert Report by Steven Levine, MD). A recent study documented

“clustering” of new presentations in specific schools and among specific friend (peer) groups,

pointing to social influences (See, the Littman study at Brown University discussed above). Both

of these findings strongly suggest cultural factors. From the beginning of epidemiological research

into this arena, there have always been some countries, Poland and Australia, for example, where

the patient sex ratios were reversed as compared to North America and Europe, again

demonstrating a powerful effect of cultural influences (e.g. social contagion). See, S. Levine

(2018), Informed Consent for Transgendered Patients, J. of Sex & Marital Therapy, at 6, DOI:

10.1080/0092623X.2018.1518885 ; S. Levine (2016), Reflections on the Legal Battles Over

Prisoners with Gender Dysphoria, J. American Academy Psychiatry and Law, 44, 236 at 238.

      78.     NO COMPETENT, SCIENTIFICALLY VALID-RELIABLE COST-BENEFIT

ANALYSIS HAS BEEN DONE ON GENDER DISCORDANT “TRANSGENDER”

TREATMENTS — When the FDA tests a drug, the safety analysis looks at all related risks.

Specifically, the drug (treatment) must not only be effective, but it must not cause side effects that

are more damaging than the proposed treatment. This is one of the key weaknesses of the Gender




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Transition Industry. Not only have the treatments NOT been proven reliably effective compared

in NO treatment, but the “transgender transitioning” interventions “treatments” are DESIGNED

with existing knowledge of well-documented, long-term health problems and damages (e.g.,

testosterone use by transgender men increases the risk of fatal heart disease, estrogen use by

transgender women increases risk of blood clots and strokes, Gender Transition Industry

treatments — if completed — can cause life-long sterility, etc. ).

      79.    LACK OF INTEGRATION OF CARE BY PROVIDERS IN THE GENDER

TRANSITION INDUSTRY INCREASES DANGERS TO PATIENTS: It is too often the case in

the Gender Transition Industry that “nobody is in charge” of a patient’s care. The mental health

professionals know little about the risks of surgery and the surgeons know little about the defects

in mental health methodologies and the endocrinologists are only following the hormonal

treatments and many are not aware of the serious methodological research defects in this field.

Such disjointed care can increase dangers to patients. On cases showing such a lack of integration

and uncertain chain of command in Gender Transition Industry healthcare cases, reliable

measurements of the divergent, multi-disciplinary risks to patients of Gender Transition Industry

treatments (e.g. hormones, incomplete therapy, or surgical side effects) are precluded and too often

ignored. The Plaintiffs’ expert witness reports in this case appear to ignore this issue.

      80. ADDITIONAL OPINIONS TO BE DISCUSSED AT DEPOSITION OR TRIAL: There

are additional relevant data and important considerations regarding existing understanding of the

role of physicians and other healthcare workers in alleviating suffering in patients who experience

gender dysphoria due to sex-gender identity discordance that are not fully discussed in this report.

This includes:




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      -- the inherent complexity of human psychological and physical development from birth to

adulthood

      -- the relationship and differences between puberty and adolescence

      -- the molecular mechanisms of steroid hormone action in regulating cellular gene expression

      -- the physiology of sexual function including the hypothalamic-pituitary-gonadal axis in

males and females and diseases that are associated with dysfunction of these processes

      -- the expansive and growing field of sex-specific personalized medicine in relation to human

health

      -- the historical development and use of the scientific method (e.g. principles of hypothesis

generation, testing of the null hypothesis, fundamentals of statistical analyses, differences between

statistical and clinical significance)

      -- the design and conduct of human clinical trials

      -- the proper role of institutional review boards in the approval and supervision of clinical

trials to mitigate risk

      -- the National Institutes of Health (NIH) processes for establishment of research priorities

(e.g. research funding announcements), procedures for scientists to apply for grant funding, peer

review of research proposals, requirements for examining sex as a biological variable, safety

monitoring, and requirements for sharing study results

      -- the process for gaining FDA approval for new medications and new medical indications

for existing medications including objective assessment of relative risk versus benefit as

demonstrated from properly controlled clinical trials

      These topics will be discussed, as needed, at deposition and trial to provide the court with

the necessary scientific and medical information for proper litigation of this case.




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      81.    NOTES: GENDER TRANSITION RESEARCH SHOWING METHODOLOGICAL

DEFECTS, ERRORS, and the UNETHICAL MISREPORTING OF RESULTS.

       In sum, THE GENDER TRANSITION INDUSTRY APPEARS TO HAVE IMPLODED

IN RECENT YEARS as the relevant scientific community exposed the serious methodological

and ethical errors in this highly controversial industry.



     DR HRUZ’s NOTES ON RESEARCH EVALUATIONS and METHODOLOGICAL
ANALYSES:

      TIMELINE NOTES DOCUMENT THE LOW QUALITY EVIDENCE FOR THE GENDER
TRANSITION INDUSTRY’S EXPERIMENTAL TREATMENTS FOR DECADES FOLLOWED BY
THE PUBLIC EXPOSURE of DEFECTS and MISCONDUCT and IMPLOSION OF THE GENDER
TRANSITION INDUSTRY IN 2020-2021:

2016 - OLSON-KENNEDY ET AL - “CLINICALLY USEFUL TO PREDICT OUTCOMES IS
LACKING” … “EXTENSIVE RESEARCH IS NEEDED” … GROSS METHODOLOGICAL DEFECTS
IN “TRANSGENDER” RESEARCH ARE BEING EXPOSED See, GROSS METHODOLOGICAL
DEFECTS IN “TRANSGENDER” RESEARCH HAVE BEEN EXPOSED IN PUBLIC VENUES - Olson-
Kennedy, J, et. al. listed a number of the serious defects in our current understanding of transgender patients.
She noted:
       —“ Clinically useful information for predicting individual psychosexual development pathways is
lacking.” [Note: We can’t predict outcomes because we don’t understand the processes — thus “affirming”
treatments are experimental].
       — "Transgender youth are at high risk for poor medical and psychosocial outcomes.” [Note: But we
don’t know why ] …
       — "Longitudinal data examining the impact of early social transition and medical interventions are
sparse.” [Note: Thus we don’t know how to treat such patients.]
       — "Existing tools to understand gender identity and quantify gender dysphoria need to be
reconfigured to study a more diverse cohort of transgender individuals.” [Note: For decades patients were
uniformly males with early childhood onset, now most new patients are females with rapid onset in
adolescence —are these even the same patient groups?].
       Shared goals requiring much more research: "Extensive research is needed to improve
understanding of gender dysphoria, and transgender experience, particularly among youth.
Recommendations include identification of predictors of persistence of gender dysphoria from childhood
into adolescence [the key research hasn’t been done yet], and a thorough investigation into the impact of
interventions for transgender youth. [the key research hasn’t been done yet] Finally, examining the social
environments of transgender youth is critical for the development of appropriate interventions necessary
to improve the lives of transgender people. [This kind of multi-disciplinary research, analysis of alternative
hypotheses, and treatments for concomitant psychiatric-psychological symptoms is being tragically
mislabeled and blocked as “conversion therapy” by political advocates.]
       See, Olson-Kennedy, J, Cohen-Kettenis, P., et al., Research priorities for gender
nonconforming/transgender youth gender identity development and biopsychosocial outcomes, Current
Opinion in Endocrinology & Diabetes and Obesity: April 2016 - Volume 23 - Issue 2 - p 172-179, doi:
10.1097/MED.0000000000000236                [Note: Should compare once again the demonstrated lack of




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methodologically sound scientific support for the still-experimental gender affirmation “trans”
interventions and the many unresearched missing questions in our understanding of these complex
patients to Dr Brown’s and Dr Schechter’s misleading and incomplete expert declarations for the plaintiffs
in this case.]

2016 - See, Marshall E, Claes L, Bouman WP, Witcomb GL, Arcelus J. Non-suicidal self-injury and
suicidality in trans people: a systematic review of the literature. Int Rev Psychiatry 2016; 28: 58–
69.) Activists and too many providers have used a fear of suicide to push experimental unproven
treatments. Activists and too many providers have attempted to manipulate parents and patients with the
fearful maxim ‘better a live daughter than a dead son’. In addition, parents, teachers and doctors are
encouraged to affirm unquestioningly the alternative gender for fear of the implied consequences. There is
a danger that poor-quality data are being used to support gender affirmation and transition without the
strength of evidence that would normally determine pathways of care. A 20-year Swedish longitudinal
cohort study showed persisting high levels of psychiatric morbidity, suicidal acts and completed suicide
many years AFTER medical transition. (See also, Dhejne C, Lichtenstein P, Boman M, Johansson ALV,
Långström N, Landén M. Long-term follow-up of transsexual persons undergoing sex reassignment
surgery: cohort study in Sweden. Scott J, editor. ) PLoS ONE 2011; 6(2): e16885. “Such results are not
reassuring and might suggest that more complex (untreated) intrapsychic conflicts remain, unresolved by
living as the opposite sex.”

2017 - LONG TERM STUDIES OF GENDER TRANSITION TREATMENT EFFECTS SHOW
PERSISTENT PSYCHOLOGICAL-PSYCHIATRIC MORBIDITY INCLUDING HIGHER RISK OF
SERIOUS SUICIDE ATTEMPTS AFTER TRANSITIONING TREATMENTS: Evidence often cited to
support societal measures that promote or encourage gender transition, including the Plaintiffs’ demand for
use of multi-user sex-segregated restrooms corresponding with the Plaintiffs’ gender identity, as a
medically necessary treatment for gender dysphoria is limited. Recent studies reporting reductions in
dysphoria following social transition of adolescent patients are small, poorly controlled and of insufficient
duration to draw definitive conclusions regarding long-term efficacy. Long-term follow up of patients with
gender dysphoria who have undergone social and hormonal transition with or without surgical
intervention has shown persistent psychological morbidity far above non-transgendered individuals with
suicide attempts 7-fold and completed suicides19-fold above the general population – AFTER
“transition” interventions. See, Adams, N., Hitomi, M. & Moody, C. Varied Reports of Adult Transgender
Suicidality: Synthesizing and Describing the Peer-Reviewed and Gray Literature. Transgend Health 2, 60-
75, doi:10.1089/trgh.2016.0036 (2017); See also, Dhejne, C. et al. Long-term Follow-up of transsexual
persons undergoing sex reassignment surgery: cohort study in Sweden. PLoS One 6, e16885,
doi:10.1371/journal.pone.0016885 (2011)).

2019 — SWEDEN NATIONAL REVIEW = GENDER AFFIRMATION STILL EXPERIMENTAL
= NO RANDOMIZED TRIALS: results. See, Gender dysphoria in children and adolescents: an
inventory of the literature, SBU Policy Support no 307, 2019 (https://www.sbu.se/307e )
        SWEDISH REVIEW —“No relevant randomized controlled (treatment outcome) trials in
children and adolescents were found.”
        “This report was commissioned by the Swedish government and is a scoping review of the
literature on gender dysphoria in children and adolescents. The report can be a basis for further
evaluation of risk of bias and evidence.
        Conclusions:
        — We have not found any scientific studies which explains the increase in incidence in children
and adolescents who seek the heath care because of gender dysphoria
        — We have not found any studies on changes in prevalence of gender dysphoria over calendar
time, nor any studies on factors that can affect the societal acceptance of seeking for gender dysphoria.




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        — There are few studies on gender affirming surgery in general in children and adolescents
and only single studies on gender affirming genital surgery.
        — Studies on long-term effects of gender affirming treatment in children and adolescents are
few, especially for the groups that have appeared during the recent decennium.
        — The scientific activity in the field seems high. A large part of the identified studies are
published during 2018 and 2019.
        — Almost all identified studies are observational, some with controls and some with
evaluation before and after gender affirming treatment. No relevant randomized controlled trials in
children and adolescents were found.
        We have not found any composed national information from Sweden on: – the proportion of
those who seek health care for gender dysphoria that get a formal diagnosis NOR – the proportion
starting endocrine treatment to delay puberty NOR – the proportion starting gender affirming
hormonal treatment NOR – the proportion subjected to different gender affirming surgery.”

2016-2017 London GIDS Study
NO evidence that hormones or surgery improve long-term psychological well-being.
See, “GIDS referrals figures for 2016/17, Gender Identity Development Service, GIDS.NHS.uk
(undated), http://gids.nhs.uk/sites/default/files/content uploads/referral-figures-2016-17.pdf


2017 - ENDOCRINE SOCIETY REVIEWS - ONLY WEAK EVIDENCE SUPPORTS GENDER
TRANSITION INTERVENTIONS: Two systematic reviews commissioned by the US-based Endocrine
Society in 2009 and 2017 concur with the finding of a the weak evidence base, stating that the finding of
benefits of hormonal interventions in terms of "psychological functioning and overall quality of life"
comes from "low-quality evidence (i.e., which translates into low confidence in the balance of risk and
benefits)."
        MISCONDUCT by the Endocrine Society: Despite this sober assessment, the Endocrine
Society instructed clinicians to proceed with treating gender-dysphoric youth with hormonal
interventions in its guidelines, which have now been broadly adopted by a number of medical
societies. See, Transgender Health: An Endocrine Society Position Statement. December 15, 2020.
Accessed January 6, 2021.https://www.endocrine.org/advocacy/position-statements/transgender-health

2017 - GENDER TRANSITION INTERVENTIONS REMAIN EXPERIMENTAL = The Society for
Science Based Gender Medicine (SEGM)'s review, the "low confidence in the balance of risks and
benefits" of hormonal interventions calls for extreme caution when working with gender-
dysphoric youth, who are in the midst of a developmentally-appropriate phase of identity exploration and
consolidation. While there may be short-term psychological benefits associated with the administration of
hormonal interventions to youth, they must be weighed against the long-term risks to bone health, fertility,
and other as yet-unknown risks of life-long hormonal supplementation.
         Further, the irreversible nature of the effects of cross-sex hormones, and the potential for
puberty blockers to alter the natural course of identity formation should give pause to all ethical
clinicians. Studies consistently show that the vast majority of patients with childhood-onset gender
distress who are not treated with "gender-affirmative" social transition or medical interventions grow
up to be LGB adults. However, there is emerging evidence that socially-transitioned and puberty-
suppressed children have much higher rates of persistence of transgender identification, necessitating future
invasive and risky treatments. The trajectory of the novel, and currently the most common presentation
of gender dysphoria, which emerges for the first time in adolescence following a gender-normative
childhood is unknown, but the increasing voices of desisters and detransitioners suggest the rate of regret
within this novel cohort will not be as rare as previously estimated.
         It is The Society for Science Based Gender Medicine (SEGM)'s position that the significant
uncertainties regarding the long-term risk/benefit profile of "gender-affirmative" hormonal




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interventions call for noninvasive approaches (e.g. psychotherapy, social support, coping and resilience
training, etc) as the first line of treatment for youth. If pursued, invasive and potentially irreversible
interventions for youth should only be administered in clinical trial settings with rigorous study
designs capable of determining whether these interventions are beneficial.
         In addition to undergoing rigorous psychological and psychiatric evaluations, patients and their
families should participate in a valid informed consent process. The latter must accurately disclose the
limited prognostic ability of the gender dysphoria/gender incongruence diagnosis for young people, and the
many uncertainties regarding the long-term mental and physical health outcomes of these poorly studied
and largely experimental interventions.
         See, Spyridoula Maraka, Naykky Singh Ospina, Rene Rodriguez-Gutierrez, Caroline J Davidge-
Pitts, Todd B Nippoldt, Larry J Prokop, M Hassan Murad, Sex Steroids and Cardiovascular Outcomes in
Transgender Individuals: A Systematic Review and Meta-Analysis, The Journal of Clinical Endocrinology
&       Metabolism,      Volume       102,    Issue    11,     1    November        2017,    Pages 3914–
3923, https://doi.org/10.1210/jc.2017-01643

2017 Misleading, politically motivated-tainted Cornell University website’s alleged “systematic
literature review” was actually a form of misleading consumer manipulation. See, Anonymous.
Cornell University, Public Policy Research Portal. “What does the scholarly research say about the effect
of         gender        transition         on          transgender       well-being?”         Available:
https://whatweknow.inequality.cornell.edu/topics/lgbt-equality/what-does-the-scholarly-research-say-
about-the-well-being-of-transgender-people/ [accessed 20 November 2019] The relevant scientific
community reacted to expose misinformation in the Cornell “Review”.
         See, Horvath, Hacsi. (2020). Activist-driven transgender research methods are reckless and will
lead to harms. 10.13140/RG.2.2.22455.55206. "In 2017, anonymous authors at Cornell University
produced a document titled “What does the scholarly research say about the effect of gender transition on
transgender well-being?”. This document purports to be a “systematic literature review.” In reality, it is
simply a piece of “junk science”, political propaganda, created by activists…. Horvath employed two
instruments commonly used to assess the quality of systematic reviews. See, Shea BJ, Reeves BC, Wells
G, Thuku M, Hamel C, Moran J, et al. AMSTAR 2: a critical appraisal tool for systematic reviews that
include randomised or non-randomised studies of healthcare interventions, or both. BMJ. 2017 Sep
21;358:j4008; and also Moher D, Liberati A, Tetzlaff J, Altman DG, The PRISMA Group (2009). Preferred
Reporting Items for Systematic Reviews and Meta-Analyses: The PRISMA Statement. PLoS Med 6(7):
e1000097. doi:10.1371/journal.pmed1000097). [ “The Cornell document fared poorly under examination
with the AMSTAR 2 instrument. All questions answered with “No” or “Not reported” would optimally
have been answered with ‘Yes.’ This review’s methods appear to have been grossly inadequate.”. The
authors of the Cornell review failed to meet nearly every criterion of the PRISMA checklist. All items
denoted as “Not done” would optimally have been answered 4 with “Done.” Reporting of this review’s
methods and findings was very sloppy. Indeed, the review could hardly have been reported with less
rigor].Conclusions: The so-called “systematic literature review” produced at Cornell was nothing of the
kind. Thus the “Findings” of this document should be ignored.”
         The public should be warned regarding this kind of material misrepresentation of potentially
dangerous, experimental treatments of vulnerable patients.

2018 AMSTERDAM RESEARCH DEBACLE : Deceptive Claims and Research Errors in the 2018
Amsterdam Cohort Study Debacle of (2018) See, Wiepjes CM, Nota NM, de Blok CJ, et al. The
Amsterdam Cohort of Gender Dysphoria Study (1972–2015): Trends in Prevalence, Treatment, and
Regrets. The Journal of Sexual Medicine 2018; 15(4): 582-90.
        These authors deceptively claimed: “The percentage of people who regretted gonadectomy
remained small and did not show a tendency to increase.”
        Noting research limitations, errors, and/or deceptions:




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        — “Not all data were available from the hospital registries, particularly older data or surgeries
performed in other centers” (p.590)
        — “A large number of transgender people…were lost to follow-up. Although transgender people
receive lifelong care, a large group (36%) did not return to our clinic after several years of treatment”
(page 589). (How many were suicides or detransitioning? The researchers did not assess and thus
cannot report.)
        — The “Regret” measure used was only tabulated for those who had gonadectomies and ALSO
then requested hormone therapy consistent with biological sex “and ALSO expressed regret” (p.584); they
also apparently improperly excluded any patient who died (are they hiding suicides?) (p.584)
         — No uniform statistics were used to measure average follow-up time and variance = a research
error increasing the unreliability of the data.
        Admitted average time to regretting engaging in “transition” interventions was 130 months (10+
YEARS). Page 589 admission: “…it might be too early to examine regret rates in people who started with
HT within the past 10 years.” Many patients counted as “non-regret” are thus LIKELY to express
REGRET beyond the study cut-off date. Misreporting results in this manner is another unreliable
research error indicative of deception or negligence.

2018 - The Endocrine Society guidelines were published prior to the implosion of the Gender
Transition Industry. These guidelines are already outdated and based on assumptions since demonstrated
to be false (See, e.g. the recent Cochrane, British N.I.C.E. review, Swedish review, Finnish review,
Turban’s debunked studies, and the Branstrom Debacle debunked research). None of the recent exposes
of massive errors and/or misconduct in transgender medicine research field was known at the time
of the Endocrine Society guidelines of 2009 and 2018.
        See, THE ENDOCRINE SOCIETY (ES) position(s) on the claims of the Gender Transition
Industry is a political consensus-seeking process (voting)— not an evidence-seeking scientific research
process — and should be reviewed with care. The Endocrine Society clearly states that its practice
guidelines “cannot guarantee any specific outcome, nor do they establish a standard of care”.
        The 2009 ES guidelines noted the low quality (unreliable, invalid) of evidence in this field. E.g.
“Evidence: This evidence-based guideline was developed using the Grading of Recommendations,
Assessment, Development, and Evaluation (GRADE) system to describe the strength of recommendations
and the quality of evidence, which was low or very low.”
        See, Wylie C. Hembree, Peggy Cohen-Kettenis, Henriette A. Delemarre-van de Waal, Louis J.
Gooren, Walter J. Meyer III, Norman P. Spack, Vin Tangpricha, and Victor M. Montori*Endocrine
Treatment of Transsexual Persons: An Endocrine Society Clinical Practice Guideline, J Clin Endocrinol
Metab. September 2009, 94(9):3132–3154. doi: 10.1210/jc.2009-0345.
        First Corrected version: See, Hembree WC, Cohen-Kettenis PT, Gooren L, et al. Endocrine
Treatment of Gender-Dysphoric/Gender-Incongruent Persons: An Endocrine Society Clinical Practice
Guideline [published correction appears in J Clin Endocrinol Metab. 2018 Feb 1;103(2):699]
        Second corrected version: 2018 published correction appears in J Clin Endocrinol Metab. 2018 Jul
1;103(7):2758-2759]. J Clin Endocrinol Metab. 2017;102(11):3869-3903. doi:10.1210/jc.2017-01658

2019 TAVISTOCK DEBACLE — Professor Michael Biggs of Oxford - THE AFFIRMATION
DRUGS ARE EXPERIMENTAL TREATMENTS - AFTER TREATMENT PATIENTS
REPORTED GREATER SELF-HARM, MORE BEHAVIORAL and EMOTIONAL PROBLEMS
and GREATER DISSATISFACTION WITH THEIR BODY…
         Regarding the UK’s Tavistock and Portman NHS Trust’s Gender Identity Development Service’s
experimental trial of puberty blockers for early teenagers with gender dysphoria. Oxford’s Professor
Michael Biggs wrote, “To summarize, GIDS launched a study to administer experimental drugs to
children suffering from gender dysphoria.” “After a year on GnRHa [puberty blockers] children reported
greater self-harm, and girls experienced more behavioral and emotional problems and expressed greater
dissatisfaction with their body—so puberty blockers actually exacerbated gender dysphoria.” (See,




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Michael Biggs, “Tavistock’s Experimentation with Puberty Blockers: Scrutinizing the Evidence,”
TransgenderTrend.com, March 5, 2019. )

2019 - IN GREAT BRITAIN, METHODOLOGICAL AND ETHICAL DEFECTS IN GENDER
DISCORDANT “TRANSGENDER” RESEARCH and PRACTICES HAVE BEEN PUBLICLY
EXPOSED, See, e.g. , The British Gids Clinic Controversies:
        This reports noted below support my ongoing investigative hypothesis that the Gender Transition
Industry is engaged in systemic, negligent, and/or unethical efforts to distribute misleading and/or
incomplete information to patients, the scientific community, and the public. The Gender Transition
Industry’s systemic efforts appear to include multiple methods of deceptive misreporting including A) a
failure to properly design research to search for key evidence, B) a misleading failure to properly report
key evidence and methodological limitations and/or C) the improper minimizing of key evidence. The
documented failures of the Gender Transition Industry with regard to informed consent, failures of
scientific methodology, and the use of experimental treatments on unsuspecting patients-families appear to
involve violations of standards of care and ethical requirements.]
        E.G. : THE BBC REPORT of 2019: See, Cohen, D. and Barnes, H., Transgender treatment: Puberty
blockers study under investigation, BBC Newsnight 22 July 2019. https://www.bbc.com/news/health-
49036145
        “In 2019, England’s only NHS youth gender clinic (Gids) lowered the age at which it offered children
puberty blockers, partly based on research showing A) an increase in suicide risk following treatment and
B) that virtually all young people who took the puberty blocker hormones went on to take cross-sex
hormones (while 80% or so of untreated children naturally grow out of their “gender dysphoria” phase
by adulthood and accept their biological, natal gender).
        "Experts on clinical trials have criticized the design of the study, which they say makes it hard to tell
if the reported effects were due to the puberty blockers or something else. But experts said they warranted
further investigation.”
        [NOTE: An alternative hypotheses under investigation: Are the unusual methodological errors
reported for Gender Transition Industry practices, research, and treatments the result of gross negligence,
politically tainted pseudoscience, or something else?]
        "Before 2011, the Gender Clinic (Gids) would give puberty blockers to children only once they had
turned 16…. And in 2011, a medical study was approved through which younger children could access
these drugs. "Acknowledging the weak evidence for the use of these drugs (hormones), the research team,
made up of Gids and University College Hospitals staff, set out to "evaluate the psychological, social and
physical effects" of the blockers on a carefully selected group of young people.
        Details about risks - such as potential adverse effects on bone strength, the development of sexual
organs, body shape or final adult height - were provided in a patient information sheet. But BBC Newsnight
found certain information had not been included . Previous research had suggested all young people who
took the blockers went on to take cross-sex hormones - the next stage towards fully transitioning to the
opposite gender. “But patients and parents were not told this in the information sheet.” [Note: This report
appears to document a serious informed consent violation.]
        [NOTE: Are the unusual methodological-ethical errors reported for Gender Transition Industry
practices and treatments the result of gross negligence, politically tainted pseudoscience, or something else?
]
        "I don't see that the parents and their children could really have given informed consent given the
lack of information that was provided," said Michael Biggs, associate professor of sociology at Oxford
University. Prof Biggs… added : "They were not given the information they needed in order to take this
momentous life-changing step.” He gave BBC Newsnight a series of documents relating to the research
study he had obtained via freedom of information requests, which were independently looked at.
        [NOTE: Such reported failures of informed consent, defects in methodology, and the use of
experimental treatments on unsuspecting patients-families appear to be serious violations of ethical,
practice, and/or licensing rules. ]




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       Preliminary data for 30 of the 44 young people on the study was made available to the Tavistock's
board in 2015. It showed that after a year on puberty blockers, there was a significant increase found in
those answering the statement "I deliberately try to hurt or kill myself”. See, Tavistock and Portman
Foundation NHS Trust. Preliminary results from the early intervention research. In Tavistock and Portman
Foundation NHS Trust, Board of Directors Part One: Agenda and Papers: Appendix 7; 50–55. Tavistock
and Portman Foundation NHS Trust, June 2015 (https:// tavistockandportman.nhs.uk/about-
us/governance/board-of-directors/ meetings/).
       “Prof Susan Bewley (Emeritus Honorary Professor, King’s College London Department of
Obstetrics & Women’s Health), who chairs Healthwatch, a charity for science and integrity in healthcare,
is one of a number of doctors raising concerns about the lack of evidence in this area of medicine. She
said seeing any change around suicidal thoughts "is very worrying". "Good medical practice would
normally be very reflective about an increase in harms," she added.”
       “Because of flaws [methodological defects] in how the study was set up, it is not possible to infer
cause and effect or even to say whether rates of suicidal thoughts are higher or lower in this group than in
children with gender dysphoria who don't take puberty blockers. The study had no control group, of
children not taking the drugs, to compare with the observed results. In addition, the outcomes it was
measuring were unclear. Nevertheless, experts say these observations should have given Gids pause for
thought.
       Gids told Newsnight: "All patients were seen regularly by mental health professionals. They
concluded that there was no evidence of harms that could be directly attributed to the treatment and that
continuation of the study was appropriate.”
       [NOTE: This appears to be additional, publically exposed, documented evidence of Gender
Transition Industry advocates providing incomplete, misinformation to the public and patients. Research
has shown that mental health professionals have no relevant reliable-nor valid magical methods for
deciphering the truth or falsity of patient reports of gender dysphoria and no reliable nor valid ways of
predicting suicide in specific patients. They have no “lie detection” methodology better than flipping coins
and they apply “clinical judgment” methods that are often no better than lay persons.”(See a detailed
discussion of the relevant science in this declaration.) For Gids to ward off responsibility for experimenting
on children by assuring the public that “mental health professionals” were involved appears to be another
example of not providing complete, accurate, proper information.]
       The early data [showing an increase in suicidal ideation] was not shared with the Health Research
Authority, despite its demands for updates on the study over a period of three years. In response to BBC
Newsnight sharing this preliminary data and other concerns about the study, Teresa Allen, chief executive
of the HRA, said: "The information that Newsnight has brought to our attention has not been raised with
us before. "We will therefore investigate further, which may include a review of the original ethics
opinion.”
       [NOTE: This is apparently yet another public record of the Gender Transition Industry’s deceptive
misinformation and apparent unethical misconduct. Note that Dr Brown’s expert declaration for the
plaintiffs in this (Kadel v Folwell) case appears to be another example of this very same type of brazen
misinformation — Dr Brown appears to claim there is no controversy in this field!]
       BBC Newsnight's investigation comes amid growing concerns over the way Gids is operating. In an
open letter, former Gids (Gender Clinic) clinician Dr Kirsty Entwistle raised concerns over the way
puberty blockers were being presented to children as "fully reversible", when their long-term impact was
unknown. She also said staff were unable to raise concerns without risking being branded transphobic.
[politicized “cancel culture”] See, open letter at [ https://medium.com/@kirstyentwistle/an-open-
letter-to-dr-polly-carmichael-from-a-former-gids-clinician-53c541276b8d ].
       Tavistock and Portman Trust chief executive Paul Jenkins told BBC Radio 4's Today
programme: "Puberty blockers are reversible.”
       [NOTE: This is apparently yet another public record - documented on BBC video — of Gender
Transition Industry deceptive misinformation and unethical misconduct — a clear failure to provide




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accurate information on risks and benefits of the treatment — providing such misinformation to a patient
would be a serious violation of proper informed consent requirements.]
       He said Gids was looking at processes to make it easier for clinicians to focus on their work, "rather
than being swayed or influenced by the very heated debate”… (Note: This is the heated international
medical, scientific, and ethical debate that Plaintiffs’ expert Dr Brown apparently was not aware of or
wishes to ignore. ) See, Cohen, D. and Barnes, H., Transgender treatment: Puberty blockers study under
investigation, BBC Newsnight 22 July 2019. https://www.bbc.com/news/health-49036145


2020 and 2021 - THE GENDER TRANSITION INDUSTRY IMPLODES — RESEARCH DEFECTS
and UNETHICAL MISCONDUCT ARE WIDELY EXPOSED:

2020 - THE COCHRANE REVIEW - GENDER AFFIRMATION REMAINS EXPERIMENTAL:
“INSUFFICIENT EVIDENCE” FOR “AFFIRMATION” INTERVENTIONS = STILL AN
EXPERIMENTAL TREATMENT : The widely respected Cochrane review examined hormonal
treatment outcomes for male-to-female transitioners over 16 years. They found "insufficient evidence to
determine the efficacy or safety of hormonal treatment approaches for transgender women in
transition."
         It is remarkable that decades after the first transitioned male-to-female patient, quality evidence
for the benefit of transition is still lacking. See, Haupt, C., Henke, M. et. al., Cochrane Database of
Systematic Reviews Review - Intervention, Antiandrogen or estradiol treatment or both during hormone
therapy in transitioning transgender women, 28 November 2020.

2020 - GRIFFIN REVIEW In the Bulletin of the Royal College of Psychiatrists - PSYCHIATRIC
DISORDERS PERSIST (after “transitioning”) so use a SUPPORTIVE, EXPLORATORY
APPROACH (not Mandated Affirmation) — In the Bulletin of the Royal College of Psychiatrists See,
Griffin, L., Clyde, K., Byng, R., Bewley, S., Sex, gender and gender identity: a re-evaluation of the
evidence. BJPsych Bulletin (2020) doi:10.1192/bjb.2020.73, Cambridge University Press, 21 July 2020,
the authors noted the hazardous error of mandating “affirmation treatments” — thus requiring the
negligent practice of Confirmation Bias — rather than properly and carefully exploring alternative
hypotheses — the standard, required ethical, medical standard of practice. … As Griffin discussed,
“Attempts to properly explore, formulate and treat coexisting mental illness in gender dysphoric
populations, including that relating to childhood trauma, might be considered tantamount to ‘conversion
therapy’. Although mental illness is overrepresented in the trans population it is important to note that
gender non-conformity itself is not a mental illness or disorder. As there is evidence that many psychiatric
disorders persist despite positive affirmation and medical transition, it is puzzling why transition would
come to be seen as a key goal rather than other outcomes, such as improved quality of life and reduced
morbidity. When the phenomena related to identity disorders and the evidence base are uncertain, it
might be wiser for the profession to admit the uncertainties. Taking a supportive, exploratory approach
with gender-questioning patients should not be considered conversion therapy.”… In addition, Griffin et
al wrote: “Transgender support groups have emphasized the risk of suicide. After controlling for coexisting
mental health problems, studies show an increased risk of suicidal behaviour and self-harm in the
transgender population, although underlying causality has not been convincingly demonstrated. (See,
Marshall E, Claes L, Bouman WP, Witcomb GL, Arcelus J. Non-suicidal self-injury and suicidality
in trans people: a systematic review of the literature. Int Rev Psychiatry 2016; 28: 58–69.) Activists
and too many providers have used a fear of suicide to push experimental unproven treatments.

2020 – LONDON HIGH COURT: THE ETHICAL RISKS OF THE STILL EXPERIMENTAL
GENDER AFFIRMATION INTERVENTIONS HAVE BEEN HIGHLIGHTED BY AN
INTERNATIONALLY REPORTED LAWSUIT IN BRITAIN: See, Puberty blockers: Under-16s
'unlikely to be able to give informed consent', BBC, 1 December 2020 “Children under 16 with gender




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dysphoria are unlikely to be able to give informed consent to undergo treatment with puberty-blocking
drugs, three High Court judges have ruled…. "Given the long-term consequences of the clinical
interventions at issue in this case, and given that the treatment is as yet innovative and experimental, we
recognise that clinicians may well regard these as cases where the authorization of the court should be
sought prior to commencing the clinical treatment."… The judges have effectively split the issue into stages.
They concluded a child under 13 is "highly unlikely" to be able to give informed consent and at 14 and 15
it is still "doubtful" they can fully understand the implications of the medication….Even for 16 and 17-year
olds the ruling says it may be appropriate to involve the courts in the decision…. The judges point to the
lack of evidence about the long-term effects of puberty blockers as adding to the difficulty of consent, but
in effect, the courts will now play a much greater role in decisions, which are already highly emotionally
charged… Paul Conrathe, the solicitor for both claimants, said the ruling was "an historic judgment that
protects children who suffer from gender dysphoria". He said the judgment showed "that a culture of
unreality has become embedded in the Tavistock". "This may have led to hundreds of children receiving
this experimental treatment without their properly informed consent," he said. See,
https://www.bbc.com/news/uk-england-cambridgeshire-55144148

2020 - D’ANGELO REVIEW OR TURBAN’s DEFECTIVE RESEARCH … AN ONLINE
“CONVENIENCE SAMPLE”: D’Angelo, R., Syrulnik, E., Ayad, S. et al. One Size Does Not Fit All:
In     Support      of    Psychotherapy      for    Gender      Dysphoria. Arch     Sex     Behav (2020).
https://doi.org/10.1007/s10508-020-01844-2 …. “Turban used the 2015 USTS survey … a convenience
sampling, a methodology which generates low-quality, unreliable data (Bornstein, Jager, & Putnick,
2013). Specifically, the participants were recruited through transgender political advocacy organizations
and subjects were asked to “pledge” to promote the survey among friends and family. This recruiting
method yielded a large but highly skewed politicized sample.”….” neither the presence nor the direction
of causation can be discerned from this study due to its cross-sectional design.”… “We call on the
scientific community to resist the stigmatization of psychotherapy for GD and to support rigorous
outcome research investigating the effectiveness of various psychological treatments aimed at
ameliorating or resolving GD.”

2020 - THE TURBAN ONLINE SURVEY RESEARCH DEBACLE … PUBLIC EXPOSURE OF
TURBAN’s SERIOUS RESEARCH DEFECTS - Another example of the Gender Transition
Industry’s misleading and deceptive misreporting of incompetent research. … See 2020 scathing
D’ANGELO REVIEW…. .” neither the presence nor the direction of causation can be discerned from
this study due to its cross-sectional design.”… Turban used the 2015 USTS survey … a convenience
sampling, a methodology which generates low-quality, unreliable data (Bornstein, Jager, & Putnick,
2013). Specifically, the participants were recruited through transgender political advocacy organizations
and subjects were asked to “pledge” to promote the survey among friends and family. This recruiting
method yielded a large but highly skewed politicized sample.”… Turban’s defective project “does not
differentiate between diagnostic evaluations or a specific therapeutic intervention. There is also no
information about whether the focus of the encounter was gender dysphoria or another condition.” …
Turban’s analysis is compromised by serious methodological flaws, including …. “reliance on survey
questions with poor validity’… “Turban et al.’s (2020 ) finding of an association between the recall of
GICE and scoring ≥ 13 actually suggests that the USTS participants recalling GICE were more likely to
have a severe mental illnesses diagnosis than those not recalling GICE.”… “Turban’s failure to control
for the subjects’ baseline mental health makes it impossible to determine whether the mental health or
the suicidality of subjects worsened, stayed the same, or potentially even improved after the non-
affirming encounter.”… “Another measure of psychological distress chosen by Turban et al.—substance
misuse—was not significantly different between GICE and the non-GICE group. More importantly, there
is a lack of consistency in the suicide measures. While lifetime suicide attempts were elevated among the
GICE group, total suicide attempts in the prior 12 months, as well as suicide attempts requiring
hospitalization, which generally indicate more serious attempts rather than non-suicidal self-injury, were




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not significantly different between the two groups.”… “Turban et al.’s choice to IMPROPERLY interpret
the said association as evidence of harms of GICE disregards the fact that neither the presence nor the
direction of causation can be discerned from this study due to its cross-sectional design.”… “Arguably,
even more problematic than the flawed analysis itself is the simplistic “affirmation” versus “conversion”
binary, which permeates Turban et al.’s (2020 ) narrative and establishes the foundation for their analysis
and conclusions.” … “at worst, it effectively mis-categorizes ethical psychotherapies (e.g., CBT) that do
not fit the “affirmation” descriptor as conversion therapies. Stigmatizing non-“affirmative”
psychotherapy for GD as “conversion” will reduce access to treatment alternatives for patients seeking non-
biomedical solutions to their distress.”…

2020 - THE TURBAN PEDIATRICS RESEARCH ONLINE SURVEY DEBACLE: See, Turban
JL, King D, Carswell JM, et al. Pubertal Suppression for Transgender Youth and Risk of Suicidal Ideation,
Pediatrics Feb 2020, 145 (2) e20191725; DOI: 10.1542/peds.2019-1725.
         Multiple Letters to the Editor criticized Dr. Turban’s 2020 study in Pediatrics for multiple
methodological errors. https://pediatrics.aappublications.org/content/145/2/e20191725/tab-e-letters#re-
pubertal-suppression-for-transgender-youth-and-risk-of-suicidal-ideation
         Scott S. Field, Den A. Trumbull, RE: Pubertal Suppression for Transgender Youth and Risk of
Suicidal Ideation.
         Patrick H Clarke, RE: Pubertal Suppression for Transgender Youth and Risk of Suicidal Ideation.
         TURBAN used an Unreliable, biased sampling methodology: “Using a cross-sectional online
survey of 20,619 transgender adults aged 18 to 36 years…” [2015 U.S Transgender Survey. Online survey
of transgender and “genderqueer” adults recruited from trans-friendly websites. NO ID, NO evidence of
identities, NO way to measure bogus subjects, NO medical diagnosis for entry. ]… No causation can be
determined from this retrospective, cross-sectional design…. (“…cross-sectional design, does not allow
for determination of causation.”)…. TURBAN failed to even assess Desisters and Regretters … Turban
claimed that desisters and regretters would “not be likely” in this study group, which also only included
adults, so his study “does not include outcomes for people who may have initiated pubertal suppression
and subsequently no longer identify as transgender.” …. “Turban’s misleading (deceptive?) claim of
lower suicidal ideation for treated patients excluded the most seriously mentally ill patients that would have
been DENIED affirmation treatment — “those who received treatment with pubertal suppression, when
compared with those who wanted pubertal suppression but did not receive it, had lower odds of lifetime
suicidal ideation (adjusted odds ratio = 0.3; 95% confidence interval = 0.2– 0.6).”… … Turban appears to
have “forgotten” to report that See, Table 3. Under “Suicidality (past 12 months)” reductions for suppressed
group v non were seen for ideation (50.6% v 64.8%) and “ideation with plan” (55.6% v 58.2%). But suicidal
“ideation with plan and suicide attempt” for the suppressed group INCREASED after treatment to 24.4%
v 21.5% for the non-treatment group.”… The most clinically significant result in this study — that
“Affirmation Treatments INCREASED SERIOUS SUICIDE ATTEMPTS — was IGNORED BY
THE AUTHORS (i.e., not statistically significant but clinically significant) = “Suicide attempts resulting
in inpatient care” = 45.5% for suppression groups v. 22.8% for non. [This is clearly a very “UN-
successful treatment” if 45% attempted suicide! ]. In sum, Turban et al. ignored their own finding that
a history of puberty suppression was associated with an INCREASE in recent serious suicide
attempts.”… In sum, the Turban 2020 Pediatrics study, based on an unverified US Transgender Online
Survey, tells us little about the effects of puberty suppression on children with gender dysphoria. See,
Michael Biggs, Puberty Blockers and Suicidality in Adolescents Suffering from Gender Dysphoria.
Archives of Sexual Behavior, accepted 14 May 2020, DOI: 10.1007/s10508-020-01743-6

2020 - LONDON COURT RULING … “given that the treatment is as yet innovative and
experimental”… CHILDREN HIGHLY UNLIKELY TO BE ABLE TO CONSENT TO
“AFFIRMATION” INTERVENTIONS:




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         See, Dyer, C. , Children are “highly unlikely” to be able to consent to taking puberty blockers,
rules High Court BMJ 2020; 371 doi: https://doi.org/10.1136/bmj.m4699 (Published 01 December 2020)
Cite this as: BMJ 2020;371:m4699
         Children under 16 cannot consent to the use of puberty blockers for gender dysphoria unless
they can understand the immediate and long-term consequences of the treatment, which is unlikely, the
High Court in London has ruled.
         See, also Ruling on the application of Quincy Bell and A v Tavistock and Portman NHS Foundation
Trust and others. [2020] EWHC3274 (Admin). https://www.judiciary.uk/judgments/r-on-the-application-
of-quincy-bell-and-a-v-tavistock-and-portman-nhs-trust-and-others/.
         The legal challenge was brought against the Tavistock and Portman NHS Trust, which runs the
UK’s only gender reassignment service for young people. Keira Bell, 23, who was treated as a teenager,
and “Mrs A,” the mother of a 15 year old with autism who was on the waiting list for treatment, challenged
the service’s policy and practice on the use of puberty blockers. They argued that children were unable to
give informed consent for the treatment.
Victoria Sharp, president of the Queen’s Bench Division, sitting with Lord Justice Lewis and Mrs Justice
Lieven, said it was “highly unlikely” that a child aged 13 or under would be competent to give consent to
the administration of puberty blockers. She said that the judges were “very doubtful” that a child aged 14
or 15 could understand and weigh the long term risks and consequences of the administration of puberty
blockers.
         For children of 16 and over there is a presumption that they have the ability to consent to medical
treatment. But, “given the long term consequences of the clinical interventions at issue in this case, and
given that the treatment is as yet innovative and experimental, we recognise that clinicians may well
regard these as cases where the authorisation of the court should be sought prior to commencing the clinical
treatment,” said Sharp.
         Bell took puberty blockers at age 15 or16 and later was given male hormones and had her breasts
removed. She has since “re-transitioned” back to living in accord with her female sex. Sharp said that
puberty blockers had been prescribed to children as young as 10 years.
         The trust, and other trusts to which it referred patients for treatment, had argued that taking hormone
blockers and later cross sex hormones were entirely separate stages of treatment. Sharp concluded, “It is
said therefore the child needs only to understand the implications of taking puberty blockers alone . . . in
our view this does not reflect the reality. The evidence shows that the vast majority of children who take
puberty blockers move on to take cross sex hormones, that stages 1 and 2 are two stages of one clinical
pathway and, once on that pathway, it is extremely rare for a child to get off it.”

2020 -Schumm and Crawford Review SHOWING SEVERE DEFECTS IN AFFIRMATION
RESEARCH BY Olson et al. 2016b; Durwood, McLaughlin, and Olson 2017 Schumm and Crawford
asked the question: "Is good science being thrown under the bus for the sake of politically correct agendas?"
         As Schumm and Crawford further noted: “The results should have been interpreted as evidence
that even with high levels of parental support, transgender children have lower levels of mental health,
especially with respect to higher levels of anxiety and lower levels of self-worth…
         Negligence, Fraud, or Political Ideology?: In the case of Olson et al. (2016b) and Durwood,
McLaughlin, and Olson (2017), not only were there numerous statistical errors (Schumm et al. 2019), but
a great deal of data and results, including some significant results, were not reported until the authors
were queried. Not reporting significant results may occur but when the apparent conclusion is that there
were not any significant results, leaving out significant findings can be seen as self-serving to the idea of
maintaining support for the null hypothesis regardless of the facts. Is good science being thrown under the
bus for the sake of politically correct agendas? It’s difficult to escape a sense that such is not an uncommon
occurrence in areas of considerable political controversy. One has to wonder what other areas of
controversial science may have been infected with this type of problem.” (See, Schumm, WR and
Crawford, DW, Is Research on Transgender Children What It Seems? Comments on Recent Research on




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Transgender Children with High Levels of Parental Support, The Linacre Quarterly, 2020, Vol. 87(1) 9-24.
DOI: 10.1177/0024363919884799

2020 - GREAT BRITAIN REVIEW OF GENDER AFFIRMATION INTERVENTIONS SHOWS
“VERY LOW” QUALITY EVIDENCE: GB NICE REVIEW OF Oct 2020 - See, Deborah Cohen
and Hannah Barnes for BBC Newsnight - “Evidence for puberty blockers use very low, says NICE”
         The evidence for using puberty blocking drugs to treat young people struggling with their
gender identity is "very low", an official review has found. The National Institute of Health and Care
Excellence (NICE) said existing studies of the drugs were small and "subject to bias and confounding".
The assessment of the evidence into the drugs was commissioned by NHS England. It is part of a review
into      gender      identity      services      for    children     and      young       people.    See,
https://arms.nice.org.uk/resources/hub/1070905/attachment
         NICE found it was difficult to draw conclusions from existing studies because of the way they
had been designed. They were "all small" and didn't have control groups, which are used to directly
compare the effect of different treatments.
         There were other issues with the studies too, such as not describing what other physical and
mental health problems a young person may have alongside gender dysphoria.
         The review said there was "very little data" on any additional interventions - such as counselling
or other drug treatments - the young people may have had alongside taking puberty blockers, and this could
bias the results.
         The impact of puberty blockers on bone density has been raised as a potential concern by some
experts previously. However, NICE found that without a "comparator group", it was not known whether
any observed changes in bone density "are associated with GnRH analogues or due to changes over time".
         Some argue that carrying out a controlled trial - which would provide better quality evidence -
might be difficult because of the potential impact on mental health if treatment is withheld in one group.
NICE accepted this, but said offering psychological support to compare puberty blockers "may reduce
ethical concerns in future trials". The review found no evidence of cost-effectiveness of treatment.
         NICE also reviewed the evidence base for gender-affirming hormones - sometimes known as
cross-sex hormones. See, https://arms.nice.org.uk/resources/hub/1070871/attachment
         The review found the evidence of clinical effectiveness and safety of gender-affirming
hormones was also of "very low" quality. "Any potential benefits of gender-affirming hormones must be
weighed against the largely unknown long-term safety profile of these treatments in children and
adolescents with gender dysphoria," NICE said. Both documents were prepared by NICE in October 2020
and will now help inform Dr Hilary Cass's independent review into NHS gender identity services for
children and young people. See, https://www.bbc.com/news/health-56601386

2020 - THE MALONE, HRUZ, MASON and BECK et al. LETTER TO THE EDITOR
DOCUMENTING RESEARCH DEFECTS IN THE GENDER TRANSITION INDUSTRY:
          See, Malone WJ, Hruz PW, Mason JW, Beck S. Letter to the Editor from William J. Malone:
"Proper Care of Transgender and Gender-Diverse Persons in the Setting of Proposed Discrimination: A
Policy Perspective". The Journal of Clinical Endocrinology & Metabolism. 2020.
          Walch et al. endorse the ES Position that puberty suppression (PS), cross-sex hormones (CSH) and
surgeries are “effective,” “relatively safe,” and have been “established as the standard of care” [2].
However, a growing body of evidence shows adverse effects on bone growth, cardiovascular health, and
fertility, as well as transition regret.
          Walch et al. also endorse the ES Position claiming there is an established “durable biological
underpinning” to gender identity (GI) *2]. However, the first citation supplied by the ES for this position
highlights contradictory studies and describes the biological origin of GD as simply a “current
hypothesis” *7+. The other citation describes GI as a “complex interplay of biological, environmental, and
cultural factors” *8+. Further, the concept of “durability” is challenged by the fact that most cases of GD
in children naturally resolve by adulthood. It is precisely this lack of durability that should give pause to




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administering potentially harmful and often irreversible medical interventions to young patients with
GD.
        The ES Position Statement also overlooks a key fact that the existing body of evidence regarding
treatment outcomes for GD was not only graded as “low quality”, but has been derived from a vastly
different population than the one presenting with GD today. Currently, GD predominantly presents in
adolescent females with no childhood history, in contrast to the prior population which was
predominantly male with early onset of gender dysphoria.
        Walch A, Davidge-Pitts C, Safer JD, Lopez X, Tangpricha V, Iwamoto SJ. Proper Care of
Transgender and Gender Diverse Persons in the Setting of Proposed Discrimination: A Policy Perspective.
J Clin Endocrinol Metab. Jan 23 2021;106(2):305-308. doi:10.1210/clinem/dgaa816
        Hembree WC, Cohen-Kettenis PT, Gooren L, et al. Endocrine Treatment of Gender-
Dysphoric/Gender-Incongruent Persons: An Endocrine Society Clinical Practice Guideline. J Clin
Endocrinol Metab. Nov 1 2017;102(11):3869-3903. doi:10.1210/jc.2017-01658
        Rosenthal SM, Hembree WC, Cohen-Kettenis PT, et al. Response to Letter to the Editor:
"Endocrine Treatment of Gender-Dysphoric/Gender-Incongruent Persons: An Endocrine Society Clinical
Practice Guideline". J Clin Endocrinol Metab. Nov 1 2019;104(11):5102-5103. doi:10.1210/jc.2019-00930

2020 - THE Branstrom DEBACLE - … EXPOSURE OF Branstrom et al’s MULTIPLE, SERIOUS
RESEARCH DEFECTS : Another example of the Gender Transition Industry’s misleading and
deceptive misreporting of incompetent research.
       In 2020, Branstrom, et al, published a research report claiming that “the longitudinal association
between gender-affirming surgery and reduced likelihood of mental health treatment lends support to the
decision to provide gender-affirming surgeries to transgender individuals who seek them.” This research
appeared to be an historic first — empirical evidence that gender transition surgeries demonstrated long-
term benefits. (See, Branstrom, Pachankis: Reduction in mental health treatment utilization among
transgender individuals after gender-affirming surgeries: a total population study. Am J Psychiatry 2020;
177: 727–734. )
       Almost immediately, however, the relevant scientific community — including multiple MD, PhD
methodology experts — exposed the Branstrom study as a series of methodological blunders and/or
manipulative deceptions. Multiple science experts concluded that, “These methodological shortcomings
preclude any statement on the suitability of early surgery in persons seeking treatment for gender non-
congruence based on the results presented in this article.” They also noted evidence supporting the theory
that these “errors” could well be purposeful and designed to support an ideological perspective when they
noted, “people diagnosed with gender incongruence have a dramatically worse overall mental health
outcome (after “transitioning” treatments) than the general population, which is, in fact, the answer to their
stated aim and research question, but this ( most essential ) finding is not even referred to in the title or in
the Conclusions section of the article.”( See, Kalin, N.H., Reassessing Mental Health Treatment Utilization
Reduction in Transgender Individuals After Gender-Affirming Surgeries: A Comment by the Editor on the
Process by the Editor-in-Chief The American Journal of Psychiatry, Am J Psychiatry 2020; 177:764; doi:
10.1176/appi.ajp.2020.20060803; See also, Anckarsäter, H., (MD, Ph.D. ) and Gillberg, C., (M.D., Ph.D.
) Methodological Shortcomings Undercut Statement in Support of Gender-Affirming Surgery, Am J
Psychiatry 2020; 177:764–765; doi: 10.1176/appi.ajp.2020.19111117 .
       Additional methodology experts noted other serious flaws in the Branstrom study including : “For
those whose last surgery was 10 or more years earlier, how many completed suicide, died of other causes,
or left Sweden prior to study initiation?” The authors failed to find out (or hid negative results). The
methodology experts also noted, "A drop in hospitalizations for suicide attempts alone provides a very
incomplete picture. When the data for such findings are accessible in the Swedish national registers, this
omission is glaring. The lack of control subjects, the limited 1-year time frame, and the avoidance of
examining completed suicides and psychiatric hospitalizations are substantial study shortfalls.”…”The
study supports only weak conclusions about psychiatric medication usage and nothing decisive about
suicidality. In overlooking so much available data, this study lacks the evidence to support its pro gender-




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affirmation surgery conclusion.” See, Van Mol, A., Laidlaw, M. K., Grossman, M., McHugh, P.
, Gender-Affirmation Surgery Conclusion Lacks Evidence, Am J Psychiatry 177:8, August 2020
ajp.psychiatryonline.org 765.
       Additional methodology experts noted that “The study confirms the strong association between
psychiatric morbidity and the experience of incongruity between gender identity and biological sex.
However, the Branstrom study does not demonstrate that either hormonal treatment or surgery has any
effect on this morbidity. It seems that the main message of this article is that the incidence of mental health
problems and suicide attempts is especially HIGH in the year AFTER the completion of gender-affirming
surgery [ It is telling that the authors somehow ignored this most essential finding -Note this appears to be
more potential evidence of deception, research fraud, and/or licensing violations.] …” See, Curtis, D.
(M.D., Ph.D. ), Study of Transgender Patients: Conclusions Are Not Supported by Findings, Am J
Psychiatry 2020; 177:766; doi: 10.1176/appi.ajp.2020.19111131.
       Still more reviewers concluded, “The data presented in Figure 1 in the article support findings from
previous studies showing that transgender individuals have baseline mental health distress that is higher
than that of the general population, but it is not possible to conclude from these data whether gender-
affirming surgery relieves that distress.”… “Because of the limitations in the study design, it is not
possible to determine the cause of the differences in mental health service utilization or whether true
reductions in psychological distress actually occurred. ( They failed to even measure increased suicides, etc
) … “Therefore, the authors ’conclusion that the results of their study should be interpreted to support
policies that provide gender-affirming surgeries cannot be supported.” See, Malone, W. and Roman, S. ,
Calling Into Question Whether Gender-Affirming Surgery Relieves Psychological Distress, Am J
Psychiatry 2020; 177:766–767; doi: 10.1176/appi.ajp.2020.19111149.
       Finally, yet another (MD, PhD) reviewer noted in detail… “The Branstrom and Pachankis study on
mental health treatment and suicide attempts … is misleading because the study design is flawed.” “The
authors first found what was already known … the rate of psychiatric morbidity is much higher in persons
with gender dysphoria compared with the general population (both before AND after “transitioning”).
The authors then explored if the risk for mental health treatment changes as a function of years since starting
HORMONAL treatment. They find NO effect (odds ratio = 1.0), but they do find a trend toward
INCREASED risk of suicide attempts as a function of years since starting HORMONAL treatment. They
somehow failed to publish this essential finding. [Note … more potential evidence of deception, research
fraud, or licensing violations.] In their key analysis, allegedly showing that gender-affirming surgery
decreases risk for psychiatric treatment and suicide attempts, they relate these negative outcomes to the
number of years since surgery. Contrary to what the authors repeatedly claim, they do not employ a
longitudinal design but conduct a retrospective analysis unfit for their research question. First, the
authors include only persons who were alive in 2014. That means that those who died by SUICIDE before
2014—and hence were at highest risk for suicide attempt—are EXCLUDED from the data and confound
the results. [Note …this appears to be still more potential evidence of deception, research fraud, and/or
licensing violations.] Second, any analysis starting with a negative event is bound to find a decreased risk
for related negative outcomes with increasing time after the event. To exemplify this point, the rate of
antidepressant treatment would decrease with time after a suicide attempt. This does not mean that suicide
attempts cause a decrease in risk of antidepressant treatment; it is merely a case of regression toward the
mean. Third, persons undergoing gender transition have, by definition, contact with mental health services
in Sweden. After the transition, persons are followed up by endocrinologists and sometimes general
practitioners; only those with persistent mental health issues are followed in psychiatric care. The authors ’
finding of lower rates of mental health treatment with increasing time after surgery is therefore not only a
case of regression toward the mean, but it also follows from the standards of care and is not a proxy for
improved mental health. Because the authors do not present data prior to gender affirming surgery, the
study is uninformative with regard to the effects on psychiatric morbidity. Moreover, the authors miss
the one conclusion that can be drawn: that the perioperative transition period seems to be associated
with HIGH risk for SUICIDE attempt. [Note … still more potential evidence of deception, research fraud,
or licensing violations.] Future research should use properly designed observational studies to answer




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the important question as to whether gender-affirming treatment affects psychiatric
outcomes.” See, Landén, M. (M.D., Ph.D. ) The Effect of Gender-Affirming Treatment on Psychiatric
Morbidity       Is     Still    Undecided,       Am      J    Psychiatry      2020;      177:767–768;       doi:
10.1176/appi.ajp.2020.19111165.
       Yet another MD, PhD expert severely criticized the Branstrom, et. al. study noting : The results
confirm what is already known, that is, that as a group, persons with gender dysphoria suffer from poorer
psychiatric health than the general population. However, the title of the article implies that gender corrective
surgery promotes mental health in this group, and the authors conclude in the Abstract section that the study
“lends support to the decision to provide gender affirming surgeries to transgender individuals who seek
them.” In my opinion, this conclusion is not supported by the data presented in the article. [Note … more
potential evidence of deception, research fraud, or licensing violations.] The most straightforward method
to test whether surgery contributes to better psychological health would be to compare the health of those
who underwent surgery with those who did not. Of the persons diagnosed with gender dysphoria presented
in the article, 1,018 had undergone surgery, while 1,661 had not. There were 22 individuals who were
hospitalized in 2015 for a suicide attempt. The authors do not state how many of these individuals had
received surgery, but this may be calculated by combining the data from Table 3 and Figure 1 in the article.
Figure 1 shows the proportion of persons with gender dysphoria who were hospitalized for suicide attempt
in 2015, grouped according to the time that had elapsed since the last gender-corrective surgery. Table 3
shows the number of individuals with gender dysphoria, grouped according to the time elapsed since last
surgical operation (“Time since last gender-affirming surgical treatment”). By combining these data, we
can calculate that 10 of the suicide attempts (2.8% of 353) occurred during the same year that the last
surgical correction was made (“perioperative” group in Figure 1). Two cases occurred 1 year after the last
surgical correction (0.9% of 221) and one case 2–3 years after the last surgical treatment (0.5% of 198),
while none occurred more than 3 years after the last surgery. Thus, 13 individuals (10 plus two plus one)
of the 22 persons who were hospitalized for a suicide attempt in 2015 had undergone gender corrective
surgery. Consequently, nine of them (22 minus 13) had not undergone any gender-affirmation surgery. This
corresponds to an odds ratio of 2.37 (95% CI= 1.01–5.56, p=0.047 ). Hence, among the individuals
examined in the study, the risk of being hospitalized for a SUICIDE ATTEMPT was 2.4 times HIGHER
if they had undergone gender-corrective surgery than if they had not. [Note this key finding was
apparently hidden or not noticed by the authors … more potential evidence of deception, research fraud,
or licensing violations by the research authors.] Whether these factors involve a causal relationship (i.e.,
that surgery actually worsens the poor mental health in individuals with gender dysphoria) cannot be
determined from such a study. Nevertheless, the data presented in the article do not support the conclusion
that surgery is beneficial to mental health in individuals with gender dysphoria.” See, Wold, A. (M.D.,
Ph.D.) Gender-Corrective Surgery Promoting Mental Health in Persons With Gender Dysphoria Not
Supported by Data Presented in Article, Am J Psychiatry 2020; 177:768; doi:
10.1176/appi.ajp.2020.19111170.
       In addition, yet another pair of reviewers severely criticized the Branstrom study noting : “ The
qualitative approximation of this curve with the reduction described by Branstrom and Pachankis (in their
Figure 1) is striking. Therefore, accounting for the increase in mental health issues from 2005, together with
an assumption of INCREASED mental health treatment due to this surgery, fits the data in the article and
OVERTURNS the authors stated conclusions, [Note … more potential evidence of deception, research
fraud, or licensing violations by the research authors.] suggesting that sex reassignment surgery is in
fact associated with INCREASED mental health treatment. See, Ring, A. (PhD) and Malone,
W., Confounding Effects on Mental Health Observations After Sex Reassignment Surgery, Am J
Psychiatry 2020; 177:768–769; doi: 10.1176/appi.ajp.2020.19111169.
       It should be noted, that after this very public exposure of the Branstrom Debacle by multiple expert
reviews, the research authors admitted their conclusions were in error (confessed) and that “more
research” is needed to answer the question of whether Gender Transition Industry treatments are helpful
or harmful, long-term. The authors admitted, “Studies employing prospective cohort designs are
needed to better understand suicidality within this group and its associations with gender-affirming




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care… (and)… When comparing the mental health treatment outcomes between the two groups (Table 1),
we found no significant difference in the prevalence of treatment for mood disorders and no significant
difference in the prevalence of hospitalization-suicide attempts. “ and stunningly they admitted they
had failed to note that “individuals diagnosed with gender incongruence who had received gender-
affirming surgery were MORE likely to be treated for ANXIETY disorder compared with individuals
diagnosed with gender incongruence who had NOT received gender-affirming surgery. ’and “While the
design clearly establishes that individuals diagnosed with gender incongruence utilized more mental health
care than the general population in 2015, especially during the perioperative period, like most extant
research on the topic, the design is incapable of establishing a causal effect of gender affirming care
on mental health treatment utilization. This retreat and mea culpa was published as Branstrom, R. and
Pachankis, J. , Toward Rigorous Methodologies for Strengthening Causal Inference in the Association
Between Gender-Affirming Care and Transgender Individuals ’Mental Health: Response to Letters, Am J
Psychiatry 2020; 177:769–772; doi: 10.1176/appi.ajp.2020.20050599.
       [Underlines, italics, and emphases above are added]
       In sum, like the Branstrom Debacle … too many ideologically tainted and methodologically
defective research studies suffer from these kinds of serious errors, improper analyses and harmfully
deceptive reports. Such poorly designed and improperly conducted research studies continue to prevent
gender transition “affirmation” treatments from being generally accepted by the relevant scientific
community. Finally, the Error Rates for such unproven, experimental “treatments” as well as for the
foundational politically-based transgender ideology, are unknown, un-peer-reviewed, and
unpublished. [Note: Compare the multiple, scathing reviews by international scientist experts above to Dr
Brown’s and Dr Schechter’s misleading and incomplete expert declarations for the plaintiffs in this case.]

2021 - The Singh, Bradley, and Zucker study — the largest sample to date - found support for the
“watchful waiting” no affirmation treatment approach combined when needed with psychotherapy and
coping-resilience training.
         This research supports the view that an aggressive, intrusive “affirmation” of the Gender
Transition Industry’s “transitioning treatments” is an unethical, experimental practice which brings an
unnecessarily high risk of causing serious, lasting harm to most such children.
         In a follow-up study reviewing data on the largest sample to date of boys clinic-referred for
gender dysphoria (n = 139) with regard to gender identity and sexual orientation. At follow-up, gender
identity/dysphoria was assessed via multiple methods with participants classified as persisters or desisters).
Of the 139 participants, 17 (12.2%) were classified as persisters and the remaining 122 (87.8%) were
classified as desisters, that is, patients who grew out of their gender dysphoric symptoms and came to accept
their natal gender without further symptoms.
         Clearly, given that the vast majority of these patients were on a natural developmental path to
healthy adjustment without treatment, it would be unethical to engage in an intrusive “affirmation”
treatment program using hormones and/or surgery that would be LIKELY to disrupt normal
developmental processes producing iatrogenic (treatment caused injuries) harm to many patients. See,
Devita Singh1, Susan J. Bradley 2 and Kenneth J. Zucker, Frontiers in Psychiatry, March 2021, Volume
12, Article 632784, www.frontiersin.org.
         In addition, these authors discussed the previous 9 studies with sample sizes (excluding those lost
to follow-up) ranging from 6 to 79 subjects (Mean age, 26 years). Most of these studies also provided the
age at time of first evaluation in childhood, which ranged from a mean of 7 years (47) to a mean of 9 years
(48), with an age range from 4 to 12 years. At the time of follow-up, using different metrics (e.g., clinical
interview, maternal report, dimensional measurement of gender dysphoria, a DSM diagnosis of GID, etc.),
these studies provided information on the percentage of boys who continued to have gender
dysphoria (herein termed “persisters”) and the percentage of boys who did not (herein termed
“desisters” of those who grew out of dysphoria ). Of the 53 boys culled from the relatively small sample
size studies (Bakwin, Davenport, Kosky, Lebovitz, Money and Russo, Zuger), the percentage classified as
persisters was 9.4% (age range at follow-up, 13–30 years). In Green (47), the percentage of persisters was




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2% (total n = 44; Mean age at follow-up, 19 years; range, 14–24); in Wallien and Cohen-Kettenis (52), the
percentage of persisters was 20.3% (total n = 59; Mean age at follow-up, 19.4 years; range, 16–28); and in
Steensma et al. (51), the percentage of persisters was 29.1% (total n = 79; Mean age at follow-up, 16.1
years; range, 15–19). Across all studies, the percentage of persisters was 17.4% (total N = 235), with a
range from 0 to 29.1%. See, Devita Singh1, Susan J. Bradley 2 and Kenneth J. Zucker, Frontiers in
Psychiatry, March 2021 | Volume 12 | Article 632784, www.frontiersin.org,
         These studies appear to support a “watchful waiting” treatment approach combined when
needed with psychotherapy and/or coping-resilience training. An aggressive, intrusive “affirmation” of
transitioning treatment model appears highly unethical and produces an unnecessarily high risk of
causing serious, lasting harm to MOST of these patients.

2021-2020 CARMICHAEL STUDY (2020 also) — HORMONE TREATMENTS DO NOT HELP
CHILDREN WITH GENDER DYSPHORIA… BUT DO STUNT GROWTH:
        See, Carmichael P, Butler G, Masic U, et al. Short-term outcomes of pubertal suppression in a
selected cohort of 12 to 15 year old young people with persistent gender dysphoria in the UK.
medRxiv 2020.12.01.20241653; doi:https://doi.org/10.1101/2020.12.01.20241653 and Dyer, C. Puberty
blockers do not alleviate negative thoughts in children with gender dysphoria, finds study. BMJ 372, n356,
doi:10.1136/bmj.n356 (2021). https://www.medrxiv.org/content/10.1101/2020.12.01.20241653v1 BBC
summary: https://www.bbc.com/news/uk-55282113journal.pone.0243894. pmid:33529227
Results 44 patients had data at 12 months follow-up, 24 at 24 months and 14 at 36 months. All had normal
karyotype and endocrinology consistent with birth-registered sex. All achieved suppression of
gonadotropins by 6 months. At the end of the study one ceased GnRHa and 43 (98%) elected to start cross-
sex hormones….“We identified no changes in psychological function. Changes in BMD were consistent
with suppression of growth. Larger and longer-term prospective studies using a range of designs are
needed to more fully quantify the benefits and harms of pubertal suppression in GD.”
        Self-harm did NOT improve and “no changes in psychological function,” meaning no
improvement. (Also, “YSR [Youth Self Report] data at 36 months (n = 6) were not analyzed.”
        “We found no differences between baseline and later outcomes for overall psychological
distress as rated by parents and young people, nor for self-harm.”
        CONCLUSION: “We found no evidence of change in psychological function with GnRHa
treatment as indicated by parent report (CBCL) or self-report (YSR) of overall problems, internalizing
or externalizing problems or self-harm….”
        Puberty blockers used to treat children aged 12 to 15 who have severe and persistent gender
dysphoria had no significant effect on their psychological function, thoughts of self-harm, or body
image, a study has found.
        However, as expected, the children experienced reduced growth in height and bone strength by
the time they finished their treatment at age 16. The findings, from a study of 44 children treated by the
Gender Identity Development Service (GIDS) run by the Tavistock and Portman NHS Foundation Trust in
London, have emerged as the trust prepares to appeal against a High Court ruling that led NHS England to
pause referrals of under 16s for puberty blockers.
        Media = See, Dyer, C. Puberty blockers: children under 16 should not be referred without court
order, says NHS England. BMJ2020;371:m4717.doi:10.1136/bmj.m4717 pmid:33268453FREE Full
TextGoogle Scholar
       Media = See, Dyer, C., Puberty blockers do not alleviate negative thoughts in children with gender
dysphoria, finds study, BMJ 2021;372:n356 doi: https://doi.org/10.1136/bmj.n356 (Published 08
February 2021)


      82. SUMMARY OPINIONS:




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      — There are no long-term, peer-reviewed published, reliable and valid, research studies

documenting the number or percentage of patients receiving gender affirming medical

interventions who are helped by such procedures.

      — There are no long-term, peer-reviewed published, reliable and valid, research studies

documenting the number or percentage of patients receiving gender affirming medical

interventions who are injured or harmed by such procedures.

      — There are no long-term, peer-reviewed published, reliable and valid, research studies

documenting the reliability and validity of assessing gender identity by relying solely upon the

expressed desires of a patient.

      — There are no long-term, peer-reviewed published, reliable and valid, research studies

documenting any valid and reliable biological, medical, surgical, radiological, psychological, or

other objective assessment of gender identity or gender dysphoria.

      — A currently unknown percentage and number of patients reporting gender dysphoria

suffer from mental illness(es) that complicate and may distort their judgments and perceptions of

gender identity.

      — A currently unknown percentage and number of patients reporting gender dysphoria are

being manipulated by a — peer group, social media, YouTube role modeling, and/or parental —

social contagion and social pressure processes.

      — Patients suffering from gender dysphoria or related issues have a right to be protected

from experimental, potentially harmful treatments lacking reliable and valid, peer reviewed,

published, long-term scientific evidence of safety and effectiveness.

      — It would be a serious violation of licensing rules, ethical rules, and professional standards

of care for a health care professional to provide gender transition or related procedures to any




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patient without first properly obtaining informed consent including informing the patient and/or

guardian(s) of the lack of valid and reliable on the long-term risks and benefits of “affirmation”

treatments.

      — A large percentage of children (over 80% in some studies) who questioned their gender

identity will, if left alone, develop an acceptance of their natal (biological) sex.

      — Medical treatments may differ significantly by sex according to chromosomal assessment

but not gender identity. Misinforming physicians of a patient’s biological sex can have deleterious

effects on treatment for medical conditions.

      — NOT GENERALLY ACCEPTED:                   Affirmation medical treatments — hormones and

surgery — for gender dysphoria and “transitioning” have not been accepted by the relevant

scientific communities (biology, genetics, neonatolgy, medicine, psychology, etc).

      — NO KNOWN NOR PUBLISHED ERROR RATES: Gender transition “Affirmation”

medical assessments and treatments — hormones and surgery — for gender dysphoria and

“transitioning” have no known, peer reviewed and published error rates — the treatments and

assessment methods lack demonstrated, reliable and valid error rates.

      — POLITICS v. SCIENCE: Political activists, political activist physicians, and politically

active medical organizations that operate by voting methodologies (e.g, WPATH, the American

Medical Association, the American Academy of Pediatrics, the American Endocrine Society) are

not the relevant scientific community, they are politically active professional organizations. These

organizations operate via consensus-seeking methodology (voting) and political ideologies (e.g.,

Critical Theory) rather than evidence-based scientific methodologies.




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PAUL W. HRUZ, M.D., Ph.D.



THE END




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                                               Exhibit A
                                          Curriculum Vitae
Date: 04/29/2021 09:26 AM
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               St Louis MO 63110

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Present Position

Associate Professor of Pediatrics, Endocrinology and Diabetes
Associate Professor of Pediatrics, Cell Biology & Physiology

Education

1987           BS, Chemistry, Marquette University, Milwaukee, WI
1993           PhD, Biochemistry, Medical College of Wisconsin, Milwaukee, WI
               Elucidation of Structural, Mechanistic, and Regulatory Elements in 3-Hydroxy-3-
               Methlyglutaryl-Coenzyme A Lyase, Henry Miziorko
1994           MD, Medicine, Medical College of Wisconsin, Milwaukee, WI
1994 - 1997    Pediatric Residency, University of Washington, Seattle, Washington
1997 - 2000    Pediatric Endocrinology Fellowship, Washington University, Saint Louis, MO
2017           Certification in Healthcare Ethics, National Catholic Bioethics Center, Philadelphia, PA

Academic Positions / Employment

1996 - 1997    Locum Tenens Physician, Group Health of Puget Sound Eastside Hospital, Group Health of
               Puget Sound Eastside Hospital, Seattle , WA
2000 - 2003    Instructor in Pediatrics, Endocrinology and Diabetes, Washington University in St. Louis, St.
               Louis, MO
2003 - 2011    Assistant Professor of Pediatrics, Endocrinology and Diabetes, Washington University in St.
               Louis, St. Louis, MO
2004 - 2011    Assistant Professor of Pediatrics, Cell Biology & Physiology, Washington University in St.
               Louis, St. Louis, MO
2011 - Pres    Associate Professor of Pediatrics, Cell Biology & Physiology, Washington University in St.
               Louis, St. Louis, MO




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2011 - Pres     Associate Professor of Pediatrics, Endocrinology and Diabetes, Washington University in St.
                Louis, St. Louis, MO
2012 - 2017     Division Chief, Endocrinology and Diabetes, Washington University in St. Louis, St. Louis,
                MO

Clinical Title and Responsibilities

                General Pediatrician, General Pediatric Ward Attending: 2-4 weeks per year, St. Louis
                Children's Hospital
2000 - Pres     Pediatric Endocrinologist, Endocrinology Night Telephone Consult Service: Average of 2-6
                weeks/per yr, St. Louis Children's Hosptial
2000 - Pres     Pediatric Endocrinologist, Inpatient Endocrinology Consult Service: 4-6 weeks per year, St.
                Louis Children's Hospital
2000 - Pres     Pediatric Endocrinologist, Outpatient Endocrinology Clinic: Approximately 50 patient visits
                per month, St. Louis Children's Hospital

Teaching Title and Responsibilities

2009 - Pres     Lecturer, Markey Course-Diabetes Module
2020 - 2020     Facilitator, Reading Elective-Interdisciplinary/Miscellaneous Course #M80-800, Washington
                University School of Medicine

University, School of Medicine and Hospital Appointments and Committees

University
2012 - 2020     Disorders of Sexual Development Multidisciplinary Care Program

School of Medicine
2013 - 2020     Molecular Cell Biology Graduate Student Admissions Committee
2014 - Pres     Research Consultant, ICTS Research Forum - Child Health
2020 - Pres     WU ICTS Clinical and Translational Research Funding Program (CTRFP) Review
                Committee

Department/Division
2008 – 2016     Director, Pediatric Endocrinology & Diabetes Fellowship Program
2014 – 2017     Director, Pediatric Diabetes Research Consortium

Hospital
2000 - Pres     Attending Physician, St. Louis Children's Hospital

Medical Licensure and Certifications

1997 - Pres     Board Certified in General Pediatrics
2000 - Pres     MO State License #2000155004
2001 - Pres     Board Certified in Pediatric Endocrinology & Metabolism




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Honors and Awards

1987               National Institute of Chemists Research and Recognition Award
1987               Phi Beta Kappa
1987               Phi Lambda Upsilon (Honorary Chemical Society)
1988               American Heart Association Predoctoral Fellowship Award
1994               Alpha Omega Alpha
1994               Armond J. Quick Award for Excellence in Biochemistry
1994               NIDDK/Diabetes Branch Most Outstanding Resident
1998               Pfizer Postdoctoral Fellowship Award
2002               Scholar, Child Health Research Center of Excellence in Developmental Biology at
                   Washington University
2013               Julio V Santiago, M.D. Scholar in Pediatrics
2017               Redemptor Hominis Award for Outstanding Contributions to the Study of Bioethics
2018               Eli Lilly Outstanding Contribution to Drug Discovery: Emerging Biology Award
2018               Scholar-Innovator Award, Harrington Discovery Institute

Editorial Responsibilities

Editorial Ad Hoc Reviews
                   AIDS
                   AIDS Research and Human Retroviruses
                   American Journal of Pathology
                   American Journal of Physiology
                   British Journal of Pharmacology
                   Circulation Research
                   Clinical Pharmacology & Therapeutics
                   Comparative Biochemistry and Physiology
                   Diabetes
                   Experimental Biology and Medicine
                   Future Virology
                   Journal of Antimicrobial Chemotherapy
                   Journal of Clinical Endocrinology & Metabolism
                   Journal of Molecular and Cellular Cardiology
                   Obesity Research
2000 - Pres        Journal of Biological Chemistry
2013 - Pres        PlosOne
2016 - Pres        Scientific Reports
2018 - Pres        Nutrients

Editorial Boards
2014               Endocrinology and Metabolism Clinics of North America

Community Service Contributions


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2009 - 2017    Boy Scouts of America CPR Red Card Training


Professional Societies and Organizations
 1992 - 2004    American Medical Association
 1994 - 2005    American Academy of Pediatrics
 1995 - 2014    American Association for the Advancement of Science
 1998 - Pres    American Diabetes Association
 1998 - Pres    Endocrine Society
 1999 - Pres    Pediatric Endocrine Society
 2004 - 2007    American Chemical Society
 2004 - 2018    American Society for Biochemistry and Molecular Biology
 2004 - 2020    Society for Pediatric Research
 2005 - 2020    Full Fellow of the American Academy of Pediatrics
 2013 - Pres    International Society for Pediatric and Adolescent Diabetes
 2017 - Pres    Catholic Medical Association
 2018 - Pres    American College of Pediatricians
 2019 - Pres    Society of Catholic Scientists

Major Invited Professorships and Lectures

 2002           Pediatric Grand Rounds, St. Louis Children's Hospital, St Louis, MO
 2004           National Disease Research Interchange, Human Islet Cell Research Conference, Philadelphia,
                PA
 2004           NIDA-NIH Sponsored National Meeting on Hormones, Drug Abuse and Infections, Bethesda,
                MD
 2005           Endocrine Grand Rounds, University of Indiana, Indianapolis, IN
 2005           The Collaborative Institute of Virology, Complications Committee Meeting, Boston, MA
 2006           Metabolic Syndrome Advisory Board Meeting, Bristol-Meyers Squibb, Pennington, NJ
 2007           American Heart Association and American Academy of HIV Medicine State of the Science
                Conference: Initiative to Decrease Cardiovascular Risk and Increase Quality of Care for
                Patients Living with HIV/AIDS, Chicago, IL
 2007           Minority Access to Research Careers Seminar, University of Arizona, Tucson, AZ
 2007           MSTP Annual Visiting Alumnus Lecture, Medical College of Wisconsin , Milwaukee, WI
 2007           Pediatric Grand Rounds, St Louis Children’s Hospital, St Louis, MO
 2008           Division of Endocrinology, Diabetes and Nutrition Grand Rounds, Boston University,
                Boston, MA
 2009           Pediatric Grand Rounds, St Louis Children's Hospital, St. Louis, MO
 2010           American Diabetes Association Scientific Sessions, Symposium Lecture Orlando, FL
 2010           School of Biological Sciences Conference Series, University of Missouri Kansas City, Kansas
                City, MO
 2011           Life Cycle Management Advisory Board Meeting, Bristol-Myers Squibb,, Chicago, IL
 2013           Pediatric Grand Rounds, St Louis Children's Hospital, ST LOUIS, MO
 2013           Clinical Practice Update Lecture, St Louis Children's Hospital, St Louis, MO
 2014           Pediatric Academic Societies Meeting, Vancouver, Canada


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2014          American Diabetes Association 74th Scientific Sessions, , San Francisco, CA
2017          Division of Pediatric Endocrinology Metabolism Rounds, University of Michigan, Ann
              Arbor, MI
2017          Catholic Medical Association National Conference, Denver, CO
2018          Obstetrics, Gynecology & Women's Health Grand Rounds, Saint Louis University, St. Louis,
              MO
2018          Medical Grand Rounds, Sindicato Médico del Uruguay, Montevideo, Uraquay
2018          Internal Medicine Grand Rounds, Texas Tech , Lubbock, TX
2019          Veritas Center for Ethics in Public Life Conference, Franciscan University, Steubenville, OH
2019          MaterCare International Conference, Rome, Italy
2019          Child Health Policy Forum, Notre Dame University, South Bend , IN
2021          Obstetrics & Gynecology Grand Rounds, University of Tennessee, Knoxville , TN

Consulting Relationships and Board Memberships

1996 - 2012   Consultant, Bristol Myers Squibb
1997 - 2012   Consultant, Gilead Sciences

Research Support

Completed Governmental Support
2001 - 2006   K-08 A149747, NIH
              Mechanism of GLUT4 Inhibition by HIV Protease Inhibitors
              Role: Principal Investigator
2007 - 2012   R01
              Mechanisms for Altered Glucose Homeostasis During HAART
              Role: Principal Investigator
              Total cost: $800,000.00
2009 - 2011   R01 Student Supp
              Mechanisms for Altered Glucose Homeostasis During HAART
              Role: Principal Investigator
              Total cost: $25,128.00
2009 - 2014   R01
              Direct Effects of Antiretroviral Therapy on Cardiac Energy Homeostasis
              Role: Principal Investigator
              Total cost: $1,250,000.00
2017 - 2019   R-21 1R21AI130584 , National Institutes of Health
              SELECTIVE INHIBITION OF THE P. FALCIPARUM GLUCOSE TRANSPORTER PFHT
              Role: Principal Investigator
              Total cost: $228,750.00

Completed Non-Governmental Support
2015          Novel HIV Protease Inhibitors and GLUT4
              Role: Principal Investigator




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2008 - 2011        II
                   Insulin Resistance and Myocardial Glucose Metabolism in Pediatric Heart Failure
                   Role: Co-Investigator
                   PI: Hruz
                   Total cost: $249,999.00
2009 - 2012        Research Program
                   Regulation of GLUT4 Intrinsic Activity
                   Role: Principal Investigator
                   Total cost: $268,262.00
2010 - 2011        Protective Effect of Saxagliptin on a Progressive Deterioration of Cardiovascular Function
                   Role: Principal Investigator
2012 - 2015        II
                   Solution-State NMR Structure and Dynamics of Facilitative Glucose Transport Proteins
                   Role: Principal Investigator
                   Total cost: $375,000.00
2017 - 2020        Prevention And Treatment Of Hepatic Steatosis Through Selective Targeting Of GLUT8
                   Role: Co-Principal Investigator
                   PI: DeBosch
                   Total cost: $450,000.00
2018 - 2021        LEAP Innovator Challenge
                   Novel Treatment of Fatty Liver Disease
                   Role: Principal Investigator
                   Total cost: $68,500.00

Current Non-Governmental Support
2017 - 2021        Matching Micro Grant
                   Novel Treatment of Fatty Liver Disease (CDD/LEAP)
                   Role: Principal Investigator
                   Total cost: $68,500.00
2019 - 2021        Scholar-Innovator Award HDI2019-SI-4555 , Harrington Foundation
                   Novel Treatment of Non-Alcoholic Fatty Liver Disease
                   Role: Principal Investigator
                   Total cost: $379,000.00

Pending Non-Governmental Support
2015               Novel HIV Protease Inhibitors and GLUT4
                   Role: Principal Investigator

Trainee/Mentee/Sponsorship Record

Current Trainees
2019               Ava Suda, Other, Pre-med

Past Trainees
2002 - 2002        Nishant Raj- Undergraduate Student, Other
                   Study area: Researcher




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2002 - 2010   Joseph Koster, PhD, Postdoctoral Fellow
              Study area: Researcher
2003 - 2004   Johann Hertel, Medical Student
              Study area: Research
              Present position: Assistant Professor, University of North Carolina, Chapel Hill, NC
2003 - 2003   John Paul Shen, Medical Student
              Study area: Research
2004 - 2005   Carl Cassel- High School Student, Other
              Study area: Research
2004 - 2004   Christopher Hawkins- Undergraduate Student, Other
              Study area: Researcher
2004 - 2004   Kaiming Wu- High School Student, Other
              Study area: Research
2005 - 2005   Helena Johnson, Graduate Student
2005 - 2005   Jeremy Etzkorn, Medical Student
              Study area: Researcher
2005 - 2005   Dominic Doran, DSc, Postdoctoral Fellow
              Study area: HIV Protease Inhibitor Effects on Exercize Tolerance
2006 - 2006   Ramon Jin, Graduate Student
              Study area: Research
2006 - 2006   Taekyung Kim, Graduate Student
              Study area: Research
2007 - 2007   Jan Freiss- Undergraduate Student, Other
              Study area: Researcher
2007 - 2008   Kai-Chien Yang, Graduate Student
              Study area: Research
              Present position: Postdoctoral Research Associate, University of Chicago
2007 - 2007   Paul Buske, Graduate Student
              Study area: Research
2007 - 2007   Randy Colvin, Medical Student
              Study area: Researcher
2008 - 2011   Arpita Vyas, MD, Clinical Fellow
              Study area: Research
              Present position: Assistant Professor, Michigan State University, Lansing MI
2008 - 2009   Candace Reno, Graduate Student
              Study area: Research
              Present position: Research Associate, University of Utah
2008 - 2012   Dennis Woo- Undergraduate Student, Other
              Study area: Researcher
              Present position: MSTP Student, USC, Los Angeles CA
2008 - 2008   Temitope Aiyejorun, Graduate Student
              Study area: Research
2009 - 2009   Anne-Sophie Stolle- Undergraduate Student, Other
              Study area: Research
2009 - 2009   Matthew Hruz- High School Student, Other
              Study area: Research
              Present position: Computer Programmer, Consumer Affairs, Tulsa OK


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2009 - 2009        Stephanie Scherer, Graduate Student
                   Study area: Research
2010 - 2014        Lauren Flessner, PhD, Postdoctoral Fellow
                   Present position: Instructor, Syracuse University
2010 - 2010        Constance Haufe- Undergraduate Student, Other
                   Study area: Researcher
2010 - 2011        Corinna Wilde- Undergraduate Student, Other
                   Study area: Researcher
2010 - 2010        Samuel Lite- High School Student, Other
                   Study area: Research
2011 - 2016        Thomas Kraft, Graduate Student
                   Study area: Glucose transporter structure/function
                   Present position: Postdoctoral Fellow, Roche, Penzberg, Germany
2011 - 2011        Amanda Koenig- High School Student, Other
                   Study area: Research
2011 - 2012        Lisa Becker- Undergraduate Student, Other
2011 - 2011        Melissa Al-Jaoude- High School Students, Other
2014 - 2014        David Hannibal, Clinical Research Trainee

Bibliography

Journal Articles
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         labeling of the Pseudomonas mevalonii enzyme and assignment of cysteine-237 to the active site.
         Biochemistry. 1992;31(29):6842-7. PMID:1637819
      2. Hruz PW, Miziorko HM. Avian 3-hydroxy-3-methylglutaryl-CoA lyase: sensitivity of enzyme
         activity to thiol/disulfide exchange and identification of proximal reactive cysteines. Protein Sci.
         1992;1(9):1144-53. doi:10.1002/pro.5560010908 PMCID:PMC2142181 PMID:1304393
      3. Mitchell GA, Robert MF, Hruz PW, Wang S, Fontaine G, Behnke CE, Mende-Mueller LM,
         Schappert K, Lee C, Gibson KM, Miziorko HM. 3-Hydroxy-3-methylglutaryl coenzyme A lyase
         (HL). Cloning of human and chicken liver HL cDNAs and characterization of a mutation causing
         human HL deficiency. J Biol Chem. 1993;268(6):4376-81. PMID:8440722
      4. Hruz PW, Anderson VE, Miziorko HM. 3-Hydroxy-3-methylglutaryldithio-CoA: utility of an
         alternative substrate in elucidation of a role for HMG-CoA lyase's cation activator. Biochim Biophys
         Acta. 1993;1162(1-2):149-54. PMID:8095409
      5. Roberts JR, Narasimhan C, Hruz PW, Mitchell GA, Miziorko HM. 3-Hydroxy-3-methylglutaryl-
         CoA lyase: expression and isolation of the recombinant human enzyme and investigation of a
         mechanism for regulation of enzyme activity. J Biol Chem. 1994;269(27):17841-6. PMID:8027038
      6. Hruz PW, Mueckler MM. Cysteine-scanning mutagenesis of transmembrane segment 7 of the
         GLUT1 glucose transporter. J Biol Chem. 1999;274(51):36176-80. PMID:10593902
      7. Murata H, Hruz PW, Mueckler M. The mechanism of insulin resistance caused by HIV protease
         inhibitor therapy. J Biol Chem. 2000;275(27):20251-
         4. doi:10.1074/jbc.C000228200 PMID:10806189
      8. Hruz PW, Mueckler MM. Cysteine-scanning mutagenesis of transmembrane segment 11 of the
         GLUT1 facilitative glucose transporter. Biochemistry. 2000;39(31):9367-72. PMID:10924131
      9. Hruz PW, Mueckler MM. Structural analysis of the GLUT1 facilitative glucose transporter (review).
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11. Hruz PW, Murata H, Qiu H, Mueckler M. Indinavir induces acute and reversible peripheral insulin
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12. Murata H, Hruz PW, Mueckler M. Indinavir inhibits the glucose transporter isoform Glut4 at
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19. Turmelle YP, Shikapwashya O, Tu S, Hruz PW, Yan Q, Rudnick DA. Rosiglitazone inhibits mouse
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    decompensated heart failure in a mouse model of dilated cardiomyopathy. FASEB J.
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     2. Paul W Hruz. Medical Approaches to Alleviating Gender Dysphoria In: Edward J Furton, eds.
        Transgender Issues in Catholic Health Care Philadelphia PA; 2021:1-42.




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Invited Publications
      1. Grunfeld C, Kotler DP, Arnett DK, Falutz JM, Haffner SM, Hruz P, Masur H, Meigs JB, Mulligan
         K, Reiss P, Samaras K, Working Group 1. Contribution of metabolic and anthropometric
         abnormalities to cardiovascular disease risk factors. Circulation. 2008;118(2):e20-8. PMCID:
         PMC3170411 PMID: 18566314
      2. Hruz PW. HIV protease inhibitors and insulin resistance: lessons from in-vitro, rodent and healthy
         human volunteer models. Curr Opin HIV AIDS. 2008;3(6):660-5. PMCID: PMC2680222 PMID:
         19373039
      3. Hruz PW. Molecular mechanisms for insulin resistance in treated HIV-infection. Best Pract Res Clin
         Endocrinol Metab. 2011;25(3):459-68. PMCID: PMC3115529 PMID: 21663839
      4. Hruz PW. HIV and endocrine disorders. Endocrinol Metab Clin North Am. 2014;43(3): xvii–xviii.
         PMID: 25169571
      5. Hruz PW. Commentary. Clin Chem. 2015;61(12):1444. PMID: 26614228
      6. Hruz PW, Mayer LS, and McHugh PR. Growing Pains: Problems with Pubertal Suppression in
         Treating Gender Dysphoria The New Atlantis. 2017;52:3-36.
      7. Hruz, PW. The Use of Cross-Sex Steroids in Treating Gender Dysphoria Natl Cathol Bioeth Q.
         2018;17(4):1-11.
      8. Hruz, PW. Experimental Approaches to Alleviating Gender Dysphoria in Children Nat Cathol
         Bioeth Q. 2019;19(1):89-104.


                                     Clinician Educator Portfolio
CLINICAL CONTRIBUTIONS
Summaries of ongoing clinical activities

                  General Pediatrician, General Pediatric Ward Attending: 2-4 weeks per year, St. Louis
                  Children's Hospital
2000 - Pres       Pediatric Endocrinologist, Endocrinology Night Telephone Consult Service: Average of 2-6
                  weeks/per yr, St. Louis Children's Hosptial
2000 - Pres       Pediatric Endocrinologist, Inpatient Endocrinology Consult Service: 4-6 weeks per year, St.
                  Louis Children's Hospital
2000 - Pres       Pediatric Endocrinologist, Outpatient Endocrinology Clinic: Approximately 50 patient visits
                  per month, St. Louis Children's Hospital

EDUCATIONAL CONTRIBUTIONS
Direct teaching

Classroom
2009 - Pres       Lecturer, Markey Course-Diabetes Module
2020 - 2020       Facilitator, Reading Elective-Interdisciplinary/Miscellaneous Course #M80-800, Washington
                  University School of Medicine

Clinical
2000 - Pres       Lecturer, Medical Student Growth Lecture (Women and Children's Health Rotation):
                  Variable


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2000 - Pres   Lecturer, Pediatric Endocrinology Journal Club: Presentations yearly
2009 - Pres   Facilitator, Medical Student Endocrinology and Metabolism Course, Small group
2016 - Pres   Facilitator, Medical Student Endocrinology and Metabolism Course, Small group

Other
              Facilitator, Cell Biology Graduate Student Journal Club, 4 hour/year
              Facilitator, Discussion: Pituitary, Growth & Gonadal Cases, 2 hours/year
2000 - Pres   Lecturer, Metabolism Clinical Rounds/Research Seminar: Presentations twice yearly
2009 - Pres   Facilitator, Biology 5011- Ethics and Research Science, 6 hours/year
2016 - Pres   Lecturer, Cell Signaling Course, Diabetes module, 3 hours/year




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